Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 1 of 156




             EXHIBIT E
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 2 of 156



                                                                           77 Beale Street, Room 2341
                                                    Meredith E. Allen
                                                                           San Francisco, CA 94105
                                                    Senior Director
                                                    Regulatory Relations   Mailing Address:
                                                                           Pacific Gas and Electric Company
                                                                           P.O. Box 770000
                                                                           Mail Code B23A
                                                                           San Francisco, CA 94177

                                                                           Tel.: 415-973-2868
                                                                           Meredith.Allen@pge.com




October 13, 2020


Leslie Palmer
Director, Safety and Enforcement Division
California Public Utilities Commission
505 Van Ness Avenue
San Francisco, CA 94102

Dear Mr. Palmer:

As required by Resolution ESRB-8 and in accordance with Ordering Paragraph 1 of
California Public Utilities Commission (CPUC) Decision (D.) 19-05-042, Pacific Gas and
Electric Company (PG&E) respectfully submits a compliance report for the proactive de-
energization event that was initiated on September 27, 2020 and fully restored for those
who could receive power on September 29, 2020. This report has been verified by a
PG&E officer in accordance with Rule 1.11 of the Commission’s Rules of Practice and
Procedure.

If you have any questions, please do not hesitate to call.

Sincerely,




Meredith E. Allen
Senior Director, Regulatory Relations

cc:    Anthony Noll, SED
       ESRB_ComplianceFilings@cpuc.ca.gov
       EnergyDivisionCentralFiles@cpuc.ca.gov
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 3 of 156




                       Pacific Gas and Electric Company
            Public Safety Power Shutoff (PSPS) Report to the CPUC
                 September 27-29, 2020 De-energization Event




                                                                      1
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 4 of 156




Contents

Summary and Overview ______________________________________________________________ 3
Section 2 – Explanation of PG&E’s Decision to De-energize ________________________________ 14
Section 3 – Time, Place, and Duration __________________________________________________ 24
Section 4 – Affected Customers _______________________________________________________ 25
Section 5 – Damage to Overhead Facilities ______________________________________________ 26
Section 6 – Customer Notifications ____________________________________________________ 28
Section 7 – Local Community Representatives Contacted ___________________________________ 47
Section 8 – Local and State Public Safety Partner Engagement _______________________________ 48
Section 9 – Complaints Received & Claims Filed _________________________________________ 50
Section 10 – Power Restoration _______________________________________________________ 51
Section 11 – Community Assistance Locations ___________________________________________ 52
Section 12 – Sectionalization _________________________________________________________ 57
Section 13 – Mitigations to Reduce Impact ______________________________________________ 58
Section 14 – Lessons Learned from this Event ____________________________________________ 62
Section 15 – Proposed Updates to ESRB-8 ______________________________________________ 65
Section 16 – Other Relevant Information to Help the Commission Assessment of Reasonableness of
Decision to De-Energize _____________________________________________________________ 66
APPENDIX _______________________________________________________________________ 68




                                                                                                  2
       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 5 of 156




                       PG&E Public Safety Power Shutoff (PSPS) Report to the CPUC
                             September 27-29, 2020 De-energization Event


Summary and Overview

PG&E’s most important responsibility is the safety of our customers and the communities we serve.
On September 27, 2020, PG&E initiated a Public Safety Power Shutoff (PSPS) in order to mitigate
catastrophic wildfire risk presented by significant wind events combined with low humidity levels and
critically dry fuels. The PSPS event ultimately de-energized power to 64,297 customers 1 in seven
different geographic areas located in 15 counties in Northern California 2.
We turn off the power for safety when severe weather threatens a portion of the electric system and
increases the potential for damage that could cause sparks if lines are energized and result in rapid fire
spread. We know that turning off the power creates significant hardships for our customers, and we don’t
take this decision lightly. We will only do so as a last resort when severe weather threatens the safety of
our customers.
That’s why PG&E has been working to make PSPS events smaller in size, shorter in length and smarter
for our customers. Smaller in size by impacting one-third fewer customers when compared to a similar
weather event last year. Shorter in length with the goal of restoring power within 12 daylight hours after
severe weather passes. And smarter for our customers when it comes to improving how we communicate
about when the power will be shut off and expected restoration times.
Because weather and fire risk conditions vary across PG&E’s large service territory, the company
manages PSPS events using the concept of Time Places (TPs), as the weather conditions forecast for each
TP necessitates a different set of de-energization and restoration timelines. The seven TPs PG&E
ultimately de-energized and their planned timelines for this event are shown in Figure 1. Due to on-going
efforts by PG&E on weather analysis, de-energization scoping and grid mitigation measures, this PSPS
event affected over 60% fewer customers than would have been affected by the same weather conditions
in 2019.




1 Customers refers to active service points (meters).

2 The information, times and figures referenced in this table are based on the best available information developed in real time
  during the event. The information, times and figures in this graphic should not be interpreted as final and are subject to
  revision based on further analysis and validation.

                                                                                                                                   3
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 6 of 156




                                       Figure 1: Event Timelines




PSPS Preparation and Scoping Process
This section explains the details and complexities of this process as implemented for the September 27-
29, 2020 PSPS event. Figure 2 shows at a high level the process PG&E uses to prepare for and conduct a
PSPS event.

                          Figure 2: PG&E’s High-level PSPS Process Steps




                                                                                                      4
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 7 of 156




Weather Forecasting and Event Scoping
PG&E considers implementing a PSPS event when the combination of strong, gusty winds and critically
low humidity lies over areas with large, severely dry vegetative fuel loads, creating a high risk that
vegetation blown or thrown into a power line or a spark from a power line could cause an ignition that
could lead to a catastrophic wildfire. The assessments described below began before September 23 for the
September 27, 2020 PSPS event. PG&E identifies the weather conditions that could create severe fire risk
using high resolution internal weather forecasting models. The company also examines external
forecasting services and sources, including the European Center for Medium-Range Weather Forecasts
(ECMWF), Global Forecast System (GFS), Northern and Southern Operations Predictive Services and
the National Weather Service (NWS). PG&E bases its thresholds and guidance to identify critical fire
risk on sophisticated analysis of 31 years of historical weather data in and around California,
complemented by extensive academic research.
If weather forecasts indicate a high likelihood of severe fire weather, PG&E identifies the meteorological
footprint of severe fire weather and then identifies the distribution and transmission lines and other assets
within that footprint. For distribution lines, the PG&E team determines which circuits are impacted and
evaluates the ability to sectionalize circuits to limit the de-energization scope and resulting customer
impact. For transmission lines, the PG&E team analyzes the wildfire risk of each transmission line within
scope based on forecasted wind speeds and Utility Fire Potential Index (FPI) as well as structure type,
historical outage performance, and recent enhanced inspection information. This informs an initial
determination of which transmission lines are at risk and should be in scope for potential de-energization,
subject to sectionalization potential. Then PG&E conducts a total impacts analysis resulting from the
removal of the at-risk transmission lines including power flow analysis and system protection analysis,
coordinated with the California Independent System Operator (CAISO), to determine system impacts.
Based on the above analyses, PG&E can determine how many customers may be subject to de-
energization, and further investigate mitigation options such as advanced switching solutions,
sectionalization, the use of islanding, alternative grid solutions, and temporary generation to support
customers who could lose transmission power sources but are located in areas that may be safe to keep
energized.
PG&E monitors and forecasts weather over a multi-day horizon, so the company is able to anticipate
when a PSPS event may be needed, activate its Emergency Operations Center (in this case, on September
23), and prepare several days ahead of any PSPS event whenever possible. The PG&E Meteorology team
updates weather forecasts approximately four times a day to monitor for changes in the weather event
timing, strength and potential locations impacted. Weather shifts can force changes to PSPS scope and
impacts at any point in time during PSPS planning and execution; this enables the company to avoid de-
energization in some areas if fire-critical conditions lessen.

September 27-29 PSPS Event
The September 27-29 PSPS required PG&E to make numerous adjustments to the scope of the PSPS
event because of changing weather conditions. The maps and timelines in
Figure 3, which span the planning period before the start of the event (beginning Thursday, September
24) through the time when all areas received the Weather All Clear (Monday, September 28), show the
changes to scope based on changing weather conditions.
On September 24, results from PG&E Mesoscale Modeling System (POMMS) high-resolution model
were corroborated with external forecasting information identifying the onset of extreme fire risk weather
on Sunday, September 27, affecting areas of Sierra Foothills and Northern California. By late Thursday
night, the weather forecasting models agreed that the start of extreme fire weather could begin early

                                                                                                            5
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 8 of 156




  Sunday morning, stretching longitudinally across a wide portion of Northern and Central California. As
  the expected start of severe fire weather neared, internal and external weather models converged and gave
  increasing confidence around the likely geographic scope and risk associated with the high fire risk.
  PG&E’s expectations of severe fire danger were supported by National Weather Service (NWS) issuance
  of a Red Flag Warning (RFW) Friday morning, with high winds, low relative humidity and easy fire starts
  from Saturday through Monday morning across much of PG&E’s service territory. Successive RFWs
  (shown in
  Figure 3 below) showed slightly shifting footprints through Monday morning for the areas within
  PG&E’s PSPS scope. These were accompanied by issuance of “High Risk” warnings for strong and dry
  offshore winds from the Northern California Geographic Area Coordination Center and “Critical Weather
  Conditions” from the Storm Prediction Center for the time periods of concern.
  PG&E based its first customer notification decisions on the weather information and scope available on
  September 24. This initiated a sequence of notifications to approximately 21,000 customers across three
  counties and one tribal area.
  As Figure 3 shows, with continuing weather shifts, the timing, location and number of customers
  expected to face severe fire weather risk shifted as well.

                       Figure 3: PSPS Scope Changes as Weather Forecasts Change
  Interpreting these charts – each color indicates the geographic location of a different Time Place for the
  PSPS event. All times listed below are in Pacific Daylight Time (PDT).

Scope as of 9/24/20 0500 PDT

First high-resolution models
available

Forecasted Event Data:
Fire Weather Timing
• Start: 9/27 0400 PDT
• End: 9/28 0900 PDT

~ 21,000 Customers

25 Distribution Circuits
Scope as of 9/25/20 1000 PDT

Forecasted Event Data:
Fire Weather Timing
• Start: 9/27 0400 PDT
• End: 9/28 1400 PDT

~97,000 Customers

83 Distribution Circuits




                                                                                                               6
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 9 of 156




Scope as of 9/26/20 0800 PDT

Forecasted Event Data:
Fire Weather Timing
• Start: 9/27 0400 PDT
• End: 9/28 1400 PDT

~89,000 Customers

78 Distribution Circuits
11 Transmission Circuits
Scope as of 9/27/20 0900 PDT

Forecasted Event Data:

Fire Weather Timing:
• Start: 9/27 0400 PDT
• End: 9/28 1400 PDT
~65,000 Customers


67 Distribution Circuits
11 Transmission Circuits
Scope as of 9/28/20 1000 PDT

Forecasted Event Data:

Fire Weather Timing:
• Start: 9/27 0400 PDT
• End: 9/28 0900 PDT

~65,000 Customers

66 Distribution Circuits
11 Transmission Circuits

  PG&E’s Emergency Operations Center teams used the meteorology and distribution scopes developed on
  Friday afternoon, September 25, to develop the initial transmission scoping review and power flow
  analysis. As the weather shifted, the team refined and iterated scoping analyses and mitigation strategies
  before the decision to de-energize was made on Saturday afternoon, September 26.
  PG&E crews conducted air and ground patrols of transmission assets throughout the planning period to
  confirm that they were in safe operating condition before the weather event began.
  Active fires caused flight restrictions across the state and near the anticipated PSPS event footprint.
  These reinforced the fire danger and the need for caution in the conduct of the PSPS event. Figure 4
  illustrates the scope of the temporary flight restrictions as of September 26.



                                                                                                            7
       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 10 of 156




                    Figure 4: Temporary Flight Restrictions (September 26, 2020)
                            Source: PG&E Wildfire Safety Operations Center




Starting Wednesday and continuing through the event, PG&E teams conducted a variety of activities to
prepare for the upcoming PSPS event. These included:
   •    Notifying and briefing county, state, and first responder officials to alert them to the locations and
        plans for the upcoming event.
   •    Planning and conducting all required customer notifications and public awareness activities,
        including:
            o   1.2 million notifications sent via customer calls, texts and emails available in 13
                languages.
            o   Confirming that affected Medical Baseline customers received notifications, including
                making in-person visits if confirmation of automated notification is not received.
            o   Handling 75,000 calls in PG&E’s call centers.
            o   Sharing PSPS impact maps and information on PG&E’s website, so that customers could
                search their addresses, learn whether or not they were expected to be impacted and learn
                more about the PSPS event.
            o   Planning the locations and preparations for CRCs to serve each county affected by the
                likely PSPS event.
   •    Conducting additional vegetation management to remove potentially hazardous trees near key
        transmission lines in an effort to mitigate their risk and safely keep those lines energized.




                                                                                                            8
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 11 of 156




       •    Designing and implementing mitigation plans to reduce the number of areas and customers in
            scope:
                 o   Caribou hydroelectric powerhouses and nearby substations and sectionalization devices
                     were used to isolate and safely energize 4,300 customers who would otherwise have been
                     de-energized.
                 o   Planning temporary generation support needs.
                 o   Developing and refining switching plans to mitigate customer impacts where possible.
                 o   Examining distribution and transmission scopes to determine where circuit
                     sectionalization devices could be used to electrically and geographically narrow the areas
                     de-energized to reduce the number of customers affected.

PSPS De-energization Decision
At the time of the de-energization decision on Saturday, September 26, all the weather sources and
forecasts corroborated that there was severe fire weather risk ahead. The RFW issued by the NWS that
morning covered over 2 million PG&E customers, and the High Risk forecast footprint from the
Geographic Area Coordination Centers covered 3.8 million customers.
PG&E leaders reviewed the latest weather information and fire risk analyses and considered the
alternatives to de-energization for the in-scope PSPS areas, including potential mitigations and customer
notifications. The Officer in Charge and Incident Commander determined that de-energization was a
necessary measure to protect public safety in these areas. 3

During the PSPS Event, September 27 through 29
This PSPS event de-energized 64,297 customers in seven TPs. Time Place 8 was monitored and removed
from the de-energization scope on Monday morning as the weather forecasts continued to decline and it
was determined that de-energization would not be necessary. The final de-energization footprint is shown
in Figure 5.




3   Detailed information on PG&E’s decision to de-energize can be found in Section 2.

                                                                                                              9
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 12 of 156




           Figure 5: Map of September 27 De-energization Footprint




                                                                       10
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 13 of 156




Wind Speeds and Equipment Damage Reported
Over the period of de-energization, PG&E’s weather station network recorded wind gust speeds from 50
to over 70 mph across many locations in the PSPS footprint. In the system patrols and inspections
preceding re-energization, PG&E crews identified 11 different incidents of equipment damages and
hazards resulting from high winds. (See Figure 6)

     Figure 6: Equipment Damages and Hazards from High Winds within the PSPS Footprint




                                                                                                   11
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 14 of 156




Customer Resources
During the event, PG&E opened a total of 29 Community Resource Centers (CRCs) to support customers
across and near the PSPS-affected areas. Figure 7 shows these locations, some of which were forced to
close or relocate due to fire authority evacuation orders. The 10 indoor CRCs and 19 outdoor CRCs
ultimately served over 4,000 visitors, providing information, grab-and-go bags of snacks, phone chargers,
water, and other benefits for visiting customers.


                                       Figure 7: CRC Locations




PG&E’s partnerships with over 20 community-based organizations (CBOs) provided additional support
to impacted customers by distributing batteries to medically vulnerable customers leading up to and
during this event, supporting local food distributions by food banks in 13 impacted counties that
distributed almost 5,900 food boxes, coordinating 28 hotel stays for vulnerable customers who needed
electricity access, issuing 61 food vouchers and 7 gas vouchers, providing meals to 82 seniors coordinated
by local Meals on Wheels organizations, delivering groceries to homebound individuals due to medical
conditions, and providing translated event communications via social media and texts to customers in
languages spoken by spoken by communities that occupy significant roles in California’s agricultural
economy.
PG&E also coordinated with 38 multicultural media organizations to supplement PG&E’s translated
communications to customers in over 12 languages and shared event update information with over 250
CBOs including press releases, our new food bank fact sheet, and other relevant information that they
could share with their constituents to expand our reach of communications.

                                                                                                        12
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 15 of 156




PSPS Service Restoration
Essentially all customers impacted by this PSPS event were restored to service by Monday night,
September 28. The approximately 700 remaining customers were restored on Tuesday morning by 1000
PDT. This accomplishment met PG&E’s goal of restoring 98% of customers within 12 daylight hours of
the Weather All Clear.
PG&E meteorologists monitor real-time weather conditions from a network of over 900 field weather
stations, over 230 high-definition cameras, weather satellites, and field observers to determine when
weather conditions (mostly winds) have abated sufficiently to declare the Weather All Clear in each area
and circuit. After the Weather All Clear, PG&E crews must patrol the lines that were de-energized in the
weather footprint to identify any damages or hazards on PG&E facilities. The patrol and inspection
process used approximately 50 helicopters and over 1,300 on-the-ground personnel to begin patrols on the
approximately 3,500 miles of distribution circuits and approximately 170 miles transmission circuits that
had been de-energized.
Distribution and transmission operators can begin restoring service to the portions of the system that have
been found intact and safe to energize; any assets that were damaged need to be repaired before they can
be safely restored, so the system may be sectionalized around those areas to restore as many customers as
possible as quickly as it is safe to do so.

PSPS Mitigations
Although we cannot make severe fire weather go away, PG&E has been working to reduce the
disruptions caused by PSPS events by making them smaller, shorter and smarter. For this event, we were
able to achieve that goal through several means:
    •    This event impacted approximately 60% fewer customers than similar weather conditions would
         have caused in 2019, thanks to improvements in PG&E’s weather modeling, system
         enhancements and improved electric system scoping tools.
    •    This event was shorter, with all customers whom we are able to serve restored to service within
         12 daylight hours of their respective Weather All Clears thanks to the use of pre-positioned patrol
         crews and approximately 50 helicopters conducting aerial patrols to expedite inspection, repairs
         and restoration.
    •    Weather All Clears were declared on a granular basis allowing customers to be restored as the
         weather event passed through the impacted areas by utilizing PG&E’s network of fire monitoring
         cameras, weather stations and field observers to determine local weather conditions for smaller
         sections of the grid.
    •    This event was smarter and more effective in our customer and partner communications, thanks
         to extensive improvements in our website, customer notifications, use of social media and
         outreach, Community Resource Centers and other efforts to support customers and communities.




                                                                                                         13
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 16 of 156




Section 2 – Explanation of PG&E’s Decision to De-energize

All factors considered in the decision to de-energize, including wind speed, temperature, humidity
and vegetation moisture in the vicinity of the de-energized circuits.
Response:
The decision to de-energize for public safety is not based on a single factor. PG&E considers many
factors, including the following:
    •    PG&E Fire Potential Index (FPI) R5 ratings indicating critical fire danger and high potential for
         large fire growth based on fuel moisture, humidity, wind speed, air temperature, land type, and
         historical fire occurrences.
    •    Forecasted wind gusts of 40-55 mph with some areas locally higher in elevated terrain and wind-
         aligned canyons.
    •    PG&E’s Large Fire Probability (LFP) model identification of areas on both PG&E’s distribution
         and transmission systems with high wind-driven outage probability combined with high
         probability of a large fire if an ignition were to occur.
             o   On the distribution system, the Distribution Large Fire Probability Model (LFPD) is a
                 product of PG&E’s Outage Producing Wind (OPW) model and FPI models. The LFPD
                 model provides hourly output at 2km model resolution and highlights locations with
                 concurrence of a high probability for large fires and high probability of wind-related
                 outages on PG&E’s distribution system.
             o   On the transmission system, the Transmission Large Fire Probability Model (LFPT) is the
                 product of PG&E’s Transmission Operability Assessment (OA) model and FPI models.
                 The LFPT model provides hourly forecast outputs for each transmission structure. The
                 model highlights locations with both an increased probability for large fires and high
                 probability of wind-related failures on PG&E’s transmission system.
    •    External validation of PG&E forecasts, including:
             o   Model data from public weather models including pressure gradient forecasts between
                 Redding and Sacramento, along with pressure gradients between San Francisco and
                 Winnemucca (which are known indicators of Diablo winds and severe fire weather for
                 northern California)
             o   NWS issuance of Fire Weather Watches and Red Flag Warnings
             o   Northern and Southern CA Predictive Services units of the Geographic Area
                 Coordination Centers (GACC) forecasts of “High Risk” zones with Critical Burn
                 Environment factors and Wind Ignition Triggers
             o   The National Oceanic and Atmospheric Administration’s (NOAA) Storm Prediction
                 Center’s Fire Weather Outlooks indicating Elevated and Critical fire-weather conditions
                 across California
             o   Table 1 summarizes some of the hazardous weather conditions projected in PG&E’s
                 service territory on September 26 to September 27.




                                                                                                          14
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 17 of 156




Table 1: Weather Conditions and Hazards Supporting Conclusion of Severe Fire Weather Risk on
                                    September 26, 2020




          o   Figure 8 shows Federal Agency forecast maps of geographic extent and timing of critical
              fire risk periods (e.g., Red Flag Warnings)

       Figure 8: Comparison of Federal Agency Severe Fire Weather Warning Footprints




                                                                                                   15
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 18 of 156




    •    Additional transmission line assessment, including:
             o   Using PG&E’s LFPT model for transmission, each transmission line is assessed based on
                 localized meteorology data, probability of failure using structure level asset data,
                 consequence measures of the impact of a potential wildfire, vegetation risk based on
                 spatial attributes from LiDAR (e.g., tree height, slope, aspect, outage history, proximity
                 and placement relative to the line), pending high priority equipment repairs, and idle line
                 status. The transmission asset analysis identified select transmission lines as below risk
                 thresholds based on the forecasted weather conditions; therefore, the risk reduction
                 benefit of de-energizing these lines did not outweigh the risk to public safety. These lines
                 were approved to stay in service to minimize customer impacts. The transmission
                 analysis identified other lines deemed to be at a higher risk of catastrophic wildfire, and
                 those remained in scope for de-energization.
             o   PG&E conducted a Power Flow Analysis on the in-scope transmission lines to analyze
                 any potential downstream impacts of load shedding, coordinated this with the California
                 Independent System Operator (CAISO), and confirmed solution feasibility with
                 Transmission System Protection.
    •    The company considered the public safety impacts of de-energizing by looking at the total count
         of impacted customers and the impact of potential de-energization upon medical baseline
         customers, critical facilities, back-up generation capabilities of critical facilities that pose societal
         impact risks if de-energized (e.g., critical infrastructure).
    •    PG&E identified ways to reduce the impact of de-energization by maximizing the use of
         sectionalization to narrow the scope and number of customers affected, use islanding and
         alternative switching solutions to keep more customers online, and serve critical facilities and
         customers using temporary and back-up generation.
    •    The presence of pre-PSPS multiple fires burning across California, including the North Complex
         Fire, validated the fire weather risk and reinforced the public safety consequences of catastrophic
         wildfires for PG&E’s customers and communities.
An explanation of the decision to de-energize, including an explanation of alternatives considered
and mitigation measures used to decrease the risk of utility-caused wildfires in de-energized area
Response:
In light of the meteorological information indicating the potential for catastrophic wildfire and the
customer impacts from mitigating that fire risk through de-energization, PG&E considered whether
alternatives to de-energizing, such as additional vegetation management and disabling automatic
reclosers, could adequately reduce the risk of catastrophic wildfire to obviate the need for de-energization.
PG&E determined that these measures alone did not reduce the risk of catastrophic wildfire in areas
within the PSPS scope sufficiently to protect public safety.
    •    PG&E conducted hazard tree mitigation efforts on circuits potentially in PSPS scope in the days
         leading up to the event and continued up through the day of de-energization.
    •    PG&E conducted pre-patrols of circuits and equipment in de-energization scope in the days
         leading up to the time of de-energization.
    •    The company disabled automatic reclosing in Tier 2/Tier 3 areas.
    •    PG&E deployed Safety and Infrastructure Protection (SIP) crews for real-time observations and
         fire response.

                                                                                                                16
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 19 of 156




Given the forecasted high windspeeds, which can blow vegetation and flying debris into power lines and
blow sparks into dry vegetation, PG&E determined that these other measures were not adequate
alternatives to mitigate the risk of catastrophic wildfire, and that only shutting off the power in the areas
within the PSPS scope was sufficient protection against that risk.
PG&E reviewed the efforts to mitigate adverse impacts on the customers and communities in areas where
power shutoffs were likely. These efforts included:
    •    Advanced notifications to impacted customers
    •    Temporary generation, alternate grid solutions, and islanding solutions to reduce and mitigate
         customer impacts
    •    Sectionalizing to reduce customers included
    •    Community Resource Centers
    •    Restoration crew readiness, including use of helicopters and fixed wing aircraft, to conduct line
         safety patrols after the Weather All Clear, and restore service to safe lines

An explanation of how the utility determined that the benefit of de-energization outweighed
potential public safety risks
Response:
For in-scope areas, based on the factors described in this section, PG&E determined there was an
imminent and significant risk of strong winds impacting PG&E assets, and a significant risk of large,
catastrophic wildfires should an ignition occur. PG&E determined that alternatives to de-energization
were not adequate to reduce this risk and that the public safety risk of catastrophic wildfire outweighed
the public safety impacts of the proposed de-energization scope. In making this decision, PG&E reviewed
all steps that had been taken or that were in progress to mitigate adverse impacts on customers. PG&E
determined that a PSPS was warranted and necessary to reduce the risk of catastrophic wildfire for public
safety, and thus approved the decision to de-energize.

Additional Information - Detailed Meteorological Timeline
Monday, September 21: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted the following:
    •    During the 0845 PDT interagency conference call, North Ops Predictive Service office in
         Redding (NOPS) noted that they were gaining confidence in a high-risk period due to potential
         for strong offshore winds occurring over the weekend.
    •    NOPS issued their 7-day Significant Fire Potential Forecast, highlighting high risk – significant
         fire potential in multiple Predictive Service Areas (PSAs) from September 26 – 27) for the threat
         of wind combined with low relative humidity (RH). Their forecast discussion stated “N-
         NE/Offshore gusts 25-40 mph and locally higher western Cascade-Sierra slopes to the Coast with
         RH 10-20% Sat-Mon.”
Indications of a potential offshore wind event became evident in the global weather models. The ECMWF
operational model and its associated ensembles were indicating a change in the weather pattern to an
offshore regime, with a potentially significant positive pressure gradient between Redding Airport
(KRDD) and Sacramento Airport (KSAC), as well as a significant negative pressure gradient between
San Francisco Airport (KSFO) and Winnemucca Airport (KWMC) starting late Saturday through
Monday. These pressure gradients are proven precursors of the Diablo Wind conditions that pose the
highest risk for catastrophic wildfires in Northern and Central California.
                                                                                                             17
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 20 of 156




Tuesday, September 22: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted the following:
    •    At 0722 PDT the NOPS issued their morning forecast with no changes to the 26th or 27th.
         Several PSAs were added to high risk on the 28th. Their forecast discussion stated “N-
         NE/Offshore gusts 25-40 mph and locally higher western Cascade-Sierra slopes to the Coast with
         RH 5-20% Sat-Mon”
    •    At 0845 PDT NOPS hosted an interagency coordination call to discuss the event. NOPS indicated
         their confidence continued to grow for the weekend event. Some NWS offices stated that if the
         ECMWF model verified, that it could be a significant fire weather event. The NWS offices in
         attendance also discussed preliminary plans to issue Fire Weather Watches for the upcoming
         event.
Global weather models continued to show an offshore wind event leading to Diablo winds from Saturday
through Monday (September 26 – 28), although there continued to be significant disagreement regarding
timing and intensity. PG&E Meteorology updated the PG&E 7 Day Public Safety Power Shutoff
Potential forecast at 0730 PDT, mentioning that, “PG&E Meteorology is closely tracking the potential for
dry northerly winds to develop Saturday afternoon/evening and continue into Sunday or Monday across
Northern CA. Please stay tuned to future updates as some zones may move into Elevated after further
study.”
Wednesday, September 23: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted the following:
    •    NOPS and NWS federal weather forecast agencies continued to highlight the potential for critical
         fire weather conditions developing over the weekend into Monday.
    •    The 0215 PDT NWS Sacramento area forecast discussion mentioned the development of breezy
         northerly winds for the Sacramento Valley and surrounding terrain Saturday in response to a
         building ridge of high pressure. NWS San Francisco/Monterey indicated in their 0443 PDT area
         forecast discussion increasing fire concerns due to the development of offshore flow beginning
         Saturday, with gusty conditions expected at higher elevations of the North Bay mountains and
         East Bay hills.
    •    Both NWS offices issued a Fire Weather Watch beginning at 1100 PDT Saturday September 26
         and continuing through 0800 PDT Monday September 28. NWS Sacramento issued the watch
         for all of the Sacramento Valley and adjacent terrain below 3000’ due to the combination of
         wind, low humidity and hot conditions, with the strongest winds expected late Saturday night.
    •    NOPS issued their 7-day Significant Fire Potential Forecast at 0707 PDT, highlighting hot and
         dry weather with low relative humidity (5-20%) and moderate N-NE offshore winds (25-35 mph)
         Saturday through Monday resulting in High Risk criteria for PSAs NC02 (Mid Coast to
         Mendocino), NC03B (Diablo-Santa Cruz Mountains), NC05 (Sacramento Valley/Foothills) and
         NC07 (Northern Sierras). Additionally, North Ops mentioned in their forecast discussion that
         live shrub and canopy fuel moisture were at critically dry thresholds across low and mid
         elevations areas and the abundant grass crop had mostly cured.




                                                                                                       18
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 21 of 156




    •    On the North Ops interagency call at 0845 PDT, there was consensus among the NWS offices
         that with the development of a moderately strong offshore wind event Saturday through Monday,
         they would assess the need to upgrade the fire weather watches to red flag warnings on Thursday
         (September 24).
    •    PG&E’s 7 Day Public Safety Power Shutoff (PSPS) Potential forecast was issued at 0730 PDT,
         noting that PG&E Meteorology was closely tracking the potential for dry northerly winds to
         develop Saturday afternoon/evening and continue into Monday across Northern CA.
Global model runs continued to show major discrepancies in the forecast, with the American, Global
Forecast System (GFS) indicating a weak offshore wind event with a Redding to Sacramento (RDD-
SAC) gradient generally below 4 mb and a San Francisco to Winnemucca (SFO-WMC) gradient below -8
mb. The European model (ECMWF) continued to struggle to resolve the offshore event with RDD-SAC
gradients ranging from just above 4mb in the 00Z run from September 22 to around 2.2 mb in the 12Z run
followed and increase to around 3.1 mb for the 00Z run (September 23) to around 4.9 mb in the 12Z run
(September 23). ECMWF was slightly more consistent with its SFO-WMC gradient forecast with all four
model runs showing a minimum gradient between roughly -10-12 mb early Monday morning. PG&E
Meteorology reviewed the forecast with PG&E leadership and Emergency Preparedness. Given the
potential threat of Diablo winds that could necessitate PSPS, PG&E activated in a readiness posture on
the morning of September 23. The PSPS potential forecast was reissued, noting: “PG&E Meteorology is
closely tracking the potential for dry northerly winds to develop Saturday afternoon/evening and continue
Sunday and possibly Monday across Northern CA. At this time, winds are expected to peak Saturday
evening into Sunday morning and zones 2 and 5 are now in Elevated status Saturday and Sunday.”

Thursday, September 24: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted the following:
    •    External public agencies continued to discuss the development of an offshore wind event
         Saturday (September 26) through Monday (September 28). At 0503 PDT, The National Weather
         Service San Francisco / Monterey issued an area forecast discussion, mentioning, “…strongest
         offshore winds continues to look like it will occur overnight Saturday into Sunday morning… 925
         mb winds progged around 35 kt with our local 3 km wrf model showing ridge top gusts to around
         35 mph. Potential still there for high end gust potential to 50 mph for the wind favored peaks such
         as Mt Saint Helena, Diablo and Mt Tamalpais.”
    •    NWS Sacramento noted in their 0250 PDT forecast discussion, “Breezy northeast winds develop
         Saturday and persist into Monday leading to critical fire weather conditions.”
    •    No changes were made to the Fire Weather Watches issued by local NWS offices; however, both
         indicated in the 0845 PDT North Ops interagency call that they would be evaluating the need to
         upgrade the watches to Red Flag Warnings in the next 24 hours. Both NWS offices indicated that
         they were aligned in their analysis for a marginal to moderate offshore wind event to develop
         Saturday through Monday.
    •    North Ops Predictive Services published their North Ops 7-day Significant Fire Potential Outlook
         at 0711 PDT, with high risk fire triggers due to wind in areas NC02 (Sunday September
         27/Monday September 28), NC03B (Sunday September 27/Monday September 28), NC05
         (Saturday September 26/Sunday September 27/Monday September 28), NC07 (Sunday
         September 27/Monday September 28).
    •    At 0735 PDT, PG&E Meteorology issued the PG&E Public Safety Power Shutoff Forecast with a
         PSPS Watch in Geographic zone 2 and 5 Saturday through Monday, mentioning in the


                                                                                                         19
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 22 of 156




         discussion, “Strongest winds are expected during the overnight and morning hours Saturday and
         Sunday in the northern Sierra foothills where gusts in excess of 45 mph are possible”.
Global forecast models continued to come into better alignment regarding the offshore wind event with
northerly gradients peaking early Sunday morning followed by stronger easterly gradient early Monday
morning. The American, Global Forecast System (GFS) trended stronger in its gradient forecasts over
three consecutive model runs with the 18Z (September 24) run showing a peak in the RDD-SAC gradient
of just over 5 mb, while the SFO-WMC gradient also trended stronger dropping to below -12 mb. The
European model (ECMWF) followed a similar trend, strengthening the northerly RDD-SAC gradient to
around 5.5 mb early Sunday morning followed by another peak above 5 mb late Sunday evening. The
ECMWF model was also forecasting a stronger easterly gradient over the last 24 hours with SFO-WMC
dropping to below -16 mb in the 12Z (September 24) run for Sunday night into Monday morning, which
is approximately 5 mb lower than the previous 12Z run only 24 hours earlier. Both internal and external
high-resolution models trended stronger in consecutive runs with a RDD-SAC gradient peaking near 5
mb early Sunday morning. In terms of the SFO-WMC gradient, the models agreed in their timing of the
minima Sunday night into Monday morning; however, there was some variation in the actual gradient
forecast. Overall, models were signaling the potential for a stronger event to unfold with the strongest
winds now appearing to develop Sunday evening into Monday morning across the northern and central
Sierra.

Friday, September 25: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted the following:
    •    External public agencies continue to focus on the upcoming moderate offshore wind event for
         Saturday September 26 through Monday September 28.
    •    At 0327 PDT, the Monterey/Bay Area NWS Office issues a Red Flag Warning for the higher
         terrain of the North Bay Area as well as east of the Bay Area. This Red Flag Warning is set to go
         into effect on Sunday, September 27 at 0500 PDT and expire on Monday, September 28 at 1200
         PDT. The forecast is for northeast winds of 15-25 mph with localized wind gusts of 35-50 mph
         likely in the hills above 1000 feet.
    •    During the 0845 PDT interagency call, all public offices acknowledged the gradual strengthening
         of the model, but also that models had pushed back the start time of the gusty winds, with the
         peak of the winds expected more towards early Sunday morning, and then a secondary peak in
         the winds late Sunday evening into the overnight hours. With these changes, public agencies said
         that upgrades in their respective public weather products would be expected.
    •    At 1012 PDT, similar Red Flag Warnings were also issued by the Eureka and Sacramento office
         for gusty winds combined with dry fuels and poor RH. The Eureka area had two different start
         times -- one of the Red Flag Warnings was set to begin on Saturday, September 26, at 2100, and
         the second on Sunday September 27 at 0500 PDT. Both RFWs were set to expire on Monday,
         September 28 at 1200 PDT. The Eureka Red Flag Warnings were forecasting north-northeasterly
         winds of 15-25 mph with gusts to 30-40 mph, mainly on ridgetops. The Sacramento Red Flag
         Warning was also expected to remain in effect from Saturday, September 26 at 2100 PDT until
         Monday September 28 at 1200 PDT, with forecasts of northerly to easterly winds of 15-25 mph
         with gusts of 35-40 mph, potentially as high as 45-55 mph in favorable gaps and canyons.
    •    North Ops Predictive Services published the North Ops 7-day Significant Fire Potential Outlook
         at 0638 PDT, with high-risk fire triggers due to wind in areas NC02 (Sun/Mon), NC03B
         (Sun/Mon), NC05 (Sun/Mon), and NC07 (Sun/Mon).


                                                                                                        20
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 23 of 156




    •    At 1028 PDT, PG&E Meteorology issued their 7-Day Public Safety Power Shutoff Potential
         Forecast and upgraded to PSPS Watch for Sunday and Monday in zones 2 and 5, expanding to
         areas 3, 4, 8, and 9 due to the increased strength in the expected offshore wind event. Due to the
         anticipated delay in the arrival of the winds, PG&E removed the “elevated” risk from all areas on
         Saturday. The discussion warned that, “Some details may still evolve as the event draws closer,
         but currently sustained winds of 20 – 30 mph with gusts of 45 – 55 mph are anticipated, with the
         highest gusts through the favored gaps.”
Global models continued to come into better agreement regarding the strength and timing of the strongest
offshore winds. One noticeable difference from Thursday to Friday was the increase in strength of the
gradients and the delay in the arrival of the strongest winds. The RDD-SAC gradient was showing the 2
pulses of gusty winds and the American Model (GFS) and the European Model (ECM) both showed
strengthening from Thursday to Friday with the GFS now depicting the RDD-SAC gradient at 5.3 mb for
the first wave, and 4.5 mb for the second wave. The ECMWF has the first wave depicted at 5.8 mb, and
5.4 mb. The ECMWF and GFS both trended toward a delayed arrival of the strongest winds, with outage-
producing winds anticipated during the early morning of Sunday September 27, and the second wave of
strong winds coming in the evening of September 27 and gradually falling off through the morning of
Monday September 28.
Overall, models continued to trend towards a stronger event than previously anticipated, and a slightly
delayed event with the strongest winds peaking during the early morning hours of Sunday, and the second
wave of winds peaking Sunday evening and gradually decreasing through Monday morning.

Saturday, September 26: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted:
    •    PG&E meteorology continued to monitor the possibility of an offshore wind event on September
         27 and 28. PG&E’s 7 Day Public Safety Power Shutoff (PSPS) Potential forecast continued to
         include Geographic Zones 2, 3, 4, 5, 8 and 9 in a PSPS Watch for Sunday and Monday.
    •    The NOPS 7 Day forecast issued at 0642 PDT included a high risk with wind triggers for
         September 27th and 28th for PSAs NC02, NC03A, NC03B, NC04, NC05, and NC07.
    •    The Storm Prediction Center (SPC) of NOAA issued a Fire Weather Outlook with elevated risk
         for much of Northern CA, apart from the immediate coast, from 1000 PDT September 26 through
         0500 PDT September 27. SPC issued a similar forecast for Day 2 (0500 PDT September 27
         through 0500 PDT September 28) but included all of Northern CA and the Sierra in elevated risk
         with critical risk for the northern Sierra and the Sacramento Valley as well as elevated for
         southern Kern. These forecasts placed about 3.8 million PG&E customers under GACC High
         Risk conditions and about 2 million PG&E customers under the NWS Red Flag Warning.
    •    At 0845 PDT, PG&E participated in a morning conference call hosted by NOPS, with National
         Weather Service (NWS) offices from across PG&E territory participating. The Sacramento and
         SF Bay Area/Monterey offices modified their Red Flag Warnings to cover the time period from
         2100 PDT September 26 through 2100 PDT September 28. NWS Monterey stated in their RFW,
         “Northeast winds 10 to 20 mph with gusts to 25 mph will develop after midnight. These dry
         winds will rapidly lower humidity values by sunrise Sunday. Persistent northeast winds during
         the day Sunday, then a secondary burst Sunday night will drive all the way to the coast with local
         gusts 30-45 mph”. NWS Sacramento stated, “The combination of wind, low humidity, and hot
         conditions will result in extreme fire weather conditions. This type of extreme fire weather
         condition only occurs a few times a year. These conditions may impact ongoing wildfires.
         Extreme caution should be taken to prevent new fire starts”.

                                                                                                         21
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 24 of 156




    •    All federal forecast agencies were aligned that this was a high-risk, extreme fire weather event.
Forecast models were showing little run-to-run variation with both global and high-resolution models
showing two peaks in the northerly RDD-SAC gradient. Models continued to indicate a minimum in the
easterly SFO-WMC gradient in the early morning hours of September 28 with the strongest model ~ -
18mb (12Z Canadian).
At 1800 PDT, a PG&E meteorologist participated in a public press conference to provide an overview of
the event and to field questions from the press.

Sunday, September 27: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team noted:
    •    The NOPS 7 Day Fire forecast issued at 0746 PDT continued to warn High Risk for wind and
         mentioned, “High Risk Today-Mon for Strong Wind/Low RH W Cascade-Sierra Slopes to the
         Coast” for PSAs NC02, NC03A, NC03B, NC04, NC05, and NC07. It mentioned, “Peak gusts
         this morning 30-45 mph widespread and 50-65 mph in the most wind-prone spots. Peak gusts this
         afternoon through Monday morning, 25-35 mph with the most wind-prone spots at 40-55 mph.
         Peak gusts Monday afternoon 20-30 mph widespread and 30-40 mph in the most wind-prone
         spots,” and, “Live shrub and canopy fuel moisture are at critically dry thresholds across most of
         region.”
    •    Red Flag Warnings remained in effect from the NWS offices in Eureka, Sacramento, and
         Monterey. Sacramento NWS issued a wind advisory as well, indicating potential for strong
         winds to cause power outages.
    •    The NOAA Storm Prediction Center showed elevated to critical fire weather conditions for vast
         portions of PG&E’s territory that encompassed the meteorological footprint PG&E Meteorology
         identified for the event.
    •    At approximately 0915 PDT, PG&E Meteorology published the PG&E 7 Day Public Safety
         Power Shutoff (PSPS) Potential forecast with Geographic Zones 2, 3, 4, 5, 8 and 9 in a PSPS
         Warning for September 27 and 28. Based on the latest 12Z POMMS run, PG&E’s Meteorologist
         in Charge (MIC) made a recommendation to the Incident Commander (IC) that TP8 be delayed
         until 0800 PDT September 28 with an end time of 0600 PDT on September 29.
The RDD-SAC pressure gradient, an indicator of northerly winds, peaked at 6 mb during the 0200 PDT
observation, which was in alignment with forecast models. Breezy north winds were observed, spreading
across the northern Sierra and Sacramento Valley through the morning hours reaching elevated North Bay
terrain by sunrise. The decision to proceed with de-energization for TP 1 was given by the overnight
MIC and IC; although, it was recommended to hold on de-energization for TP 6. The decision to hold on
TP 6 was based on the current RH values (40-50%) and winds generally lower than anticipated.
Throughout the morning, Meteorology continued to monitor weather conditions across the territory.
Wind gusts reached 60 mph at Jarbo Gap, 58 mph at Concow Road and 47 mph at Rim Road during the
morning hours, all of which were within TP1. Meteorology continued to monitor both global and high-
resolution forecast models for any run-to-run changes.
The decision was made to proceed with notifications to customers. However, based on the latest weather
model data, Meteorology recommended delaying the start time for all TPs, excluding TP 8, to 2000 PDT
on September 27 to limit impact to customers.
At 1800 PDT, a PG&E meteorologist participated in a public press conference to provide an overview of
the event and to field questions from the press. During the evening and overnight, meteorology continued
to brief Incident Commanders on a regular cadence about weather and wind conditions.

                                                                                                             22
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 25 of 156




Monday, September 28: External agency forecasts and interagency conference calls monitored by the
PG&E Meteorology team offered corroborating information:
    •    NWS Red Flag Warnings remained in effect through Monday afternoon and evening from the
         Eureka, Sacramento, and Monterey offices, covering most of northern California.
    •    The NOPS 7 Day Fire forecast issued at 0721 PDT continued to warn of High Risk for wind for
         PSAs NC02, NC03A, NC03B, NC04, NC05, and NC07. They mentioned, “Widespread gusts
         this morning 25-40 mph, and 45-60 mph in the most wind-prone spots,” and, “Winds decreasing
         after noon, with wind-prone spots having N-E gusts 15-30”.
    •    The NOAA Storm Prediction Center continued to show elevated to critical fire weather across
         most of Northern CA. Their forecast discussion noted, “Strong offshore flow is ongoing this
         morning with winds of 30 to 40 mph and gusts to 60 mph in the terrain of northern California
         with relative humidity of 10 to 15 percent.”
As forecast, gusty east/northeast winds occurred overnight across interior NorCal with the SFO-WMC
pressure gradient peaking at -16.2 mb at 14Z (7 AM local). Peak gusts over elevated terrain in the
northern TP areas were generally in the 45-60 mph range with the highest gust recorded at Jarbo Gap of
72 mph.
PG&E continued to monitor weather conditions during the event to support all clear decisions as quickly
and safely as possible. Winds started to decrease early Monday morning across first the central Sierra and
then in the northern Sierra area and Sonoma/North Bay (TP 7) mid to late morning. Through the morning,
PG&E meteorologists monitored weather stations in real time and supported several all clear meetings
that morning.
PG&E teams met to discuss the models trending weaker in TP8 (Kern county). Leaders decided to abort
the TP 8 PSPS event as the latest forecasts indicated that no areas exceeded PSPS guidance. By 1142
PDT, all areas de-energized in this event were given the Weather All Clear.




                                                                                                        23
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 26 of 156




Section 3 – Time, Place, and Duration

The time, place and duration of the event and whether the areas affected by the de-energization are
classified as Zone 1, Tier 2, or Tier 3 per the definition in General Order 95, Rule 21.2-D.
Response:
The PSPS event occurred over the timeframe of September 27 4, 2020 – September 29, 2020 in seven
different geographic areas located across 15 counties in Northern California.
Appendix A lists circuits de-energized along with the following for each circuit:
       •    Communities served
       •    De-energization date / time
       •    Restoration date / time
       •    General Order (GO) 95, Rule 21.2-D Zone 1, Tier 2, or Tier 3 classification.




4   Select customers were de-energized due to microgrid switching on September 26

                                                                                                   24
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 27 of 156




Section 4 – Affected Customers

The number of affected customers, broken down by residential, medical baseline,
commercial/industrial and other.
Response:
A total of 64,297 customers were impacted 5 during the PSPS event. Of the customers impacted, a total of
64,294 distribution customers were de-energized including 58,453 6 residential, 4,358 medical baseline,
5,512 commercial/industrial, and 329 other customers. A total of 3 transmission customers were
impacted.
Appendix A lists circuits de-energized along with the following information for each circuit:
       •    Total number of customers affected
       •    Residential customers affected
       •    Medical Baseline customers affected
       •    Commercial/industrial customers affected
       •    Other 7 customers affected




5   Impacted customers include customers who experienced short outages due to microgrid switching.
6   ‘Residential’ customers include Medical Baseline Customers
7   ‘Other’ includes customers that do not fall under the residential or commercial / industrial categories such as governmental
     agencies, traffic lights, agricultural facilities, and prisons.

                                                                                                                                   25
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 28 of 156




Section 5 – Damage to Overhead Facilities

Describe any wind-related damage to overhead powerline facilities in the areas where power was
shutoff.
Response:
During safety inspections and patrols of the de-energized circuits prior to restoring power, PG&E
discovered a total of 11 incidents of wind-related damages or hazards. Damages are conditions that
occurred during the PSPS event, likely wind-related, resulting in necessary repairs or replacement of
PG&E’s asset, such as a wire down or fallen pole. Hazards are conditions that might have caused
damages or posed an electrical arcing risk had PSPS not been executed, such as a tree limb found
suspended in electrical wires. In each case of damage, PG&E repaired or replaced the damaged
equipment prior to reenergizing. Hazards were cleared prior to reenergizing.
    •    7 cases of damages
    •    4 cases of hazards
These are mapped in Figure 9 and illustrated in subsequent Figures.

           Figure 9: Map of September 27-29 Damage/Hazard Incidents on PSPS Footprint




                                                                                                        26
 Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 29 of 156




Figure 10: Image of Vegetation Hazard in       Figure 11: Image of Vegetation Related
Nevada County – Tree Limb Hanging on a       Damage in Butte County – Broken Insulator
              Conductor                               and Floating Conductor




Figure 12: Image of Vegetation Related Damage in Butte County – Falling Treetop Damaged
                                   Overhead Conductor




                                                                                          27
         Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 30 of 156




Section 6 – Customer Notifications

Provide a description of the customer notice and any other mitigation provided by PG&E. Include
a copy of all notifications, the timing of notifications, the methods of notifications and who (IOU or
public safety partner) made the notification. If PG&E failed to provide notifications according to
the timelines set forth in the CPUC PSPS Guidelines (see D.19-05-042), include an explanation of
the circumstances that resulted in such failure.
Response:
This section describes customer notices and explains failures to provide notifications according to the
timelines set forth by the CPUC PSPS Guidelines (see D.19-05-042) is provided below. It summarizes
additional communication measures and channels. A table of all notifications including timing of
notifications, counts of customers (including Medical Baseline) with attempted and successful
notifications is provided in Appendix B. A copy of the notification messages is included in Appendix C.

Notifications
Leading up to and during PSPS events, PG&E sends automated notifications via call, text and email to
Public Safety Partners and impacted customers in accordance with timelines set forth by the CPUC PSPS
Guidelines (D.19-05-042); these may vary with forecasted weather timing for different TPs.
Notifications sent before de-energization included the following information: potentially impacted
addresses, estimated window until the de-energization time, estimated duration of the weather event,
estimated time of restoration (ETOR), 8 and links to resources for customers (e.g., PSPS updates webpage
with CRC information, resources for customers with access and functional needs). Notifications were
provided to customers in English, with information on how to get event information in 12 non-English
languages. 9 Customers with their language preference set received in-language (translated) notifications.
For each automated notification sent to non-Medical Baseline customers, PG&E sends two additional
retries in 10-minute intervals. For Medical Baseline customers, PG&E continues issuing notifications
every hour until the customer confirms receipt of the notification (up to 9 p.m. or when PG&E suspends).
Customers that self-identify to receive an in-person visit prior to disconnection for non-payment or
receive utility communications in a non-standard format or self-identify as having a person with a
disability in the household are notified with the general customers impacted (unless enrolled in the
Medical Baseline Program). It is important to note all notifications include reference to resources
available to customers including a link to www.pge.com/disabilityandaging.
Below describes PG&E’s notifications sent to customers for this event, including a table of the
approximate times of notifications sent to customers prior to de-energization (see Table 2).




8   The initial ETOR provided to customers prior to de-energization is based on the forecasted timing of the end of the weather
     event and PG&E’s goal to restore power within 12 daylight hours of weather clearing.
9   Spanish, Chinese (Mandarin and Cantonese), Vietnamese, Tagalog, Korean, Russian, Arabic, Punjabi, Farsi, Japanese, Khmer
     and Hmong.

                                                                                                                                  28
         Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 31 of 156




                 Table 2: Customer Notification Timeline Summary Prior to De-Energization

                                               Approximate
     Minimum           Approximate
                                               Notifications            Message                                Notes
     Timeline             Time
                                                  Sent 10

                                                                                        PG&E sent advanced notifications to Public
                                              500 public safety                         Safety Partners identified to be impacted at the
                       9/23 2100 PDT                                    Advanced        time (portions of three counties: Butte, Plumas
                                             partners customers
                                                                                        and Yuba counties)
     72-48 hours

                                              21,000 customers                          PG&E sent Two Day Watch early notification
                                                  + 55 local                            to all impacted populations identified in scope
                       9/24 1945 PDT                                      Watch
                                                 community                              (Butte, Plumas and Yuba counties) prior to the
                                               representatives                          required 48-24-hour minimum timeframe.

                                                                                        PG&E sent another round of Watch
                                                                                        notification messages to approximately 97,000
                                                                                        customers in portions of 16 counties (Shasta,
                                                                                        Tehama, Butte, Yuba, Plumas, Sierra, Nevada,
                                              97,000 customers                          Placer, El Dorado, Amador, Calaveras, Alpine,
                                                 + 200 local                            Napa, Sonoma, Lake, and Kern). Relative to
     48-24 hours       9/25 1630 PDT                                      Watch
                                                 community                              the previously notified population of
                                               representatives                          approximately 21,000 customers, this
                                                                                        population removed approximately 1,300
                                                                                        customers from scope and added
                                                                                        approximately 77,000 customers based on
                                                                                        changes to the forecasted weather conditions.

                                                                                        PG&E sent another round of Watch
                                                                                        notification messages to approximately 89,000
                                                                                        customers in Time Places 1-8 (portions of same
                                                                                        16 counties). This wave of notification
                                              89,000 customers                          messages also included microgrid-related
                                                 + 100 local                            messaging (where relevant) and transmission-
     < 24 hours        9/26 1000 PDT                                      Watch         level customer notifications. Approximately
                                                 community
                                               representatives                          8,000 customers were removed from scope
                                                                                        based on changes to the forecasted weather
                                                                                        conditions. Cancellations to these customers
                                                                                        notified but removed from scope were sent on
                                                                                        September 27 at approximately 1300 PDT.




10   Includes unreachable customers with no contact information; Counts of approximate customer notifications include public
     safety partner customers of record and all affected populations; Local community representatives contacted cover public safety
     partner notifications sent through PG&E’s agency notification system (more detail in Section 7 – Local Community
     Representatives Contacted); all values are approximate.

                                                                                                                                29
  Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 32 of 156




                            Approximate
Minimum    Approximate
                            Notifications     Message                       Notes
Timeline      Time
                               Sent 10

                                                        Warning notifications were sent to the first
                                                        wave of 15,000 customers in the most Northern
                                                        portion of our territory (Time Places 1 and 6:
                                                        Shasta, Tehama, Butte, Plumas) that would be
                           15,000 customers             de-energized overnight on 9/27; Cancellation
                              + 100 local               notifications were also sent to approximately
           9/26 1800 PDT                      Warning
                              community                 500 customers removed from scope based on
                            representatives             changes to the weather in this area. Final scope
                                                        of customers that were sent the imminent
                                                        Warning notifications included results of the
                                                        Transmission Power Flow Analysis.

                                                        PG&E sent a second Warning notification to
                                                        approximately 4,000 customers impacted in
                                                        Shasta and Tehama counties because the
           9/27 0900 PDT   4,000 customers    Warning
                                                        weather shifted in these counties, pushing out
Imminent                                                their planned de-energization time from 0200
                                                        to 1700 PDT.

                                                        PG&E sent Warning notification messages to
                                                        approximately 51,000 customers in Time
                                                        Places 2-5 and 7-8 (portions of 11 counties -
                           51,000 customers
                                                        Butte, Plumas, Yuba, Nevada, Placer, Amador,
           9/27 1230 PDT      + 200 local
                                              Warning   Calaveras, Alpine, Lake, Sonoma, and Napa).
                              community
                                                        Cancellation notifications were also sent to
                            representatives
                                                        approximately 31,700 customers removed from
                                                        scope due to changes in weather model
                                                        forecasts.

                                                        Warning notification messages were sent to 15
                                                        customers in Time Place 8 (Kern County).
                                                        Weather patterns shifted, and around 1300
           9/27 1745 PDT    15 customers      Warning
                                                        PDT on Monday, September 28, PG&E sent
                                                        Cancellation notification messages to these
                                                        customers.




                                                                                            30
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 33 of 156




De-Energization Initiated: Warning / Imminent Notification:
PG&E sent Imminent notifications (referred to as “Warning” notifications) to customers when forecasted
conditions showed that a safety shutoff was confirmed, and that it would happen soon. Whenever
possible, Warning notifications are sent approximately four to 12 hours in advance of the power being
shut off, which serves as PG&E’s De-Energization Initiated notifications. In these notifications,
customers see an estimated time when their power will be shut off and the estimated times power is
expected to be restored.

Restoration in Progress: Weather All Clear Notification
Our PSPS notification process typically includes an automated notification to each customer after the
weather event has passed, and another when their area is declared all clear to safely begin patrols and
restoration (called the “All Clear” notifications). Because the weather cleared quickly during this event,
PG&E sent ETOR notifications in lieu of Weather All Clear notifications.

Restoration in Progress: ETOR Notification
For this event, PG&E used its automated process to update ETORs for customers based on real-time field
intelligence. After the Weather All Clear, PG&E sends event update notifications to customers if their
ETORs change from the original ETOR provided based on two scenarios:
    1. Once the weather event is over and PG&E begins patrolling: Customers receive an updated
       ETOR based on field conditions, which may be sooner or later than original ETOR provided
       during the PSPS Weather Event.
    2. Weather event is over and damage found during patrols of equipment: Customers receive an
       updated ETOR accounting for repair time.
By providing individualized updates at the segment level on a circuit, PG&E gave customers more timely
and accurate information to plan accordingly.
The first ETOR update notifications were sent on September 28 at approximately 1400 PDT and
continued through 2030 PDT. Customers can opt out of receiving event update notifications after de-
energization has occurred.

Restoration Complete Notification
Restoration Complete notifications were automatically sent to customers when the customers were safely
restored. This was done using an automated process that issued customer notifications every 15 minutes
upon restoration of service.
The first Restoration Complete notifications were sent on September 28 at approximately 1400 PDT and
continued through September 29 at 1130 PDT.




                                                                                                             31
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 34 of 156




Explanation in case of false-negative communications (No advanced notice prior to de-energization)
The CPUC does not provide a definition of false-negative communications. PG&E defines a false
negative communication as a customer who was impacted and did not receive notification notice prior to
de-energization start date/time.
Approximately 200 customers who were de-energized (none of which were Medical Baseline) did not
receive direct notifications prior to de-energization. This was primarily due to two reasons:
       •    Locations with customer’s service point identification (SPID) number was not mapped to the
            local transformer.
       •    No valid contact information on file during the event. 11

Explanation in case of false-positive communications
The CPUC does not define false-positive communications. PG&E defines a false positive communication
as a customer who was not impacted, was notified that de-energization would occur (e.g., received
Warning notification), and did not receive cancellation notice prior to de-energization start date/time. 12
Approximately 1,500 customers received a Warning notification without a cancellation prior to the
planned de-energization start date and time. PG&E was unable to provide cancellation notices to
customers for the following known reasons:
       •    Advanced switching solutions were able to remove customers from the planned de-energization
            scope.
       •    Those customers had already been de-energized due to active fires before the start of switching
            for PSPS.
       •    PG&E’s mapping of customers to circuits erroneously identified some customers as in scope and
            about to be impacted; these errors are being identified and fixed.




11   After the event, PG&E sends postcards to these customers indicating they did not receive a notification directly from PG&E
     due to invalid or no contact information and encouraged them to update their contact information for future notifications.
12   PG&E excludes customers on temporary generation that were notified they were being served by a microgrid and did not
     experience a switching outage.

                                                                                                                                  32
         Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 35 of 156




For those customers where positive or affirmative notification was attempted, an accounting of the
customers (which tariff and/or access and functional needs population designation), the number of
notification attempts made, the timing of attempts, who made the notification attempt (utility or
public safety partner) and the number of customers for whom positive notification was achieved.
Response:
During PSPS events, Medical Baseline customers receive automated calls, text and emails at the same
intervals as the general customer notifications. PG&E provides unique PSPS Watch and PSPS Warning
notifications to Medical Baseline Program participants 13 and additional calls and texts at hourly intervals
until the customer confirms receipt of the automated notifications by either answering the phone,
responding to the text or opening their email. If confirmation is not received, a PG&E representative visits
the customer’s home to check on the customer (referred to as the “door knock” process) while hourly
notification retries continue. 14 If the customer does not answer, the representative leaves a door hanger at
the home to indicate PG&E had visited. In each case, the notification is considered successful. 15 PG&E
may also make Live Agent phone calls in parallel to the automated notifications and door knocks, as an
additional attempt to reach the customer prior to and/or after de-energization.
In this PSPS event, 4,358 Medical Baseline customers were ultimately de-energized. Notifications to
Medical Baseline customers initiated at the same intervals with all customers. In the early afternoon on
September 25, the Medical Baseline customer door knock process commenced for those customers who
had not confirmed receipt of their automated notifications. The door knocks continued through September
27 prior to de-energization.
On a twice daily basis, PG&E also continued sharing the lists of the Medical Baseline customers that had
not confirmed receipt of their notifications with county and tribal emergency operations centers within
their jurisdictions.
Table 3 and Table 4 include metrics associated with the notifications provided to impacted Medical
Baseline customers:




13   Including Medical Baseline Program customers who are master-metered tenants (e.g., renters or tenants in mobile home park).
14   Until late evening (approximately 2100) or PG&E suspends outreach for the night.
15   For Medical Baseline customers, the in-person door knock visit where a door hanger is left, but no contact made with the
     customer is considered “successful contact,” but not confirmed as “received.” If the representative makes contact with the
     customer, this is considered “received.”

                                                                                                                                  33
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 36 of 156




                 Table 3: Outcomes of Notifications to Impacted Medical Baseline Customers
               Type of Notifications to Impacted
  Count        Medical Baseline Customers (based                  Description
               on SPID)
               Total Impacted Medical Baseline                    Customers on the Medical Baseline Program who were
     4,358
               Customers                                          de-energized 16
                                                                  Includes automated notifications sent via phone, text
     4,358     Total Attempted Notifications                      and email, in-person door knock visit attempts and/or
                                                                  Live Agent phone calls
                                                                  Total Medical Baseline customers without an attempted
       0       Total Notifications Not Attempted
                                                                  notification 17
                                                                  One of the following occurs: Customer answers the
                                                                  phone or voice message is left, text message is delivered
                                                                  or response to text is received, e-mail is delivered or
     4,356     Total Successful Notifications
                                                                  opened, or a link within the e-mail is clicked, door
                                                                  knock answered, door hanger left, live agent call contact
                                                                  made with customer
                                                                  Total Medical Baseline customers without a successful
       2       Total Notifications Not Successful                 notification (attempted, but could not get in for various
                                                                  reasons such as locked gate)
                                                                  One of the following occurs: Customer answers the
                                                                  phone, text message response is received, e-mail
                                                                  opened, door knock answered, live agent call contact
     4,245     Total Received Notifications
                                                                  made with customer (excludes voicemails left, text
                                                                  message delivered only and not confirmed, door hanger
                                                                  left)
                                                                  Total Medical Baseline customers who did not confirm
                                                                  receipt of their notification (these customers received a
      113      Total Notifications Not Received
                                                                  door hanger during door knock, or could not get access
                                                                  to property)

      Table 4: Count and Type of Additional Notifications to Impacted Medical Baseline Customers
  Count        Type of Additional Notifications to                Description
               Impacted Medical Baseline
               Customers (based on SPID)
                                                                  Door knock attempts to impacted customers where
      879      Total In-Person Visits / Door Knocks               PG&E made contact with the customer and/or left a
                                                                  door hanger 18
       59      Live Agent Phone Calls                             Contact made with customers via live agent phone calls




16   Excludes counts of Medical Baseline customers that are tenants of a master metered account
17   See page 32 regarding PG&E’s explanation of false-negative communications resulting in no direct notifications.
18   Customers may have confirmed receipt of their notifications in multiple channels (e.g. automated notification and/or door
     knock); therefore, the counts of total attempted and successful notifications are not mutually exclusive

                                                                                                                                 34
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 37 of 156




Additional Information - Other Channels of Communication
To alert the public in advance of the PSPS event, PG&E maintained both a media and online presence,
which included significant improvements to content, stability and navigation since 2019 events. PG&E
also engaged with additional key stakeholders, including Community Based Organizations (CBOs),
Critical Facilities, and Google.

Media Engagement
From the time PG&E publicly announced the potential PSPS event to the time customers were restored
(between September 24 and September 29, 2020), PG&E engaged with customers and the public through
the media as described below.
       •    Issued six news releases containing information and updated details about the PSPS event; 19
       •    Provided event information to approximately 5,700 news outlets via Business Wire’s national
            media list, which includes approximately 600 California news outlets, on a regular and ongoing
            basis. This included 51 multi-cultural news outlets throughout Northern California and Bay Area
            regions. These organizations provided in-language (translated) event updates to their
            viewers/readers in over 20 languages, including languages spoken by communities that occupy
            significant roles in California’s agricultural economy (e.g., Mixteco).
       •    Participated in media interviews to provide situational updates and preparedness messages for the
            PSPS event;
       •    Coordinated directly with 38 multicultural media organizations with established contracts to issue
            event updates on their platforms (e.g., radio, TV, social media);
       •    Conducted two live-streamed PG&E PSPS Public Briefings, with interpretation by an American
            Sign Language (ASL) interpreter. These briefings were promoted on social media and in media
            advisories and streamed on PG&E’s YouTube Channels. 20 Portions of PG&E’s public briefings
            were live-streamed on local TV news channels. Presenters included PG&E’s Incident
            Commander, a meteorologist and a Customer Care representative. Audiences included customers,
            stakeholders and reporters and event included live Q&A from select reporters;
       •    Maintained a regular and ongoing social media presence on Twitter, Facebook, Instagram and
            Nextdoor, issuing 80 social media posts, with approximately 1.2 million total impressions and
            over 42,000 total engagements. Social media posts also included American Sign Language (ASL)
            translators with event updates; 21




19   www.pge.com/en/about/newsroom/newsreleases/index.page
20   PG&E YouTube Channel: https://www.youtube.com/user/pgevideo/videos
September 26 Briefing: https://youtu.be/MWeZsubSl0k
September 27 Briefing: https://youtu.be/zsavkH4GB6o
21   Sample Social Media Posts–




                                                                                                           35
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 38 of 156




       •    Aired a new, 30-minute television and radio program in central and northern California,
            “Preparing for Public Safety Power Shutoffs.” 22 The program provided details of PG&E’s
            Community Wildfire Safety Program and shared ways customers and communities could plan
            and prepare for PSPS events. The program was developed to help keep customers informed that
            rely on TV and/or radio instead on web or social media. Also, promoted program through with
            social media posts urging social media-using audiences to share information with their non-social
            media-using friends and family; 23
       •    Ran radio spot advertisements that provided event information and resources for customers in
            need, including sharing our PSPS Disability and Aging website and referencing to call 211 for a
            full list of support services; 24
       •    Augmented customer outreach with dedicated paid advertising messages before and during the
            event, using digital banners in English and Spanish (Figure 13) placing approximately 2.1 million
            digital banner impressions. 25

        Figure 13: Sample Digital Banner Advertisements Used During September 27 PSPS Event




PSPS Criteria: https://twitter.com/PGE4Me/status/1311459733807792128
De-Energization Start: https://twitter.com/PGE4Me/status/1310429105175891973;
  https://www.facebook.com/pacificgasandelectric/photos/a.158074100888012/3901851763176875
CRCs: https://twitter.com/PGE4Me/status/1310572531305320450/photo/1
Promotion of Zip Code Alerts: https://twitter.com/PGE4Me/status/1309939875882455043/photo/1
Weather All Clear update: https://twitter.com/PGE4Me/status/1310671045313966080
Event re-cap: https://twitter.com/PGE4Me/status/1310786997041029125
22   https://youtu.be/PI-AzONbujk
23   TV promotion: https://twitter.com/PGE4Me/status/1309882486781095938/photo/1
Radio promotion: https://twitter.com/PGE4Me/status/1309885256720420864/photo/1
24   248 language radio sport advertisements issued in in three counties (Butte, Plumas and Yuba) delivering 200,204 impressions.
25   English advertisements had 2,084,418 impressions and 0.08% Click Through Rate (CTR). Spanish advertisements placed in 9
     counties had 37,281 impressions and 0.15% CTR.

                                                                                                                               36
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 39 of 156




PG&E Website
During this PSPS event, 26 PG&E placed banners on multiple pages on www.pge.com that drove traffic to
PG&E’s PSPS event site, and implemented tools to drive traffic to and maintain stability of the PSPS
emergency website / event updates page, www.pge.com/pspsupdates. In addition, anyone who typed
pge.com was taken to a splash screen on the PSPS event site giving the user a choice of visiting pge.com
or the PSPS updates web pages.
Before the first PSPS event of 2020, PG&E significantly improved our website, establishing a new
emergency website for scalability and stability. PG&E’s main webpage, pge.com, now has the capacity to
serve 12 million hits 27 per hour, and PG&E’s emergency website, which maintains the PSPS event update
information, can serve 240 million hits per hour. During this event, the pge.com hit rate peaked on
September 28 at 1100 PDT with approximately 1.09 million hits per hour, and the emergency website
with PSPS update information peaked on September 26 at 1800 PDT with approximately 504,000 hits per
hour.
The following content was available on PG&E’s PSPS event-updates pages:
       •    Straightforward, simplified event information with clear updates about the planned scope of the
            event, including location (e.g., list of impacted, cities, counties and tribes), duration of the event,
            including estimated times of de-energization and re-energization at the individual address level,
            and overall for the event;
       •    Improved maps, including one place to toggle between the PSPS planned outage maps and actual
            outage maps and more detailed, parcel-level view of the areas planned for de-energization;
       •    Address lookup tool that a customer and the public could use to identify specific PSPS impacts;
       •    PG&E partners could download pdfs of impacted areas, shape and kmz files for use with their
            own mapping applications, and city/county lists with shutoff and restoration summaries.
       •    Details of Community Resource Centers (CRCs), including locations listed by county, resources
            available at each center, type of CRC offered (e.g., indoor, outdoor) and operating hours;
       •    Links to additional resources for customers, including links to PG&E’s EV charging locater map,
            locations of Independent Living Centers, resources for people with access and functional needs,
            backup power safety tips, medical baseline program information, and more; and
       •    Survey to provide input about the website and event communications.
PG&E made the following new improvements to our website for this event:
       •    Added the following six new languages to our emergency website for customers to obtain event
            information in the same user experience as English: Arabic, Punjabi, Farsi, Japanese, Khmer and
            Hmong. In total, 12 non-English languages are available on PG&E’s emergency webpage,
            including the PSPS event updates page;




26   From September 24 to September 29.
27   Website hits measure requests for data sent to a server when a user accesses a webpage (e.g., images viewed, data
     downloaded). One page visit or page view can result in one or more hits.

                                                                                                                         37
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 40 of 156




       •    Launched revamped webpage focused on resources for customers with accessibility, financial,
            language and aging needs; 28
       •    Launched the latest set of designs for address lookup based on customer feedback in usability
            testing;
       •    Added CRC location information as soon as sites were confirmed (up to two days before shutoff
            for some locations); and added CRC locations to the PSPS impact map as another view to see
            CRC locations and available resources based on the impacted areas (see Figure 14 and Figure 15
            below).

            Figure 14: Image of Website with PSPS Impacted Area Map and CRC Site Locations




28   www.pge.com/disabilityandaging

                                                                                                            38
         Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 41 of 156




                          Figure 15: Image of Sample CRC Amenities Listed on Website




Over the course of the event, PG&E’s website (pge.com) had almost 700,000 unique visitors, over
850,000 visits, and almost 1.3 million total page views. PG&E’s emergency website
(pgealerts.alerts.pge.com), which includes PSPS event updates webpage, 29 received over 550,000 unique
visitors, approximately 850,000 visits, and almost 1.7 million total page views.
Of the unique visitors who visited our emergency website approximately 0.2% of the visitors used the
Spanish page and 0.1% used the Chinese page. There were fewer than 200 unique visitors (<0.1%) to
each of the ten other available translated pages (see Table 5 below for more detail).

Table 5: Unique Visitors to the Translated Versions of the PSPS Updates Webpage from September
                                        24 to September 29
                                                          Unique
                                         Language                           Percent
                                                          Visitors
                                         English          556,962           99.5%
                                         Spanish          1,150             0.21%
                                         Chinese          494               0.09%
                                         Russian          157               0.03%
                                         Punjabi          126               0.02%
                                         Vietnamese       110               0.02%
                                         Japanese         109               0.02%
                                         Korean           106               0.02%
                                         Tagalog          104               0.02%
                                         Hmong            76                0.01%
                                         Farsi            73                0.01%
                                         Arabic           62                0.01%
                                         Khmer            44                0.01%




29   The PSPS Event Updates page is at the following link: pgealerts.alerts.pge.com/updates. PG&E also uses the following shorten
     URL for the same site: www.pge.com/pspsupdates

                                                                                                                              39
       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 42 of 156




Other Community Engagement
   •    Community Based Organizations (CBO) Engagement: In 2020, PG&E established a new,
        dedicated point of contact to engage with CBOs during a PSPS event. For this event, on Tuesday
        and Wednesday, September 22 and 23, PG&E provided three trainings for resourced-based
        CBOs, including food banks, Meals on Wheels, and one in-language partner. CBO partners were
        invited to once-daily cooperator calls hosted by PG&E to provide a situational update about the
        latest scope of the event and an overview of the services available to customers with Access and
        Functional Needs (AFN) for the CBOs to share with their constituents. PG&E engaged with over
        250 CBOs during the event, sharing courtesy notification updates, press releases, the new food
        bank fact sheet, and other relevant information that they could share with their constituents to
        expand our reach of communications (e.g., providing a social media resource site with translated
        infographics that can be used by these organizations). Both CFILC and State Council for
        Developmental Disabilities (SCDD) pushed detailed emails to their consumers with links to our
        website, including CFILC DDAR program, disability and aging, weather forecast, and generator
        safety focused web pages. Figure 16 is an example of one of the communications shared by
        CFILC during the event.

   Figure 16: Example Communication from CFILC to Their Consumers During PSPS Event




                                                                                                      40
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 43 of 156




•    Critical Facility Engagement: For this event, PG&E asked critical facilities to confirm receipt of
     the automated notifications. If these customers did not confirm receipt of the automated
     notification, PG&E representatives from local Operations Emergency Centers (OEC) or
     Customer Relationship Managers (CRMs) made direct calls to the PSPS contacts to ensure they
     were aware of the potential event, and provided localized support for other public safety partners,
     such as water agencies and emergency hospitals.
     Before and during this event, in recognition of the unique challenges posed by the potential
     confluence of a PSPS event and COVID-19, PG&E provided pre-staged backup power to support
     select COVID-19 hospitals identified in partnership with the California Hospital Association
     (CHA) and Hospital Council of Northern and Central California that were more likely to
     experience a PSPS event and did not have an existing mitigation in place or feasible given
     location. This was done to minimize the impact to treatment of COVID-19 patients during the
     pandemic.
•    Google SOS Alerts: PG&E provided PSPS event information to Google, which issued Google
     SOS alerts to the public. PSPS outage information was provided on Google products, including
     alert banners in Search and Maps with references to the PG&E website and available resources.
     Google also sent push notifications to Android users in the impacted and surrounding areas.
•    Outreach to Impacted Customers with Missing or Invalid Contact Information: After the event, on
     October 9, 2020, PG&E sent postcards to those customers that we were unable to deliver a
     notification during the event due to missing or invalid contact information. We also included
     customers that had invalid contact information in one of the channels of communications (phone,
     SMS, email). Figure 17 is the image of the postcards sent to these customers.


    Figure 17: Image of PG&E Postcard Sent to Customers with Missing or Invalid Contact
                                       Information




                                                                                                      41
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 44 of 156




Event Support for Customers with Access and Functional Needs (AFN)
PG&E provided a variety of resources to customers with access and functional needs before and during
this event. Three of the four programs and partnerships described below are new arrangements established
to support our customers during 2020 PSPS events.
       •    Disability Disaster Access and Resource Program: PG&E continued its collaboration with the
            California Foundation for Independent Living Centers (CFILC) 30 to implement the Disability
            Disaster Access and Resources (DDAR) Program during the event. Through this program, local
            Independent Living Centers (ILCs) provided aid to seniors and/or people with disabilities who
            rely on power for medical or independent living needs. 31 Through CFILC, PG&E aid to AFN
            customers included delivery of a total of 604 32 backup portable batteries to qualifying customers
            who need power during a PSPS, arranging 28 hotel stays to give customers in need an energized
            place to stay during the outage, coordinating transportation for two customers, and providing 61
            food vouchers as well as 7 gas vouchers for customers to either drive to a local CRC or obtain gas
            for generators. Some of these resources provided through CFILC were an outcome of Medical
            Baseline customer-related escalated that were received by PG&E in the EOC during the event.
            CFILC also sent out communication to their constituents to alert them to the available resources.
       •    Portable Battery Program: Just prior to PG&E’s first PSPS event in 2020 (September 7), PG&E
            launched its Portable Battery Program (PBP). This program provides fully subsidized portable
            battery systems for low-income customers that live in Tiers 2 and 3 high fire-threat districts
            (HFTD) and are enrolled in the Medical Baseline program. During this event, we delivered 85
            portable batteries to eligible customers, with a total of 177 units delivered across the entire PG&E
            service territory to date.
       •    Food Bank Partnerships: PG&E continued to fund local food banks to provide food replacement
            to families during the event and three days following service restoration. For this event, we
            partnered with eight local food banks that served 13 impacted counties to provide 5,876 boxes of
            food replacement for families. Fact sheets with details about food bank partnerships were
            available at Community Resource Centers for this event and shared with CBOs to pass on to
            clients.
       •    Meals on Wheels Partnerships: PG&E continued our partnership with Meals on Wheels to
            provide additional support and services to customers in need during PSPS events. For this PSPS
            event, we partnered with two Meals on Wheels organizations (Common Ground Senior Services
            and Chico Meals on Wheels) that served three counties: Butte, Calaveras and Amador. In total,
            we supported 82 seniors with an additional meal daily for the duration of the event. Meals on
            Wheels also completed in-person visits / wellness checks and provided event information to the
            seniors they serve, including sharing CRC location details.




30   CFILC is a registered 501(c)(3) non-profit organization that increases access and equal opportunity for people with disabilities
     by building the capacity of Independent Living Centers (ILCs) throughout California. ILCs are grassroots organizations run
     by, for, and about people with disabilities. CFILC’s membership includes 23 of California’s 28 ILCs and 56 of the state’s 58
     counties.
31   Customer may participate regardless of their enrollment in PG&E’s Medical Baseline Program, and their individual needs are
     assessed directly with CFILC.
32   The total backup portable batteries include 36 batteries delivered during this event and 568 delivered to customers leading up
     to this event in 2020.

                                                                                                                                  42
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 45 of 156




       •    Food Delivery Partnership: PG&E funded Sonoma County Food for Thought to deliver groceries
            to homebound individuals due to medical conditions. For this PSPS event, only one customer
            served by Food for Thought was impacted by the PSPS event.

Communications to Customers with Limited English Proficiency
PG&E provided translated customer support through its customer notifications, website, call center, social
media and engagement with CBOs and multicultural media partnerships. Information and
communications were offered in 12 33 non-English languages, and customers who had set their language
preference received in-language (translated) notifications.
PG&E’s website offers PSPS preparedness toolkits in 1233 non-English languages covering topics
including the medical baseline program application and fact sheets on PSPS, CWSP program, medical
baseline program, and more. As described above, the emergency website with PSPS event update
information was fully translated in the same 12 languages.
Customers with limited English proficiency could access translation services through PG&E’s call center.
PG&E displayed its call center phone number at the top of its PSPS event webpage, highlighting that
translation services are available in over 200 languages. During this PSPS event, PG&E’s call center
provided translation services in 28 different languages and handled 75,000 calls.
For 2020 PSPS events, PG&E has significantly increased support and engagement with multi-cultural
media organizations to maximize the reach of in-language communications to the public during the event.
Leading up to the PSPS event, we engaged with 38 multicultural media organizations (adding one since
the September 7 event) covering the 12 languages above and languages spoken by communities that
occupy significant roles in California’s agricultural economy (e.g., Mixteco, Nahuatl). Throughout the
event, we provided regular communications with these media outlets to share information and updates on
PSPS.
We developed and distributed translated social media infographics in 12 languages. Figure 18 includes
samples of the infographics shared for this PSPS event.




33   Spanish, Chinese (Cantonese & Mandarin), Vietnamese, Tagalog, Korean, Russian, Japanese, Farsi, Punjabi, Arabic, Khmer,
     and Hmong.

                                                                                                                           43
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 46 of 156




    Figure 18: Examples of New Translated Infographics Made Available in the
    September 27, 2020 Event to Multicultural Media and over 250 CBOs to Use
                              During PSPS Events




                                                                               44
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 47 of 156




Highlights from our coordination with multicultural media organizations include:
       •    Russian American Media translated and published our news releases into Russian for use in the
            impacted area. 34
       •    KUVS Univision routed customers to PG&E’s Spanish PSPS updates page via a digital alert
            banner on their website. Figure 19 is a sample screen shot of the digital alert they shared.


        Figure 19: Sample Screenshots of KUVS Univision Digital Alert Banners Issued During the
                                       September 27 PSPS Event




34   http://russianperspective.com/2020/09/15/pg-e-psps-safety-plan/

                                                                                                            45
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 48 of 156




For the first time during a PSPS event, PG&E partnered with CBOs that translate communications to
customers in languages spoken by communities with significant roles in California’s agricultural
economy. Redirect Nuevo Camino & Ocelotecame, organizations based on Placer county, provided in-
language outreach to customers in Nahuatl. Before, during and after the PSPS event, Redirect made social
media postings (see Figure 20). Redirect also provided proactive outreach by telephone and text to 20
Nahuatl-speaking contacts.

Figure 20: Sample Social Media Posts from Redirect Nuevo Camino & Ocelotecame in Spanish and
                                           Nahuatl




                                                                                                     46
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 49 of 156




Section 7 – Local Community Representatives Contacted

The local communities’ representatives the IOU contacted prior to de-energization, the date on
which they were contacted, and whether the areas affected by the de-energization are classified as
Zone 1, Tier 2, or Tier 3 as per the definition in General Order 95, Rule 21.2-D.
Response:
Appendix D lists local governments, tribal representatives and community choice aggregators contacted
prior to de-energization, the initial date on which these stakeholders were contacted, and whether the
areas affected by de-energization are classified as Zone 1, Tier 2 or Tier 3 as per the definition in GO 95,
Rule 21.2-D. Dates marked with an asterisk are representatives who received multiple notifications during
the event.




                                                                                                         47
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 50 of 156




Section 8 – Local and State Public Safety Partner Engagement

A description and evaluation of engagement with local and state public safety partners in providing
advanced outreach/notification during the PSPS event
Response:
On September 23, PG&E’s Meteorology Team noted a potential weather event and updated the weather
forecast on pge.com/weather to “elevated” in certain parts of the service territory. Local PG&E
representatives notified cities, counties and tribes, using live phone calls, that PG&E was monitoring for
an increased potential of a PSPS event.
Later that evening, PG&E activated its Emergency Operations Center (EOC) for a potential PSPS event
and began notifying state and local Public Safety Partners, using email and/or phone calls, of a potential
PSPS event originally anticipated for September 26. PG&E’s advanced notification to these partners
started at approximately 1900 PDT on September 23.

Local and State Agency and First Responder Engagement:
While PG&E’s EOC was active, PG&E coordinated with local and state agencies and first responders
(cities, counties, and tribes) in the following ways:
    •    Submitted the PSPS State Notification Form to CalOES and sent emails to the CPUC at key event
         milestones.
    •    Sent automated text, email and phone calls to cities, counties, tribes and Community Choice
         Aggregators. These notifications included the estimated shutoff and restoration times, as well as
         links to maps and other information.
    •    Hosted twice-daily State Executive Briefings with state agencies to provide the latest event
         information and answer questions.
    •    Hosted the daily Systemwide Cooperators Call, which all Public Safety Partners in the service
         territory were invited to join.
    •    Hosted twice-daily Tribal Cooperators Calls with potentially impacted tribes to provide the latest
         event information and answer questions.
    •    Conducted ongoing coordination with local County OES and tribal contacts through dedicated
         Agency Representatives. This included but is not limited to providing the latest event
         information, coordinating on Community Resource Center locations and resolving local issues in
         real-time.
    •    Offered PG&E Agency Representative to be embedded in-person or virtually in local EOCs. Note
         that no counties requested embedded support for this event. A PG&E Agency Representative was
         embedded in the CalOES State Operations Center.
    •    Offered remote support from GIS Technical Specialists to help navigate the PG&E GIS tools and
         maps. Note that no counties or tribes requested GIS Technical Specialist support for this event.
    •    Provided maps, situation reports, critical facility lists and medical baseline customer lists via the
         PSPS Portal at the time of the initial notification and throughout the event.
Starting on September 24, a Program Manager from the California Public Utilities Commission was
remotely embedded in PG&E’s virtual EOC and attended PG&E’s Command and General staff meetings,
as well as Operational and Planning meetings. Starting on September 25, a CalOES Emergency Services

                                                                                                             48
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 51 of 156




Coordinator for Placer and Nevada counties, was remotely embedded in PG&E’s virtual EOC and
attended PG&E’s EOC meetings.

Community Choice Aggregator (CCA) Engagement:
Three CCAs were in scope for this PSPS event: Sonoma Clean Power, Pioneer Energy and MCE.
Throughout the event, PG&E’s CCA Relations Managers gave these CCAs dedicated individual support,
fielded questions and shared situational updates. On September 25, CCA Relations Managers contacted
the affected CCAs to warn of the possibility of the impending PSPS event. The CCAs received advanced
notifications through PG&E’s public safety partner agency notification system, were invited to PG&E’s
daily cooperator calls to receive situational updates and had access to PSPS Portal with event information
(e.g., maps, impact lists, situation reports).

Communications and Water Provider Engagement:
Impacted communications and water providers received advanced notifications through PG&E’s
automated customer notification system and were invited to PG&E’s daily cooperator calls to received
situational updates. They also had access to PG&E’s PSPS Portal with event information (e.g., maps,
impact lists, situation reports). Communications providers were provided support from PG&E’s Critical
Infrastructure Lead (CIL), and water providers received escalated support through PG&E’s local
Operations Emergency Center (OEC).

Publicly Owned Utilities (POUs) and Transmission-level Customer Engagement:
PG&E’s Critical Infrastructure Lead (CIL) notified impacted transmission-level customers, including
publicly owned utilities, of the event. They received automated notifications through PG&E’s customer
notification system once transmission-level impacts were determined. PG&E’s Grid Control Center
(GCC) operators made live calls to these transmission customers before both de-energization and re-
energization. POUs were invited to PG&E’s daily cooperator calls to receive situational updates and had
access to PSPS Portal with event information (e.g., maps, impact lists, situation reports).
Following the submission of this PSPS De-Energization Report, PG&E will provide the report to Public
Safety Partners for review and feedback.




                                                                                                        49
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 52 of 156




Section 9 – Complaints Received & Claims Filed

The IOU shall summarize the number and nature of complaints received as the result of the de-
energization event and include claims that are filed against the IOU because of de-energization.
Response:
Complaints
From September 19, 2020 through October 7, 2020, PG&E did not receive any written, phone or e-mail
complaints related to PSPS from the CPUC. Complaints received are reconciled on a monthly basis and
subject to change.

Claims
As of October 7, 2020, PG&E received three claims for the September 27-29 PSPS event. The claims
received are broken down into the following categories:

                           Table 6: Count and Type of Claims Received
                      Number of     Description of Claims
                       Claims
                          2         Food Loss
                          1         Property Damage




                                                                                                      50
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 53 of 156




Section 10 – Power Restoration

The timeline for power restoration (re-energization) in addition to the steps taken to restore power
as required in Resolution ESRB-8;
Response:
Prior to restoration activities, PG&E pre-positions patrol crews and prepares helicopters in anticipation of
the Weather All Clear to begin patrols. The PG&E Incident Commander and meteorology team monitor
real-time and forecasted weather conditions based on weather models, weather station data, and field
observations. Using this incoming information, Weather All Clears are issued by fire index area (FIA) in
a phased approach to restore customers as soon as possible. (See FIA map in Appendix E.) PG&E issued
the Weather All Clear by FIA based on real-time local weather station data, which enables granular, faster
Weather All Clear decisions.
As Weather All Clears are issued, PG&E patrols electrical facilities to identify and repair or clear any
damage or hazards before reenergizing. Using the Incident Command System (ICS) as a base response
framework, each circuit was assigned a taskforce consisting of supervisors, crews, troublemen, and
inspectors. This structure allowed PG&E to patrol and perform step restoration in alignment with the
centralized control centers.
Over the course of restoration PG&E issued four separate Weather All Clears and used approximately
1,300 personnel and 50 helicopters to identify any safety concerns and make necessary repairs prior to
restoration. Power was restored to customers as patrols were completed to verify that it was safe to restore
service.
PG&E issued Weather All Clears for Fire Index Areas at the times noted in Table 7, and restored all
customers that were served by accessible circuits on September 28, except for one circuit that was
restored on the morning of September 29.

                                   Table 7: Weather All Clear Times

 Impacted FIAs                                         Weather All Clear Date and Time

 345, 340, 305, 244, 247                               09/28/2020 0703

 175, 300, 330                                         09/28/2020 0917

 360, 335, 350, 285                                    09/28/2020 1036

 282, 248, 280                                         09/28/2020 1142



For any circuits that require more than 24 hours to restore, the utility shall explain why it was
unable to restore each circuit within this timeframe in its post event report.
Response:
PG&E was able to restore each impacted circuit within 24 hours of the Weather All Clear for the PSPS
event.




                                                                                                           51
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 54 of 156




Section 11 – Community Assistance Locations

The IOU shall identify the address of each community assistance location during a de-energization
event, describe the location (in a building, a trailer, etc.), describe the assistance available at each
location, and give the days and hours that it was open.
Response:
During this event, PG&E established 29 Community Resource Centers (CRCs) in 13 counties. When a
PSPS event occurs, PG&E opens CRCs to provide affected customers and residents a space that is safe,
energized and air-conditioned or heated (as applicable) with the standard operating hours of 0800 to 2200
PDT. Visitors were provided with PSPS event information by dedicated staff, ADA-compliant
restrooms/hand-washing stations, physically distanced tables and chairs, power strips to meet basic
charging needs (including charging for cell phones, laptops and small medical devices), and Wi-Fi and
cellular service access. The following supplies were available at each location: water, non-perishable
snacks, bagged ice, batteries and blankets. The CRCs are designed to meet the following criteria:
Americans with Disabilities Act (ADA) and environmentally compliant, site owner approval, Wi-Fi and
cellular service access, 1-2 acres of flat and (preferably) paved areas for outdoor locations, backup
generation availability, and open typically between 0800 PDT to 2200 PDT from the time power is shut
off until the time electric service is restored. CRC locations were published on our website, shared on
social media, shared with state and county officials and news media, and shared with AFN customers
through our CFILC and media partners.

COVID-19 Considerations:
We adapted our approach to CRCs to reflect appropriate COVID-19 health considerations and state and
county guidelines, including requiring facial coverings, physical distancing and limits on the number of
visitors at any time based on capacity limits of the location. At indoor CRCs, temperature checks were
required for entry, and tables and chairs had physically distant spacing. At outdoor CRCs, supplies were
handed out so customers could “grab and go,” and seating was only available for customers needing
medical equipment charging. Indoor CRCs were also set up with “grab and go” bags of supplies.

Local Government Coordination on Site Selection and Closure:
During this PSPS event, PG&E’s dedicated Liaisons closely coordinated with the potentially impacted
counties and tribes to review the proposed scope of the event and receive agreement on the selected
locations for the CRCs based on the anticipated areas of de-energization. This included phone calls and
emails from Thursday, September 24 through Saturday, September 26 to the potentially impacted
jurisdictions identified at that time, to share lists of CRC locations and confirm replacements for areas
within fire evacuation areas within each county or tribe. PG&E reviewed location feedback from the
counties and tribes and worked collaboratively to implement those locations for the event. PG&E also
confirmed operating hours with local governments, tribes and site owners to implement any operational
changes to the standard operation hours (0800 PDT – 2200 PDT) for public health or safety reasons (e.g.,
local curfew, inability to access, safety issues).
Twenty-eight CRC location were pre-identified, with the county/tribe having provided input in advance of
the 2020 wildfire season. The last site, in Plumas County, had to be newly procured where PG&E was
unable to make successful contact with property owners and a CRC was needed closer to the impacted




                                                                                                       52
         Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 55 of 156




customer areas. Three counties declined to have CRCs set up in their counties for various reasons, such as
relatively small scope of impact in their jurisdiction and/or anticipated evacuations. 35
PG&E coordinated with local governments to gain their agreement to close the sites within their
jurisdictions.

Location, Type and Timeline of CRCs
PG&E provided a total of 29 CRCs in 13 counties over the course of two days throughout the impacted
areas in the territory, as shown in the figure below. Of the 29 CRCs, 10 were indoor (hardened) sites, and
the remaining were outdoor in temporary locations, including 12 microsites (open air tents) and 7 mobile
sites (e.g., Sprinter van). The outdoor CRCs were placed in open spaces such as parking lots at a shopping
center, school, park, fire departments, places of worship, community or recreation center, and fairgrounds.
All sites were ADA-compliant.




35   Three counties that confirmed to not set up a CRC in their jurisdiction due to limited PSPS impact: Tehama, Kern, and
     Sonoma. Kern County was ultimately not de-energized in this PSPS event due to changing weather conditions.

                                                                                                                             53
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 56 of 156




  Figure 21: Location of 29 Community Resource Centers Available During September 27 Event




With de-energization beginning for most affected customers overnight on Sunday, September 26, 27 of
the 29 CRC sites were open and available to the public starting at 0800 PDT on Monday, September 27.
One site in Calistoga opened at 1500 PDT on September 27 as a replacement for another site that was
ordered to close and evacuate due to the encroaching Glass Fire (Angwin). The Lake County CRC opened
at 0800 PDT on September 28 upon request of County OES after they initially declined having a CRC.
PG&E provided updates to the public and local partners on CRC locations, hours of operations and
resources available through state agency calls, press releases, website, and social media outlets
(Facebook, Twitter, Nextdoor), and in local divisions by customer account representatives.




                                                                                                    54
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 57 of 156




CRCs remained open until service had been restored in each host county, with some limited exceptions:
    •    Three CRCs closed on September 27 at 2130 PDT due to fire evacuation orders in Butte (Magalia
         and Paradise) and Napa (Calistoga) counties. They did not reopen.
    •    From the late afternoon through 2200 PDT September 28, after restoration was complete in 12
         counties, 36 26 additional CRCs (excluding those that were evacuated) were demobilized. El
         Dorado County’s Somerset CRC remained open until 2200 PDT on September 28 at the request
         of the County OES although power had been 100% restored earlier in the day. The Plumas
         County Quincy CRC closed at 2200 PDT on September 28 at the request of the County OES
         despite power not having been 100% restored, in anticipation that the power would be fully
         restored by morning.

Customer Visitation:
Overall, approximately 4,100 people visited one of PG&E’s 29 CRC sites over the course of this PSPS
event. Some customers returned to the CRCs across multiple days. Customer attendance was highest in El
Dorado County with 1,389 visitors across six CRC sites. The three mobile CRC sites in El Dorado-- Cool
Shopping Center in Cool, Buffalo Hill Center in Georgetown and El Dorado Fairgrounds in Placerville --
had 75, 282, and 400 visitors respectively. There were three indoor sites in El Dorado -- Pleasant Valley
Community Hall in Placerville, Pollock Pines Community Center in Pollock Pines, and Pioneer Park in
Somerset -- with 69, 299, and 264 visitors respectively. Of the 29 CRC locations, only one site had fewer
than 10 visitors (Sierra County’s Arthur Joe Hauck Memorial Park in Alleghany). The following pictures
illustrate PG&E’s indoor, micro, and mobile CRCs for this event:

 Figure 22 & 23: PG&E Indoor CRC in Pioneer at Mace Meadows – The Mountain Grill (Amador
                                         County)




36 Alpine, Amador, Butte, Calaveras, El Dorado, Lake, Nevada, Placer, Plumas, Shasta, Sierra, and Yuba

                                                                                                         55
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 58 of 156




    Figure 24: PG&E microsite CRC in             Figure 25: PG&E mobile CRC in Placerville at El
  Arnold at Chapel in the Pines (Calaveras           Dorado Fairgrounds (El Dorado County)
                 County)




   Figure 26: PG&E mobile CRC in Calistoga at Highlands Christian Fellowship (Napa County)




See Appendix F for further details on the CRCs mobilized during the PSPS event, including specific
locations, dates and times available, and total attendance for each location.

                                                                                                     56
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 59 of 156




Section 12 – Sectionalization

Describe how sectionalization was considered/ implemented and the extent to which it impacted the
size and scope of the de-energization event
Response:
PG&E was able to implement sectionalization during this PSPS event to reduce customer impacts. PG&E
used new and existing sectionalization devices to de-energized portions of 30 circuits (rather than entire
circuits) which enabled 34,039 customers to stay energized.




                                                                                                        57
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 60 of 156




Section 13 – Mitigations to Reduce Impact

This event was approximately 60% smaller than the estimated impact of the same weather footprint had it
occurred in 2019 with the tools and measures available to PG&E at that time. While every weather event
is different, if PG&E had used its 2019 models and process, this set of final weather conditions would
have created a scope affecting over 169,000 customers; but with new models and processes, the PSPS
scope impacts under these weather conditions affected over 100,000 fewer customers than would have
been de-energized by the same weather event occurring last year.
Meteorological Guidance: in 2020, PG&E Meteorology has improved the granularity of both its Fire
Potential Index (FPI) and the Outage Producing Wind (OPW) PSPS guidance tools. The result is that
these models can predict severe fire weather risks on more focused (smaller) areas and identify those
areas which exceed distribution risk guidance with better geographic precision.
Transmission Line Scoping: Transmission line scoping for 2020 utilizes the same updated FPI as the
distribution scoping process; however, the process uses transmission-specific thresholds for asset health
and outage likelihood. In addition, the transmission asset analysis is more granular than 2019 with assets
analyzed against guidance at the structure level. A total of 8 transmission lines were in scope for de-
energization for this event.
Transmission Line Segmentation: Transmission lines are segmented at Supervisory Control and Data
Acquisition (SCADA) enabled switches when possible if only a portion of a line is required to be de-
energized to due PSPS. Leaving segments of transmission lines energized allows PG&E to still reduce
fire risk where needed and provide service to stations fed off the non-impacted segments during the PSPS
events. PG&E has installed 36 transmission line SCADA-enabled switches in 2020 but none were
utilized during this event.
Distribution Switching: Depending on fire risk patterns, distribution switch locations and switching plans
maintain service to customers on radial lines who are not in the high-risk area, but the lines that serve
them lie within the fire risk area. Depending on event scope, we may be able to use back-tie switching to
bypass the distribution lines that pass through the de-energization area to keep customers energized from
a different set of lines. Distribution switching was used to keep 1,546 customers out of de-energization
scope.
Sectionalization: New automated distribution switches have been installed near the border of the high-risk
fire areas to reduce customer impacts when in-scope for PSPS. PG&E has installed over 600 of these
switches in 2020.
Islanding: In some cases, PG&E can leverage islanding capabilities to keep some customers islanded and
energized by generation located within the island. During this event, PG&E used generation from the
Caribou hydro powerhouses with associated transmission to keep over 4,300 customers from being
deenergized.
Temporary Generation: During this event, PG&E used its rented fleet of temporary generators to mitigate
the impacts of PSPS on its customers. Temporary generators were used to energize two temporary
microgrids that kept the lights on for shared services supporting community normalcy, four stand-alone
facilities serving public safety, and nine of the indoor community resource centers (CRCs).




                                                                                                        58
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 61 of 156




       •    Substation Temporary Generation: PG&E has prepared 62 substations to ready to interconnect
            and use temporary generation 37 to energize certain substations whose transmission sources have
            to be shut off for safety, but which could otherwise safely deliver power to customers. We could
            not use temporary generation to energize substations during this event. The weather
            configuration for this event brought four of those substations into scope, but one (Salt Springs)
            was unsafe to energize and our engineers were able to find alternate transmission solutions for the
            other three (Challenger, West Point and Shady Glen substations). PG&E is prepared to support
            customers in future PSPS events with 116 MW of temporary generation units staged and ready to
            energize at 19 substations adjacent to many of our highest fire risk areas, and another 234 MW of
            temporary generation staged at additional substations and in vendor yards for delivery.
       •    Temporary Microgrids: PG&E safely provided power to portions of two de-energized
            communities where we pre-installed equipment to safely island and energize temporary
            microgrids. The objective of temporary microgrids is to enable some community resources to
            continue serving the surrounding population during PSPS events where it is safe to do so, using
            pre-installed interconnection hubs to safely and rapidly interconnect temporary generation.
                 o    The microgrid in Sierra City (Sierra County) energized 544 customers, including a fire
                      station, local water and waste company, market, hotels and post office.
                 o    The temporary microgrid in Shingletown (Shasta County) energized 79 customers,
                      including medical facilities, local water and waste company, markets, and post office.
                 o    Two additional microgrid sites are currently ready for immediate operation and others are
                      in development.




37   Ready in this context is defined as operational within 48 hours.

                                                                                                               59
           Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 62 of 156




              Figure 27: Approximate energization area of Shingletown Temporary Microgrid




       •    Backup Power Support: In locations outside of the area energized by the Temporary Microgrid,
            PG&E used temporary generation to support a water treatment facility, a skilled nursing facility,
            and a site serving wildfire first responders. 38 These facilities did not have sufficient functioning
            backup generation to maintain critical operations during the event and reached out to PG&E
            requesting assistance. While as a general policy, PG&E does not offer temporary generation
            backup power support to individual facilities, we may make exceptions when feasible to respond
            to circumstances impacting public safety. PG&E responded to these requests in accordance with
            this policy.




38   The CAL FIRE basecamp lost power due to de-energization from the Glass Fire, not because of the PSPS event.

                                                                                                                   60
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 63 of 156




                                   Table 8: Temporary Microgrids
                             Generation
 Temporary microgrid                              Customers energized               Time energized
                              deployed
                                            79; including a medical
                                            facility, fire station, gas
Shingletown                 1 MW                                              15 hours
                                            station, market, and
                                            restaurants
Sierra City                 1 MW            544                               37 hours




                                   Table 9: Backup Power Support

                                                    Generation
 County                   Site Type                                           Reason Deployed
                                                     deployed

              Water treatment/pumping
Sierra                                              200 kW          Mitigate risk to public health/safety
              facility

El Dorado     Skilled nursing facility              100 kW          Mitigate risk to public health/safety

              Fairgrounds (hosting firefighting
Plumas                                              1 MW            Mitigate risk to emergency response
              command base)

Total Backup Power Deployed                            1.3 MW




                                                                                                            61
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 64 of 156




Section 14 – Lessons Learned from this Event

After the EOC de-activated, EOC staff conducted after-action reviews with the on-call teams who
participated in the PSPS event. Then the EOC Command and General Staff gathered for a section-wide
“hot-wash” to debrief on the event pluses and deltas, share items identified in the section-specific after-
action reviews, and identify themes and opportunities for improvement. Some of these items are
summarized below.

Cal OES Coordination
With the transition to the new web-based Cal OES State Notification Form this year, as well as recent
enhancements to PG&E’s PSPS Portal, the team identified a need for further coordination and planning
with Cal OES. This is to better align on expectations for each form submission and confirm the needs and
timing for event-specific information. Following this event, PG&E’s PSPS Portal Team met with Cal
OES to review the new portal enhancements and align on any additional data that may be needed.
PG&E’s Planning Team also met with Cal OES to review and align on the form submission process.
Following these meetings, PG&E will consider whether any additional internal training is needed. PG&E
will continue to have a Liaison Agency Representative embedded in Cal OES State Operations Center to
answer event-specific questions in real-time.

Virtual EOC Challenges
Many PG&E staff and leaders, like our customers, have been working virtually to protect ourselves and
our families from COVID-19 infection, and protect the company’s ability to perform during routine and
emergency conditions. This PSPS event was the second time that we have activated and run the
Emergency Operations Center virtually for a PSPS event, with a team of approximately 190 members
within the Emergency Operations Center working within the Incident Command Structure to
communicate and coordinate using phone, text, email and on-line meeting and document-sharing
services.
There are challenges to working virtually, and we continue to look for ways to improve our skills and
uses of the virtual meeting platforms. But at the same time, EOC members are finding some ways to
leverage the virtual activation for greater productivity and efficiency. The EOC team continues to
develop multiple virtual meeting platforms and protocols to improve our efficiency, effectiveness and
capability in handling future PSPS and other EOC activations.

Challenges of Shifting of Weather Impacts
As explained throughout this report, there were repeated shifts in weather patterns from the early days of
planning to the close of this PSPS event. These weather shifts challenge our ability to plan and execute
the event smoothly – in particular, while we can automate and speed up analytical processes such as
weather forecasting and distribution scoping, other processes such as transmission grid power flow
analyses require several hours to perform and cannot be expedited without compromising analytical
quality. We are looking for ways to improve our analytical and decision-making agility without
compromising system, employee and customer safety.




                                                                                                              62
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 65 of 156




Public Briefings were Effective
In the September 7, 2020 PSPS event and in this event, PG&E live-streamed a daily public briefing at
1800 PDT to update the public, media, public safety partners and other stakeholders about the PSPS event
status. 39 These briefings featured a weather briefing by PG&E’s Chief Meteorologist, a PSPS status
description by the EOC Incident Commander, and a representative from PG&E’s Customer Strategy EOC
Section to talk about measures being taken to support PSPS-affected customers. Each 30-minute briefing
included an opportunity for news reporters to ask questions about the PSPS event.
These briefings received thousands of views on social media. PG&E has received feedback that these
briefings were valuable and should be continued.

EOC Staff Training and Information Access
PG&E is using several new tools for the 2020 PSPS season, including the PSPS Viewer, the PSPS Portal,
and the new suite of virtual collaboration platforms. Although our PSPS performance and tool use has
been effective to date, we know that continuing training and practice are needed to raise our collective
skills and performance level and improve our effectiveness at executing each PSPS event.
PG&E is developing standardized reports and information retrieval scripts and processes, substituting
known methods and data extraction tools rather than taking the time to train every user to an equally
expert level. We are working to identify key information elements and processes that can be standardized
and scripted and will work to implement these processes to increase speed, efficiency and accuracy.
We are also working to find ways to distribute key information quickly and effectively in-event, to assure
that EOC members and ground operations personnel receive the information they need quickly and
accurately. Two examples of this challenge are collecting accurate, real-time information about the
number and status of resources supporting system restoration and coordinating estimated times of
restoration against actual restoration and customer notifications. We are looking at ways to leverage our
virtual tools to help address this challenge in-event.

PSPS Notification Considerations to Fire-Impacted Customers
During a PSPS event, PG&E seeks to avoid sending PSPS event notifications to customers whose homes
were previously destroyed by a wildfire (deemed “red-tagged”); we do not want to announce that power
will be turned off to a house that has been destroyed. This is challenging under active wildfire conditions,
because it takes time to build a comprehensive list of red-tagged customer premises and accounts. The
three data sources used to develop this list include: (1) self-reported by customers, (2) CAL FIRE and
local County OES assessments, and (3) field personnel verification. The process to screen out the red-
tagged customers from automated PSPS event notifications is currently performed manually once the
event scope has been determined. During an event, PG&E attempts to remove the red-tagged customers
from the notification list without significantly delaying notifications to the full customer group. We are
working to improve the process to remove customers with red-tagged premises from PSPS notification
lists.




39   See, for instance, the September 26, 2020 briefing archived at https://www.youtube.com/watch?v=MWeZsubSl0k.

                                                                                                                   63
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 66 of 156




Supporting Ground Operational Crew Effectiveness
While EOC staff conduct the planning, decision-making and management of a PSPS event, the front-line
workers who execute the tasks of turning off, patrolling, inspecting, repairing and restoring power are
critical to protect public safety against the threat of catastrophic wildfire. These are the men and women
who make up PG&E’s employee and contractor staff, including linemen, troublemen, qualified electrical
workers, tree-trimmers, helicopter pilots, fire experts, temporary generation installers, fuel truck drivers,
base camp food providers, substation monitors, CRC staffers, door-knockers, and more. These ground
staff performed well in this PSPS event, despite the field hazards and dangers of smoke, heat, high winds,
live wires, and potential COVID exposure.
PG&E’s EOC team is working to improve visibility into field operations activities, resource allocations
and conditions during the inspection, repair and restoration process, to manage the restoration process in a
way that protects the safety and effectiveness of our colleagues on the front lines and supports efficient,
timely customer service restoration wherever it is safe to do so.




                                                                                                           64
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 67 of 156




Section 15 – Proposed Updates to ESRB-8

PG&E continues to work through the implementation of the de-energization guidelines and appreciates
that there may be continued opportunity to refine certain aspects of the guidelines. PG&E will continue to
actively engage with stakeholders and the open proceedings at the Commission and has no further
suggestions at this time.




                                                                                                       65
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 68 of 156




Section 16 – Other Relevant Information to Help the Commission Assessment of Reasonableness of
Decision to De-Energize

Maximum Wind Gusts
The table below shows the maximum wind gust recorded by weather stations in the general timeframe
and vicinity of the PSPS location.

                      Table 10: Maximum wind gusts from September 27 – 29
                     Maximum
      County         Wind Gust         Station ID                    Station Name
                      (mph)
     Sonoma             73               PG132                     Mt St Helena West
      Butte             72               JBGC1                          Jarbo Gap
   Contra Costa         66                SJS02                        Mt. Diablo
       Napa             63               PG162                          Mt. Hood
    Del Norte           62               SHXC1                          Ship Mtn
       Inyo             53               FMRC1                          Five Mile
      Trinity           52               PG580                 Lower Mad River Overlook
       Lake             52               KNXC1                      Knoxville Creek
       Yolo             51               PG490                    Bald Mountain Tower
     Tehama             50               EPKC1                         Eagle Peak
     Tehama             51               CBXC1                      Colby Mountain
    Humboldt            50               PTEC1                     Cooskie Mountain
   Los Angeles          49                SE678                SCE Magic Mtn Truck Trail
      Placer            48               HLLC1                          Hell Hole
      Placer            50               DUCC1                           Duncan
     Alameda            48               RSPC1                         Rose Peak
   Santa Clara          46               PG608                       Mt. Umunhum
      Shasta            46               KRDD                  Redding Municipal Airport
      Colusa            45               PG598                     Rail Canyon Road
     Plumas             45               CHAC1                          Cashman
     Plumas             49               CWSC1                   IRAWS 38 (Eagle L.O)
     Siskiyou           45               ATRC1                         Slater Butte
     Siskiyou           16               SMBC1                         Somes Bar
    Mendocino           44               MASC1                      Mendocino Pass
      Yuba              43               PG904                     Lake Francis Road
    El Dorado           43               PG481                  American River Overlook
       San
                         43              SE125                     SCE Devil Canyon
    Bernardino
       Kern              40              SE232                       SCE Over Pass
       Kern              44              PG654                     Digier Road Hilltop
     Amador              39              PG178                     Tiger Penstock Top

                                                                                                    66
 Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 69 of 156




                Maximum
  County        Wind Gust   Station ID            Station Name
                 (mph)
   Amador          78        KWSIX               Chair 6 Ridge
 Santa Cruz        39        PG370            Ormsey Cutoff Trail
    Glenn          38        PG563                 Eagle Peak
    Marin          38        PG123               Bigrock Ridge
    Mono           60        MTH03             Mammoth Summit
  Riverside        36        SE376             SCE Apple Canyon
    Solano         36        KVCB           Vacaville Nut Tree Airport
   San Luis
                   35        PG677                Black Mountain
    Obispo
    Lassen         34        LDRC1                  Ladder Butte
    Nevada         34        PG630                  Troost Trail
 Sacramento        33        KSMF         Sacramento International Airport
   Ventura         33         SE082             SCE Anlauf Canyon
  San Mateo        32        PG605                  Sears Ranch
    Fresno         33        PG684               San Joaquin Ridge
    Modoc          31        JPRC1                 Juniper Creek
    Sierra         29        PG387                    Road 108
    Sierra         51        SLEC1                   Saddleback
    Tulare         28         SE391               SCE Kern River
    Tulare         33        BPKC1                   Bear Peak
  San Diego        28         KCZZ                     Campo
 San Benito        27        SRTC1                   Santa Rita
Santa Barbara      33        TSQC1                   Tepusquet
  Monterey         27        PG527                Parkfield Tower
 San Joaquin       26        KTCY             Tracy Municipal Airport
    Kings          26        KTLC1                Kettleman Hills
  Tuolumne         25        MOUC1                Mount Elizabeth
  Calaveras        24        PG156                Ponderosa Way
  Calaveras        46        STUC1                     Cottage
  Mariposa         24        SEWC1               Smith Peak (STF)
  Stanislaus       23        DBLC1                 Diablo Grande
    Orange         20        FRCC1                Fremont Canyon
    Alpine         18        MKEC1                  Markleeville
    Alpine         29        011PG                 Bloods Ridge
San Francisco      18        FTPC1                 San Francisco
    Madera         16        PG887               Red Top Lookout
   Imperial        17        TNSC1            Mountain Springs Grade
    Merced         15         TS623              San Luis Portable

                                                                             67
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 70 of 156




                             APPENDIX




                                                                       68
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 71 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                            APPENDIX A
    SECTION 3 & 4 – TIME, PLACE, DURATION AND AFFECTED CUSTOMERS




                                                                       App-1
                   Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 72 of 156



         Appendix A: TIME, PLACE, DURATION AND AFFECTED CUSTOMERS
             Circuits labeled as “non-HFTD” are located outside of the CPUC High Fire-Threat District (HFTD). These
           circuits or portions of circuits are impacted for one of two reasons: (1) indirect impacts from transmission lines
         being de-energized or (2) the non-HFTD portion of the circuit are conductive to the HFTD at some point in the path
                                                               to service.

                    Circuits with an asterisk (*) were sectionalized during the event to further reduce customer impact.

                             Select customers were de-energized on September 26th due to microgrid switching.

         Table A-1. Distribution Circuits De-Energized During the September 27-29 PSPS Event

                                                                                                                    Commercial /    Medical
                       De-Energization   Restoration Date                     HFTD          Total     Residential                                 Other
    Circuit Name                                            Key Communities                                          Industrial     Baseline
                       Date and Time        and Time                          Tier(s)     Customers   Customers                                 Customers
                                                                                                                     Customers     Customers
                                                                              Partially
                                                              ALLEGHANY,
                                                                              Outside
                                                             DOWNIEVILLE,
ALLEGHANY 1101*        9/27/2020 15:41    9/29/2020 8:11                      HFTD,         1032         869            161           24            2
                                                            GOODYEARS BAR,
                                                                               Tier 3,
                                                              SIERRA CITY
                                                                               Tier 2
                                                             ALLEGHANY,
ALLEGHANY 1102         9/27/2020 18:17   9/28/2020 14:37                       Tier 3        153         129            24             3            0
                                                             WASHINGTON
                                                                              Partially
                                                             ANGELS CAMP,
ALPINE 1101            9/27/2020 18:22   9/28/2020 14:03                      Outside        278         273             5             2            0
                                                             BEAR VALLEY
                                                                               HFTD
                                                                              Partially
                                                             ANGELS CAMP,
ALPINE 1102            9/27/2020 18:22   9/28/2020 14:02                      Outside        303         269            34             4            0
                                                             BEAR VALLEY
                                                                               HFTD
                                                                              Partially
                                                                              Outside
                                                               CAMINO,
APPLE HILL 1103        9/27/2020 18:08   9/28/2020 14:14                      HFTD,         1261         1095           160           74            6
                                                             PLACERVILLE
                                                                               Tier 3,
                                                                               Tier 2
                                                                              Partially
                                                               CAMINO,        Outside
APPLE HILL 1104        9/27/2020 18:07   9/28/2020 16:05     PLACERVILLE,     HFTD,         2425         2244           171           163           10
                                                            POLLOCK PINES      Tier 3,
                                                                               Tier 2
                                                             CAMINO, FAIR
                                                            PLAY, GRIZZLY     Partially
                                                             FLATS, MOUNT     Outside
APPLE HILL 2102        9/27/2020 18:06    9/29/2020 9:52        AUKUM,        HFTD,         4386         4009           336           301           41
                                                             PLACERVILLE,      Tier 3,
                                                            POLLOCK PINES,     Tier 2
                                                               SOMERSET
                                                                BANGOR,
                                                            BROWNSVILLE,      Tier 3,
BANGOR 1101*           9/27/2020 18:18   9/28/2020 16:34                                     391         345            40            30            6
                                                               OROVILLE,      Tier 2
                                                               RACKERBY
                                                                              Tier 3,
BIG BEND 1101           9/27/2020 4:05   9/28/2020 17:02       OROVILLE                      237         211            24            17            2
                                                                              Tier 2
BIG BEND 1102*          9/27/2020 4:06   9/28/2020 13:30     BERRY CREEK       Tier 3         9           3              4             0            2
                                                             ALTA, COLFAX,
BONNIE NOOK 1101       9/27/2020 18:18   9/28/2020 13:09      DUTCH FLAT,      Tier 3        490         417            65            20            8
                                                               GOLD RUN
BONNIE NOOK 1102       9/27/2020 18:19   9/28/2020 14:19         ALTA          Tier 3        522         454            61            21            7
                                                            GRASS VALLEY,
BRUNSWICK 1102*        9/27/2020 18:46   9/28/2020 13:38                       Tier 3        328         320             8            25            0
                                                             NEVADA CITY
BRUNSWICK 1105*        9/27/2020 18:26   9/28/2020 17:15     NEVADA CITY       Tier 3       1831         1748           79            99            4
                                                                              Tier 3,
BRUNSWICK 1106*        9/27/2020 18:39   9/28/2020 13:52    GRASS VALLEY                     360         346            14            18            0
                                                                              Tier 2
                                                               OROVILLE,      Tier 3,
BUCKS CREEK 1101        9/27/2020 4:32   9/28/2020 14:41                                      4           0              3             0            1
                                                                STORRIE       Tier 2
                                                            BELDEN, QUINCY,   Tier 3,
BUCKS CREEK 1102        9/27/2020 4:32   9/28/2020 13:17                                     120          52            66             3            2
                                                                STORRIE       Tier 2
                                                                              Tier 3,
BUCKS CREEK 1103        9/27/2020 4:32   9/28/2020 19:18        QUINCY                       314         263            51             5            0
                                                                              Tier 2
                                                                              Tier 3,
BUTTE 1105*             9/27/2020 4:20   9/28/2020 14:20        CHICO                        271         249            20            19            2
                                                                              Tier 2




                                                                                                                                            App-2
                   Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 73 of 156



                                                                                                                          Commercial /    Medical
                         De-Energization     Restoration Date                       HFTD          Total     Residential                                 Other
    Circuit Name                                                 Key Communities                                           Industrial     Baseline
                         Date and Time          and Time                            Tier(s)     Customers   Customers                                 Customers
                                                                                                                           Customers     Customers
                                                                                    Partially
                                                                                    Outside
CALISTOGA 1101*           9/27/2020 19:00    9/28/2020 14:30       CALISTOGA        HFTD,          173         128            32             4            13
                                                                                     Tier 3,
                                                                                     Tier 2
                                                                   CHALLENGE,
                                                                CLIPPER MILLS, LA
                                                                                    Tier 3,
CHALLENGE 1101            9/27/2020 18:19    9/28/2020 16:47         PORTE,                        666         575            91            40            0
                                                                                    Tier 2
                                                                  STRAWBERRY
                                                                     VALLEY
                                                                 BROWNSVILLE,
                                                                   CHALLENGE,       Tier 3,
CHALLENGE 1102            9/27/2020 18:27    9/28/2020 15:07                                       826         723            101           74            2
                                                                    DOBBINS,        Tier 2
                                                                  FORBESTOWN
                                                                                    Partially
                                                                                    Outside
                                                                   OROVILLE,
CLARK ROAD 1102*          9/27/2020 4:05     9/28/2020 17:02                        HFTD,          663         585            65            68            13
                                                                   PARADISE
                                                                                     Tier 3,
                                                                                     Tier 2
                                                                CAMPTONVILLE,
COLUMBIA HILL
                          9/27/2020 18:29    9/28/2020 16:03     NEVADA CITY,        Tier 3        229         201            26            21            2
1101*
                                                                NORTH SAN JUAN
                                                                                     Tier 3,
DESCHUTES 1101*           9/27/2020 18:49     9/28/2020 9:28     SHINGLETOWN                       170         167             3            15            0
                                                                                     Tier 2
                                                                                    Partially
                                                                                    Outside
DIAMOND SPRINGS
                          9/27/2020 18:15    9/28/2020 11:53      PLACERVILLE       HFTD,          677         635            41            62            1
1103*
                                                                                     Tier 3,
                                                                                     Tier 2
                                                                                    Partially
                                                                    DIAMOND
DIAMOND SPRINGS                                                                     Outside
                          9/27/2020 18:06    9/28/2020 16:00        SPRINGS,                      1678         1601           75            147           2
1106*                                                                               HFTD,
                                                                  PLACERVILLE
                                                                                     Tier 2
                                                                                    Partially
                                                                 CAMPTONVILLE,      Outside
DOBBINS 1101*             9/27/2020 18:19    9/28/2020 12:39    DOBBINS, OREGON     HFTD,          478         417            49            42            12
                                                                    HOUSE            Tier 3,
                                                                                     Tier 2
                                                                 ALTA, BAXTER,
DRUM 1101*                9/27/2020 18:50    9/28/2020 14:52                         Tier 3        191         143            42             5            6
                                                                 EMIGRANT GAP
                                                                GRIZZLY FLATS,
                                                                KYBURZ, PACIFIC     Partially
                                                                    HOUSE,          Outside
EL DORADO PH 2101        9/26/2020 10:17 1   9/28/2020 17:57     PLACERVILLE,       HFTD,         4570         4300           262           308           8
                                                                POLLOCK PINES,       Tier 3,
                                                                SOMERSET, TWIN       Tier 2
                                                                   BRIDGES
EL DORADO PH 2102         9/27/2020 18:03    9/28/2020 15:57     POLLOCK PINES       Tier 3       1587         1450           136           107           1
                                                                                     Tier 3,
FORESTHILL 1101           9/27/2020 18:17    9/28/2020 14:25      FORESTHILL                      2219         2072           146           180           1
                                                                                     Tier 2
                                                                                     Tier 3,
FORESTHILL 1102           9/27/2020 18:17    9/28/2020 13:20      FORESTHILL                       421         399            22            21            0
                                                                                     Tier 2
                                                                                    Partially
                                                                   CALISTOGA,       Outside
MIDDLETOWN 1101*          9/27/2020 19:11    9/28/2020 12:27                                       113          90            22             3            1
                                                                  MIDDLETOWN        HFTD,
                                                                                     Tier 3
MOUNTAIN                                                         GEORGETOWN,         Tier 3,
                          9/27/2020 18:10    9/28/2020 10:34                                       282         269            12            15            1
QUARRIES 2101*                                                    GREENWOOD          Tier 2
NOTRE DAME 1103*          9/27/2020 4:20     9/28/2020 12:07       PARADISE          Tier 2         6           0              6             0            0
                                                                                    Partially
                                                                                    Outside
                                                                 CHICO, FOREST
NOTRE DAME 1104*          9/27/2020 4:31     9/28/2020 13:46                        HFTD,          221         190            28            12            3
                                                                    RANCH
                                                                                     Tier 3,
                                                                                     Tier 2
ORO FINO 1101             9/27/2020 4:45     9/28/2020 15:15        MAGALIA          Tier 3       2287         2211           70            267           6
                                                                BUTTE MEADOWS,
                                                                 FOREST RANCH,      Tier 3,
ORO FINO 1102             9/27/2020 4:35     9/28/2020 18:56                                      1971         1836           123           163           12
                                                                    MAGALIA,        Tier 2
                                                                  STIRLING CITY


         1
             Portions of El Dorado PH 2101 were de-energized on 9/26/2020 due to microgrid switching.




                                                                                                                                                  App-3
                   Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 74 of 156



                                                                                                                     Commercial /    Medical
                      De-Energization    Restoration Date                      HFTD          Total     Residential                                 Other
    Circuit Name                                             Key Communities                                          Industrial     Baseline
                      Date and Time         and Time                           Tier(s)     Customers   Customers                                 Customers
                                                                                                                      Customers     Customers
                                                                               Partially
                                                                               Outside
PARADISE 1103*         9/27/2020 4:02    9/28/2020 13:59       PARADISE                       242         230            12            23            0
                                                                               HFTD,
                                                                                Tier 3
                                                                               Partially
                                                                               Outside
PARADISE 1104          9/27/2020 4:02    9/28/2020 15:50       PARADISE        HFTD,         1782         1599           181           130           2
                                                                                Tier 3,
                                                                                Tier 2
                                                                               Partially
                                                               MAGALIA,        Outside
PARADISE 1105          9/27/2020 4:14    9/28/2020 14:41                                     1368         1136           231           97            1
                                                               PARADISE        HFTD,
                                                                                Tier 3
                                                                               Partially
                                                                               Outside
PARADISE 1106          9/27/2020 4:12    9/28/2020 13:18       PARADISE                       415         357            57            22            1
                                                                               HFTD,
                                                                                Tier 3
                                                            CAMPTONVILLE,
PIKE CITY 1101         9/27/2020 18:33   9/28/2020 15:21                        Tier 3        384         339            43            27            2
                                                            NORTH SAN JUAN
PIKE CITY 1102         9/27/2020 18:31   9/28/2020 14:08     CAMPTONVILLE       Tier 3        24           15             8             1            1
                                                            FIDDLETOWN, PINE
                                                             GROVE, PIONEER,   Tier 3,
PINE GROVE 1102*       9/27/2020 18:27   9/28/2020 13:17                                     3626         3324           289           281           13
                                                              SUTTER CREEK,    Tier 2
                                                                VOLCANO
                                                                               Partially
                                                                               Outside
PLACERVILLE 1109*      9/27/2020 18:12   9/28/2020 11:36      PLACERVILLE                     506         409            95            30            2
                                                                               HFTD,
                                                                                Tier 2
                                                                               Partially
                                                                               Outside
PLACERVILLE 1110*      9/27/2020 18:07   9/28/2020 11:57      PLACERVILLE      HFTD,         1197         1136           60            87            1
                                                                                Tier 3,
                                                                                Tier 2
                                                                               Partially
                                                                               Outside
PLACERVILLE 1111*      9/27/2020 18:24   9/28/2020 11:24      PLACERVILLE                    1021         779            232           59            10
                                                                               HFTD,
                                                                                Tier 2
                                                                               Partially
                                                                               Outside
PLACERVILLE 1112       9/27/2020 18:22   9/28/2020 14:20      PLACERVILLE                    2059         1689           367           121           3
                                                                               HFTD,
                                                                                Tier 2
                                                            COLOMA, GARDEN
                                                                VALLEY,
                                                                               Tier 3,
PLACERVILLE 2106       9/27/2020 18:07   9/28/2020 16:15     GEORGETOWN,                     5155         4766           363           346           26
                                                                               Tier 2
                                                                KELSEY,
                                                              PLACERVILLE
                                                                               Partially
                                                             ARNOLD, BEAR      Outside
SALT SPRINGS 2101      9/27/2020 18:22   9/28/2020 14:08                                      384         330            53             5            1
                                                            VALLEY, PIONEER    HFTD,
                                                                                Tier 2
                                                             ARNOLD, CAMP
                                                                               Tier 3,
SALT SPRINGS 2102      9/27/2020 18:22   9/28/2020 13:06       CONNELL,                      1976         1899           74            32            3
                                                                               Tier 2
                                                              DORRINGTON
                                                                                Tier 3,
SHADY GLEN 1102*       9/27/2020 18:51   9/28/2020 13:02        COLFAX                        463         420            41            40            2
                                                                                Tier 2
                                                                                Tier 3,
SPAULDING 1101*        9/27/2020 18:25   9/28/2020 14:21     EMIGRANT GAP                     70           47            21             3            2
                                                                                Tier 2
SYCAMORE CREEK                                                                  Tier 3,
                       9/27/2020 4:12    9/28/2020 16:54    CHICO, COHASSET                   456         418            35            28            3
1111*                                                                           Tier 2
                                                                                Tier 3,
TIGER CREEK 0201       9/27/2020 18:50   9/28/2020 12:06        PIONEER                       14           3             11             0            0
                                                                                Tier 2
                                                             MANTON, MILL      Partially
                                                            CREEK, MINERAL,    Outside
VOLTA 1101             9/27/2020 18:50   9/28/2020 16:03     PAYNES CREEK,     HFTD,         1291         1082           175           63            34
                                                               RED BLUFF,       Tier 3,
                                                             SHINGLETOWN        Tier 2
                                                                               Partially
                                                                               Outside
VOLTA 1102             9/27/2020 19:02   9/28/2020 12:45     SHINGLETOWN       HFTD,         2573         2388           174           225           11
                                                                                Tier 3,
                                                                                Tier 2
                                                               PIONEER,         Tier 3,
WEST POINT 1101        9/27/2020 18:27   9/28/2020 13:07                                     1755         1692           59            123           4
                                                               VOLCANO          Tier 2




                                                                                                                                             App-4
                   Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 75 of 156



                                                                                                                     Commercial /    Medical
                      De-Energization    Restoration Date                      HFTD          Total     Residential                                  Other
    Circuit Name                                             Key Communities                                          Industrial     Baseline
                      Date and Time         and Time                           Tier(s)     Customers   Customers                                  Customers
                                                                                                                      Customers     Customers
                                                               GLENCOE,
                                                            MOKELUMNE HILL,    Partially
                                                               MOUNTAIN        Outside
WEST POINT 1102        9/27/2020 18:29   9/28/2020 15:50      RANCH, RAIL      HFTD,         2815         2563           226           182            26
                                                            ROAD FLAT, WEST     Tier 3,
                                                                 POINT,         Tier 2
                                                              WILSEYVILLE
WYANDOTTE 1103*        9/27/2020 18:31   9/28/2020 12:51       OROVILLE         Tier 2        27           19             8             1              0
                                                                               Partially
WYANDOTTE 1105*        9/27/2020 4:06    9/28/2020 13:30       OROVILLE        Outside         1           1              0             1              0
                                                                                HFTD
                                                                                Tier 3,
WYANDOTTE 1107*        9/27/2020 18:32   9/28/2020 17:19       OROVILLE                       547         524            19            49              4
                                                                                Tier 2
                                                                                Total       64,294       58,453         5,512         4,358           329




                                                                                                                                              App-5
                   Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 76 of 156



         Table A-2. Transmission Circuits De-Energized During the September 26-29 PSPS Event

                                                                                                                   Commercial /    Medical
                      De-Energization   Restoration Date                       HFTD        Total     Residential                                Other
    Circuit Name                                           Key Communities                                          Industrial     Baseline
                      Date and Time        and Time                            Tier(s)   Customers   Customers                                Customers
                                                                                                                    Customers     Customers
BUTT VALLEY-
                        9/27/20 7:37     9/28/20 14:22     Transmission Line   Tier 2
CARIBOU 115KV LINE
                                                                               Tier 3,
CARIBOU-TABLE MTN       9/27/20 4:05     9/28/20 14:12     Transmission Line
                                                                               Tier 2
FRENCH MEADOWS-
MIDDLE FORK 60KV        9/26/20 8:03     9/28/20 19:23     Transmission Line   Tier 3
LINE
KM GREEN 115KV TAP     9/27/20 18:25     9/28/20 12:54     Transmission Line   Tier 2        1                                                    1

MIDDLE FORK #1          9/26/20 6:51     9/28/20 19:20     Transmission Line   Tier 3
MIDDLE FORK-GOLD                                                               Tier 3,
                       9/27/20 18:54     9/28/20 18:41     Transmission Line
HILL                                                                           Tier 2
PARADISE-TABLE                                                                 Tier 3,
                        9/27/20 4:10     9/28/20 13:34     Transmission Line
MTN                                                                            Tier 2
SALT SPRINGS-TIGER                                                             Tier 3,
                       9/27/20 18:25     9/28/20 12:54     Transmission Line
CREEK 115KV LINE                                                               Tier 3
OTHER                      N/A                N/A                N/A                         2                          2

                                                                               Total         3                          2                         1




                                                                                                                                          App-6
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 77 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                            APPENDIX B
              SECTION 6 – CUSTOMER NOTIFICATIONS SENT




                                                                       App-7
                    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 78 of 156



          Appendix B: CUSTOMER NOTIFICATIONS SENT
                  The following details the automated notifications sent to Public Safety Partners, Critical Facilities, Medical
              Baseline Customers and all other populations during the PSPS event. Notifications sent to customers of record are
               based on unique Service Point IDs (SPIDs) for each notification campaign. Notification counts provided for local
                 community representatives (also referred to as Public Safety Partner agency notifications) are based on total
                                                   contacts that received these notifications.

          Table B-1. Summary of Customer Notifications
                                                                                                                      Total      Medical Baseline    Total
                                                                                              Notification          Customer       Customer       Customers
Notification Type     Notification Campaign Name                                              Launch Date and      Notifications  Notifications   Successfully
                                                                                              Time                Attempted (by Attempted (by     Notified (by
                                                                                                                     SPID) 2*        SPID)          SPID)*
Advanced 72-48
                      County OES Live Calls                                                      9/23/20 8:55           21              0               21
Hour Watch
Advanced 72-48
                      01 SWN_Initial_20200923_2107                                               9/23/20 21:07          193             0               193
Hour Watch
Advanced 72-48
                      PSAP Live Calls                                                            9/23/20 21:20          69              0               69
Hour Watch
Advanced 72-48
                      PSPS_09262020_A02_Advance_Safety_Partner_All_TP1_09262020                  9/24/20 10:57          116             0               116
Hour Watch
Advanced 72-48
                      PSPS_09262020_A02_Advance_Safety_Partner_All_TP2_09262020                  9/24/20 11:01          87              0               87
Hour Watch
72-48 Hour Watch      02 SWN_Watch_20200924_1835                                                 9/24/20 18:35          55              0               55
                      PSPS_09262020_B01_Watch_Medical_Baseline_and_Critical_Custome
72-48 Hour Watch                                                                                 9/24/20 19:44         1,029           954             1,014
                      r_TP1_09262020
                      PSPS_09262020_B01_Watch_Medical_Baseline_and_Critical_Custome
72-48 Hour Watch                                                                                 9/24/20 19:53         1,002           957              982
                      r_TP2_09262020
                      PSPS_09262020_B01_Watch_Non_Medical_Baseline_and_Non_Critica
72-48 Hour Watch                                                                                 9/24/20 19:57        10,105            0              9,573
                      l_Customer_TP1_09262020
                      PSPS_09262020_B01_Watch_Non_Medical_Baseline_and_Non_Critica
72-48 Hour Watch                                                                                 9/24/20 20:03         8,425            0              7,742
                      l_Customer_TP2_09262020
Advanced 72-48
                      Tribal Live Calls                                                          9/24/20 21:06          26              0               26
Hour Watch
Door Knock            N/A                                                                        9/25/20 12:59         1,123          1,123             879
48-24 Hour Watch      03 SWN_Watch_20200925_1556                                                 9/25/20 15:56          108             0               108
48-24 Hour Watch      04 SWN_Watch_20200925_1618                                                 9/25/20 16:18          112             0               112
48-24 Hour Watch      05 SWN_Watch_20200925_1631                                                 9/25/20 16:31          10              0               10
                      PSPS_09262020_B02_Watch_Medical_Baseline_and_Critical_Custome
48-24 Hour Watch                                                                                 9/25/20 16:39         7,506          6,770            7,422
                      r_TP1-TP8_20201025-1349
                      PSPS_09262020_B02_Watch_Non_Medical_Baseline_and_Non_Critica
48-24 Hour Watch                                                                                 9/25/20 16:45        89,219            0              83,933
                      l_Customer_TP1-TP8_20201025-1456
48-24 Hour Watch      BroadNet_PSPS_09262020_Transmission_ID566390                               9/25/20 21:43           9              0                9
                      PSPS_09262020_D02_Watch_Medical_Baseline_and_Critical_Custome
< 24 Hour Watch                                                                                  9/26/20 10:09         6,783          6,100            6,695
                      r_TP1-TP8_20201026-0846
                      PSPS_09262020_D02_Watch_Non_Medical_Baseline_and_Non_Critica
< 24 Hour Watch                                                                                  9/26/20 10:12        81,763            0              76,543
                      l_Customer_TP1-TP8_20201026-0847
                      BroadNet_PSPS_09262020_PSPS_Tx_D02_Broadnet_09_26_20_ID566
< 24 Hour Watch                                                                                  9/26/20 10:55          11              0               11
                      406
Imminent / Warning 06 SWN_Warning_20200926_1658                                                  9/26/20 16:58          35              0               35
Imminent / Warning 07 SWN_Warning_20200926_1722                                                  9/26/20 17:22          45              0               45
                   PSPS_09262020_D03_Warning_Medical_Baseline_and_Critical_Custo
Imminent / Warning                                                                               9/26/20 17:54         1,371          1,246            1,346
                   mer_TP1_TP6_20201026-1359
                   PSPS_09262020_D03_Warning_Non_Medical_Baseline_and_Non_Criti
Imminent / Warning                                                                               9/26/20 17:55        13,738            0              12,755
                   cal_Customer_TP1_TP6_20201026-1359



          2
              * Local Community Representatives / Public Safety Partner Agency Notification counts unique contacts (not SPIDs)




                                                                                                                                               App-8
                    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 79 of 156



                                                                                                          Total      Medical Baseline    Total
                                                                                    Notification        Customer       Customer       Customers
Notification Type    Notification Campaign Name                                     Launch Date and    Notifications  Notifications   Successfully
                                                                                    Time              Attempted (by Attempted (by     Notified (by
                                                                                                         SPID) 2*        SPID)          SPID)*
Cancel               PSPS_09262020_D03_Cancel_All_TP1_TP6_20201026-1532 (1)           9/26/20 17:57        499             25               457
< 24 Hour Watch      08 SWN_Watch_20200926_1829                                       9/26/20 18:29        134              0               134
                   PSPS_09262020_Warning_Medical_Baseline_and_Critical_Customer_T
Imminent / Warning                                                                     9/27/20 9:10        341             299              325
                   P6_09262020
                   PSPS_09262020_Warning_Non_Medical_Baseline_and_Non_Critical_
Imminent / Warning                                                                     9/27/20 9:12       3,683             0              3,237
                   Customer_TP6_09262020
Imminent / Warning 09 SWN_Warning_20200927_1130                                       9/27/20 11:30        41               0               41
Imminent / Warning 10 SWN_Warning_20200927_1150                                       9/27/20 11:50        163              0               163
                   PSPS_09262020_Warning_Medical_Baseline_and_Critical_Customer_T
Imminent / Warning                                                                    9/27/20 12:18       3,675           3,215            3,623
                   P2-TP3-TP4-TP5-TP7-TP8_09262020
                   PSPS_09262020_Warning_Non_Medical_Baseline_and_Non_Critical_
Imminent / Warning                                                                    9/27/20 12:24      46,843             0              43,892
                   Customer_TP2_TP3_TP4_TP5_TP7_TP8_09262020
Cancellation         PSPS_09262020_D04_Cancel_All_TP2-TP5_TP7-TP8_09272020-1041       9/27/20 12:50      31,663           2,362            29,717
                   PSPS_09262020_D06_Warning_Medical_Baseline_and_Critical_Custo
Imminent / Warning                                                                    9/27/20 15:02         1               1                1
                   mer_TP7_20201026-1359 (1)
                   PSPS_09262020_D06_Warning_Non_Medical_Baseline_and_Non_Criti
Imminent / Warning                                                                    9/27/20 15:02        24               0               23
                   cal_Customer_TP7_20201026-1359 (1)
Live Agent Calls     N/A                                                              9/27/20 17:20        97              97               59
                   PSPS_09262020_Warning_Non_Medical_Baseline_and_Non_Critical_
Imminent / Warning                                                                    9/27/20 17:52        15               0               15
                   Customer_TP8_09262020
Weather All Clear    11 SWN_All Clear_20200928_1253                                   9/28/20 12:53        203              0               203
Cancellation         PSPS_09262020_Cancel_All_TP8_09262020                            9/28/20 13:10        15               0               14
Microgrid Update     ADHOC-09282020-02                                                9/28/20 13:18        543             11               510
ETOR                 Multiple                                                         9/28/20 14:01      34,198           2,319            31,764
Restoration          Multiple                                                         9/28/20 14:08      58,092           3,813            52,125
Restoration          12 SWN_Restoration_20200929_1122                                 9/29/20 11:22        204              0               204




                                                                                                                                   App-9
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 80 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                            APPENDIX C
             SECTION 6 – CUSTOMER NOTIFICATION SCRIPTS




                                                                   App-10
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 81 of 156




September 27-29, 2020
Public Safety Power Shutoff
Event Notifications




                                                                       App-11
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 82 of 156


    TABLE OF CONTENTS
                                                                                                                                                                        PAGE


City, County, Tribal and Community Choice Aggregator Notifications App-13
     1.    Advanced Notification
     2.    PSPS Watch
     3.    PSPS Warning
     4.    Cancellation Notification
     5.    Weather All Clear
     6.    Power Restoration

General Customer, Critical Facility and Medical Baseline Notifications App-20
     1.     Advanced Notification*
     2.     PSPS Watch**
     3.     PSPS Warning**
     4.     Cancellation Notification
     5.     PSPS Update
     6.     Weather All Clear
     7.     Power Restoration
     8.     Microgrid Update Notification***
     9.     Wildfire Impact Notification***

Transmission and Wholesale Customer Notifications                                                                                                                   App-66
    1.    PSPS Watch 2-Days (Automated Notification Approx. Two Days Before Event)
    2.    PSPS Watch 1-Day (Automated Notification Approx. One Day Before Event)
    3.    PSPS Warning (Live Call - No Script)
    4.    Fault Duty Event (Live Call - As Needed)
    5.    Power Restoration (Live Call)

* Public Safety Partners, communication providers, water agencies, emergency hospitals and publicly-owned utilities
  receive this advanced notification.
** Medical Baseline Program Participants receive unique PSPS Watch and PSPS Warning notifications, but all other
   notifications align with all other customers.
*** As-needed only.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                               App-12
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 83 of 156




City, County, Tribal and Community
Choice Aggregator (CCA)
Notifications
 PG&E will make every attempt to provide notice to cities, counties, tribes, CCAs, first responders
 and other agencies in advance of notifying customers through:
 • Calls

 • Text Messages
 • Emails

 These notifications are sent based on potential PSPS impacts to PG&E electric service within
 an agencies jurisdiction and are not tied to a specific PG&E account. Agencies will also receive
 notifications specific to their accounts if their service may be interrupted during a PSPS event.

 The following outlines the various notifications PG&E will send prior to, during and after a PSPS event:


                1                                 2                                  3                                   4                                5         6
        Advanced                              PSPS                              PSPS                         Cancellation                           Weather       Power
       Notification                           Watch                            Warning                       Notification                           All Clear   Restoration




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-13
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 84 of 156



    City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff outage alert. On [DATE], power may
be shut off in portions of your jurisdiction for safety. Due to current weather forecasts, your area is under
a Watch for a P S P S. Shut off for this event is estimated to begin between [TIME] on [DATE] and [TIME] on
[DATE]. Restoration is estimated to be complete on [DATE] by [TIME]. Actual shutoff and restoration times
may change depending on weather or equipment conditions. Maps and event information by agency are
available at [URL] and [URL]. These links are for public safety partner use only. Please do not share event
information before it is publicly available. We will continue to provide updates, this will include a Warning
alert if we have determined it is necessary to turn off power.



TEXT
PSPS Outage Alert. We may turn off power for safety between [TIME] [DATE] and [TIME] [DATE] and
complete restoration by [TIME] [DATE]. Weather can affect these times. Event info by agency available
at [URL] and [URL]. These links are for public safety partner use only. Please do not share event
information before it is publicly available.


EMAIL
SUBJECT: PG&E PSPS Outage Alert: Power shutoffs may be required for safety in your area
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power
Shutoff (PSPS). Below is the estimated shutoff and restoration for this event:
•     ESTIMATED EVENT SHUTOFF: Starting between [TIME] on [DATE] and [TIME] on [DATE]. We expect
      weather to improve beginning at [TIME] on [DATE]. After severe weather has passed, we will inspect
      equipment before restoring power.
•     ESTIMATED RESTORATION: [DATE] by [TIME].
Actual shutoff and restoration times may change depending on weather and equipment conditions.
Maps and event information by agency can be found at [URL] and [URL]. These links are for public safety
partner use only. Please do not share event information before it is publicly available.
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-14
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 85 of 156



    City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff outage alert. On [DATE], power
may be shut off in portions of your jurisdiction for safety. Due to current weather forecasts, your area is
under a Watch for a Public Safety Power Shutoff. Shut off for this event is estimated to begin between
[TIME] on [DATE] and [TIME] on [DATE]. Restoration is estimated to be complete on [DATE] by [TIME].
Actual shutoff and restoration times may change depending on weather or equipment conditions. Maps
and event information by agency are available at [URL] and [URL]. These links are for public safety
partner use only. Please do not share event information before it is publicly available. We will continue to
provide updates, this will include a Warning alert if we have determined it is necessary to turn off power.



TEXT
PSPS Outage Alert. We may turn off power for safety between [TIME] [DATE] and [TIME] [DATE] and
complete restoration by [TIME] [DATE]. Weather can affect these times. Event info by agency available
at [URL] and [URL]. These links are for public safety partner use only. Please do not share event
information before it is publicly available.


EMAIL
SUBJECT: PG&E PSPS Outage Alert: On [DATE] power shutoffs may be required for safety in your area
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power
Shutoff (PSPS). Below is the estimated shutoff and restoration for this event:
•     ESTIMATED EVENT SHUTOFF: Starting between [TIME] on [DATE] and [TIME] on [DATE]. We expect
      weather to improve beginning at [TIME] on [DATE]. After severe weather has passed, we will
      inspect equipment before restoring power.
•     ESTIMATED RESTORATION: [DATE] by [TIME].
Actual shutoff and restoration times may change depending on weather and equipment conditions.
Maps and event information by agency can be found at [URL] and [URL]. These links are for public
safety partner use only. Please do not share event information before it is publicly available.
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-15
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 86 of 156



    City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff outage alert. Due to current
weather forecasts, your area is under a Warning for a Public Safety Power Shutoff and we will be
required to turn off power to prevent a wildfire. Shut offs for this event will begin between [TIME] on
[DATE] and [TIME] on [DATE]. Restoration is estimated to be complete on [DATE] by [TIME]. Maps and
event information by agency are available at [URL] and [URL]. These links are for public safety partner
use only. Please do not share event information before it is publicly available.



TEXT
PSPS Outage Alert. We will turn off power for safety between [TIME] [DATE] and [TIME] [DATE] and
complete restoration by [TIME] [DATE]. Weather can affect these times. Event info by agency available
at [URL] and [URL]. These links are for public safety partner use only. Please do not share event
information before it is publicly available.



EMAIL
SUBJECT: PG&E PSPS Outage Alert: Shutoffs in your area will start soon for safety
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff (PSPS) to a Warning.
High temperatures, extreme dryness and high winds, will require us to turn off power to help prevent a
wildfire. Below is the estimated shutoff and restoration for this event:
•     ESTIMATED EVENT SHUTOFF: Starting between [TIME] on [DATE] and [TIME] on [DATE]. We expect
      weather to improve beginning at [TIME] on [DATE]. After severe weather has passed, we will inspect
      equipment before restoring power.
•     ESTIMATED EVENT RESTORATION: [DATE] by [TIME].
Maps and event information by agency can be found at [URL] and [URL]. These links are for public safety
partner use only. Please do not share event information before it is publicly available.
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-16
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 87 of 156



   City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff alert. Forecasted weather
conditions have improved and we are not planning to turn off power for public safety in your area. Maps
and event information by agency are available at [URL] and [URL]. These links are for public safety
partner use only. Please do not share event information before it is publicly available.



TEXT
PG&E PSPS Alert. Forecasted weather conditions have improved and we are not turning off power for
public safety in your area. Event info by agency available at [URL] and [URL]. These links are for public
safety partner use only. Please do not share event information before it is publicly available.




EMAIL
SUBJECT: PG&E PSPS Notification: Power shutoff in your area is canceled
Forecasted weather conditions have improved and we are NOT planning to turn off power for public
safety in your area.
Maps and event information by agency can be found at [URL] and [URL]. These links are for public
safety partner use only. Please do not share event information before it is publicly available.
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-17
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 88 of 156



   City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff outage alert. Weather conditions
have improved, and crews are inspecting equipment to determine how quickly we can safely restore
power. Restoration for the entire P S P S event is estimated to be complete on [DATE] by [TIME],
depending on equipment damage. Restoration information by agency is available at [URL] and [URL].
These links are for public safety partner use only. Please do not share event information before it is
publicly available.


TEXT
PSPS Outage Alert: Weather conditions have improved, crews are inspecting equipment and restoring
power. Restoration for the entire PSPS event is estimated to be complete on [DATE] by [TIME],
depending on equipment damage. Restoration info by agency available at [URL] and [URL]. These
links are for public safety partner use only. Please do not share event information before it is publicly
available.



EMAIL
SUBJECT: PG&E PSPS Outage Alert: Crews are inspecting equipment
Weather conditions have improved and crews are inspecting equipment to determine how quickly we
can safely restore power. We apologize for the disruption and we appreciate your patience.
Restoration for the entire P S P S event is estimated to be complete on [DATE] by [TIME], depending on
equipment damage.
Maps and event information by agency can be found at [URL] and [URL]. These links are for public
safety partner use only. Please do not share event information before it is publicly available.
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-18
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 89 of 156



   City, County, Tribal and CCA


                1                                 2                                 3                                   4                                 5        6
       Advanced                               PSPS                             PSPS                         Cancellation                           Weather       Power
      Notification                            Watch                           Warning                       Notification                           All Clear   Restoration

PHONE/VOICE
This is P G and E calling on [DATE] with a Public Safety Power Shutoff alert. Crews have successfully
restored power to all customers within your jurisdiction. If you are still receiving reports of outages,
please instruct customers to visit p g e dot com backslash outages or call 1 800 7 4 3 5 0 0 2. We
apologize for the disruption and we appreciate your patience.


TEXT
PG&E PSPS Alert: Crews have successfully restored power within your jurisdiction. If you are still
receiving reports of outages, please instruct customers to visit pge.com/outages or call
1-800-743-5002.


EMAIL
SUBJECT: PG&E PSPS Notification: Power restored
Crews have successfully restored power to all customers within your jurisdiction. We apologize for
the disruption and we appreciate your patience. If you are still receiving reports of outages, please
instruct customers to visit pge.com/outages or call 1-800-743-5002. Restoration info by agency
available at [URL] and [URL].
Thank you,
PG&E Liaison Officer
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                  App-19
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 90 of 156




General Customer, Critical Facility
and Medical Baseline Notifications
 We will attempt to reach potentially impacted customers through automated calls, texts and emails
 using all contact information we have on file. We will also post event-specific information on pge.com
 and social media channels, as well as keep local news, radio outlets and community based
 organizations informed and updated.
 Public Safety Partner Customers that have a facility identified as potentially affected will receive an
 advanced notification with facility information (in addition to the notifications sent to agencies as
 described in the previous section). This includes police and fire facilities, communication providers,
 water agencies, emergency hospitals and publicly-owned utilities.
 Medical Baseline Program Participants will also receive unique PSPS Watch and PSPS Warning
 notifications. These messages include customized phone, text and email messages that request
 confirmation that the notification was received. Additionally, PG&E sends hourly notifications to those
 customers who have not confirmed receipt and conducts site visits if notifications were not previously
 confirmed.

 The following outlines the various notifications PG&E will send prior to, during and after a PSPS event:


             1                            2                             3                             4                            5                           6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration

 KEY:
     Telecom Providers, Water Agencies,                                                                                  General Customers
     Emergency Hospitals, Publicly-Owned Utilities

          Medical Baseline Program Participants                                                                          All Customers

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-20
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 91 of 156


   Telecom Providers, Water Agencies, Emergency
   Hospitals, Publicly-Owned Utilities

             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. On [DATE], your power may be shut off for safety. To
replay this message at any time, press #. Due to current weather forecasts [ADDRESS] is currently
under a Watch for a Public Safety Power Shutoff. Weather forecasts including high winds and dry
conditions, may require us to turn off your power to help prevent a wildfire. ESTIMATED SHUTOFF
TIME: [DAY] [DATE] between [TIME] and [TIME]. Shutoff times may be delayed if winds arrive later than
forecast. We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will
inspect equipment before restoring power. ESTIMATED RESTORATION TIME: [DAY], [DATE] by [TIME]
This restoration time may change depending on weather conditions and equipment damage. Maps
showing the areas potentially affected by a shutoff can be found at [URL]. PSPS Portal users can log in
at [URL]. These are for public safety partner use only. **PLEASE DO NOT SHARE THESE LINKS**. We
recommend all customers have a plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we have
determined it is necessary to turn off your power. If this is not the correct phone number for [ADDRESS],
press 2. Press # to repeat this message. Thank you. Goodbye.


PHONE/VOICE (MULTI PREM)
This is PG&E calling with a PSPS outage alert. On [DATE], your power may be shut off for safety. To
replay this message at any time, press #. Due to current weather forecasts, [NUMBER of SPIDs FOR
MULTI PREM] of your meters are currently under a Watch for a Public Safety Power Shutoff. Current
weather forecasts, including high winds and dry conditions, may require us to turn off your power to
help prevent a wildfire. The estimated shutoff time for [ADDRESS #1] is [DAY] [DATE] between [TIME]
and [TIME]. The estimated restoration time is [DAY], [DATE] by [TIME]. The estimated shutoff time for
[ADDRESS #2] is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time is [DAY],
[DATE] by [TIME]. Changes in weather can affect shutoff times. Restoration times may change depending
on weather conditions and equipment damage. Please get ready to write down the following information.
Details for all [NUMBER of SPIDs FOR MULTI PREM] of your affected meters can be found online at
pge.com/myaddresses. On the website you will be asked to enter your phone number [XXX-XXX-XXXX]
plus a 4-digit PIN. Your PIN number is: [ZZZZ]. To repeat how to get details for all of your affected
meters, press *. Maps showing the areas potentially affected by a shutoff can be found at [URL]. PSPS
Portal users can log in at [URL]. These are for public safety partner use only. **PLEASE DO NOT
SHARE THESE LINKS**. We recommend all customers have a plan for an extended outage. We will
provide daily updates until the weather risk has passed or power has been restored. This will include a
Warning notification if we have determined it is necessary to turn off your power. If this is not the correct
phone number for the addresses provided, press 2. Press # to repeat this message. To repeat how to get
details for all of your affected meters, press *. Thank you. Goodbye.


Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-21
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 92 of 156


   Telecom Providers, Water Agencies, Emergency
   Hospitals, Publicly-Owned Utilities

             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: PG&E may turn off power for safety at [ADDRESS] on [DATE].
Estimated shutoff: [TIME]–[TIME]. Estimated restoration: [DATE] by [TIME]. Weather can affect these
times. Maps for public safety partners at [URL] or log in at [URL].



TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: PG&E may turn off power for safety to [NUMBER of SPIDs FOR MULTI
PREM] of your meters. Est. shutoff as early as: [DATE] [TIME]-[TIME]. Est. restoration: [DATE] by [TIME].
Weather can affect these times. Meter list: [pge.bz/12345] Safety partner maps: [URL] or log in at [URL].


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: On [DATE] power shutoffs may be required for safety
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
Shutoff times may be delayed if winds arrive later than forecast.
We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect
equipment before restoring power.
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.
Maps showing the areas potentially affected by a shutoff can be found at [URL]. PSPS Portal users can
log in at [URL]. These are for public safety partner use only. PLEASE DO NOT SHARE THESE LINKS.
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we have
determined it is necessary to turn off your power. Weather forecasts change frequently. Shutoff forecasts
will be most accurate the day of the potential outage.

CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-22
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 93 of 156


   Telecom Providers, Water Agencies, Emergency
   Hospitals, Publicly-Owned Utilities

             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
If this is not the correct email address for [ADDRESS], please call 1-800-743-5000.
RESOURCES TO HELP YOU PREPARE
• Maps showing the areas potentially affected by a shutoff can be found at [URL]. These are for public
  safety partner use only. PLEASE DO NOT SHARE THIS LINK.
• PSPS Portal users can log in at [URL]. These are for public safety partner use only. PLEASE DO
  NOT SHARE THIS LINK.
• To learn more about Public Safety Power Shutoffs, including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report it
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-23
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 94 of 156


   Telecom Providers, Water Agencies, Emergency
   Hospitals, Publicly-Owned Utilities

             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: On [DATE] power shutoffs may be required for safety
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire. Maps showing the areas potentially affected by a shutoff can be found
at [URL]. PSPS Portal users can log in at [URL]. These are for public safety partner use only. **PLEASE
DO NOT SHARE THESE LINKS**
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
 1.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
 2.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
(Repeat for first 50 premises that would be affected)
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we have
determined it is necessary to turn off your power. Weather forecasts change frequently. Shutoff forecasts
will be most accurate the day of the potential outage.
If this is not the correct email address for the addresses provided, please call 1-800-743-5000.


CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-24
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 95 of 156


   Telecom Providers, Water Agencies, Emergency
   Hospitals, Publicly-Owned Utilities

             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
RESOURCES TO HELP YOU PREPARE
• Maps showing the areas potentially affected by a shutoff can be found at [URL]. These are for public
  safety partner use only. PLEASE DO NOT SHARE THIS LINK.
• PSPS Portal users can log in at [URL]. These are for public safety partner use only. PLEASE DO NOT
  SHARE THIS LINK.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report immediately
  by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-25
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 96 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


IVR LIVE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert for Medical Baseline customers. On [DATE], your power
may be shut off for safety. To continue in English press 1. To replay this message at any time, press
#. Due to current weather forecasts [ADDRESS] is currently under a Watch for a Public Safety Power
Shutoff. Weather forecasts including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire. ESTIMATED SHUTOFF TIME: [DAY] [DATE] between [TIME] and [TIME].
Shutoff times may be delayed if winds arrive later than forecast. We expect weather to improve by
[TIME] on [DAY], [DATE]. After weather has improved, we will inspect equipment before restoring power.
ESTIMATED RESTORATION TIME: [DAY] [DATE] by [TIME]. This restoration time may change depending
on weather conditions and equipment damage. We recommend all customers have a plan for an
extended outage. We will provide daily updates until the weather risk has passed or power has been
restored. This will include a Warning notification if we have determined it is necessary to turn off your
power. For planning resources or more information visit pge.com/pspsupdates or call 1-800-743-5002.
If you rely on power to operate life-sustaining medical devices or have access and functional needs,
additional support may be available. For more information, visit pge.com/disabilityandaging. If this is not
the correct phone number for [ADDRESS], press 2. Press # to repeat this message. Thank you. Goodbye.

IVR LIVE (MULTI PREM)
This is PG&E calling with a PSPS outage alert for Medical Baseline customers. On [DATE], your power
may be shut off for safety. To continue in English press 1. To replay this message at any time, press #.
Due to current weather forecasts, [NUMBER of SPIDs FOR MULTI PREM] of your meters are currently
under a Watch for a Public Safety Power Shutoff. Current weather forecasts, including high winds and
dry conditions, may require us to turn off your power to help prevent a wildfire. The estimated shutoff
time for [ADDRESS #1] is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time is
[ETOR DAY], [ETOR DATE] by [ETOR TIME]. The estimated shutoff time for [ADDRESS #2] is [DAY] [DATE]
between [TIME] and [TIME]. The estimated restoration time is [ETOR DAY], [ETOR DATE] by [TIME].
Changes in weather can affect shutoff times. Restoration times may change depending on weather
conditions and equipment damage. Please get ready to write down the following information. Details for
all [NUMBER of SPIDs FOR MULTI PREM] of your affected meters can be found online at
pge.com/myaddresses. On the website you will be asked to enter your phone number [XXX-XXX-XXXX] plus
a 4-digit PIN. Your PIN number is: [ZZZZ]. To repeat how to get details for all of your affected meters,
press *. We recommend all customers have a plan for an extended outage. We will provide daily updates
until the weather risk has passed or power has been restored. This will include a Warning notification if
we have determined it is necessary to turn off your power. If you rely on power to operate life-sustaining
medical devices or have access and functional needs, additional support may be available. For more
information, visit pge.com/disabilityandaging. If this is not the correct phone number for the addresses
provided, press 2. Press # to repeat this message. To repeat how to get details for all of your affected
meters, press *. Thank you. Goodbye.

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-26
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 97 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


IVR VOICE MESSAGE (SINGLE PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert for Medical Baseline customers.
On [DATE], your power may be shut off for safety. Your response is required. To hear this message in
another language call [1-800-XXX-XXXX] Due to current weather forecasts [ADDRESS] is currently
under a Watch for a Public Safety Power Shutoff. Weather forecasts including high winds and dry
conditions, may require us to turn off your power to help prevent a wildfire. ESTIMATED SHUTOFF
TIME: [DAY] [DATE] between [TIME] and [TIME]. Shutoff times may be delayed if winds arrive later than
forecast. We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we
will inspect equipment before restoring power. ESTIMATED RESTORATION TIME: [ETOR DAY], [DATE]
by [TIME] This restoration time may change depending on weather conditions and equipment damage.
Because you are enrolled in our Medical Baseline program, your response is required. Please call
[XXX-XXX-XXXX] to confirm you have received this message. We will continue to attempt to reach you and
may visit your home if you do not respond. We recommend all customers have a plan for an extended
outage. We will provide daily updates until the weather risk has passed or power has been restored. This
will include a Warning alert if we have determined it is necessary to turn off your power. For planning
resources or more information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power
to operate life-sustaining medical devices or have access and functional needs, additional support may
be available. For more information, visit pge.com/disabilityandaging If this is not the correct phone
number for [ADDRESS], call 1-800-743-5000. Thank you. Goodbye.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-27
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 98 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


IVR VOICE MESSAGE (MULTI PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert for Medical Baseline customers.
On [DATE], your power may be shut off for safety. Your response is required. To hear this message in
another language call [1-800-XXX-XXXX]. Due to current weather forecasts, [NUMBER of SPIDs FOR
MULTI PREM] of your meters are currently under a Watch for a Public Safety Power Shutoff. Current
weather forecasts, including high winds and dry conditions, may require us to turn off your power to
help prevent a wildfire. The estimated shutoff time for [ADDRESS #1] is [DAY] [DATE] between [TIME]
and [TIME]. The estimated restoration time is [DAY], [DATE] by [TIME] The estimated shutoff time
for [ADDRESS #2] is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time is
[DAY], [DATE] by [TIME]. Changes in weather can affect shutoff times. Restoration times may change
depending on weather conditions and equipment damage. Details for all [NUMBER of SPIDs FOR MULTI
PREM] of your affected meters can be found online at pge.com/myaddresses. On the website you will
be asked to enter your phone number [XXX-XXX-XXXX] plus a 4-digit PIN. Your PIN number is: [ZZZZ].
Because you are enrolled in our Medical Baseline program, your response is required. Please call
[XXX-XXX-XXXX] to confirm you have received this message. We will continue to attempt to reach you and
may visit your home if you do not respond. We recommend all customers have a plan for an extended
outage. We will provide daily updates until the weather risk has passed or power has been restored.
For planning resources or more information visit pge.com/pspsupdates or call 1-800-743-5002. If you
rely on power to operate life-sustaining medical devices or have access and functional needs, additional
support may be available. For more information, visit pge.com/disabilityandaging. If this is not the
correct phone number for the addresses provided, call 1-800-743-5000. Thank you. Goodbye.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-28
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 99 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert - Medical Baseline Customers [DATE]: PG&E may turn off power for safety at
[ADDRESS] on [DATE]. Est Shutoff: [TIME]-[TIME]. Est Restoration: [DATE] by [TIME]. Weather can affect
shutoff & restoration times. Info&Languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.


TEXT (MULTI PREM)
PG&E PSPS Outage Alert – Medical Baseline Customers [DATE]: PG&E may turn off power for safety to
[NUMBER of SPIDs FOR MULTI PREM] of your meters. Est shutoff: [DATE]
[TIME]-[TIME]. Est restoration: [DATE] by [TIME]. Weather can affect these times. Meter list:
[pge.bz/12345] Info&Languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: On [DATE] power shutoffs may be required for safety
HEADER LINKS:
español                中文             tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power
Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
Shutoff times may be delayed if winds arrive later than forecast.
We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect
equipment before restoring power.
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.

CONTINUED ON NEXT PAGE

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-29
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 100 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we
have determined it is necessary to turn off your power. Weather forecasts change frequently. Shutoff
forecasts will be most accurate the day of the potential outage.
If this is not the correct email address for [ADDRESS], please call 1-800-743-5000.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-30
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 101 of 156



     Medical Baseline Program Participants


             1                            2                                 3                         4                             5                          6           7
   Advanced                           PSPS                           PSPS                  Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                         Warning                Notification                       Update                      All Clear   Restoration

EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: On [DATE] power shutoffs may be required for safety
HEADER LINKS:
español                中文  tiếng việt Tagalog 한국어 русский язык
 ‫ىبرع‬                 ‫ یسراف‬Hmoob ្ម រ 日本語 ਪੰਜਾਬੀ
                                                                ខ
                                                                        ែ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power
Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
  1.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
  2.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
We recommend all customers plan for an extended outage. We will provide daily updates until the weather
risk has passed or power has been restored. This will include a Warning notification if we have determined
it is necessary to turn off your power. Weather forecasts change frequently. Shutoff forecasts will be most
accurate the day of the potential outage.
If this is not the correct email address for the addresses provided, please call 1-800-743-5000.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
CONTINUED ON NEXT PAGE                                                                                                                                                  App-31
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 102 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
   immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-32
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 103 of 156



     General Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. On [DATE], your power may be shut off for safety. To
continue in English press 1. To replay this message at any time, press #. Due to current weather
forecasts [ADDRESS] is currently under a Watch for a Public Safety Power Shutoff. Weather forecasts
including high winds and dry conditions, may require us to turn off your power to help prevent a wildfire.
ESTIMATED SHUTOFF TIME: [DAY] [DATE] between [TIME] and [TIME]. Shutoff times may be delayed
if winds arrive later than forecast. We expect weather to improve by [TIME] on [DAY], [DATE]. After
weather has improved, we will inspect equipment before restoring power. ESTIMATED RESTORATION
TIME: [DAY] [DATE] by [TIME]. This restoration time may change depending on weather conditions and
equipment damage. We recommend all customers have a plan for an extended outage. We will provide
daily updates until the weather risk has passed or power has been restored. This will include a Warning
notification if we have determined it is necessary to turn off your power. For planning resources or more
information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate life-sustaining
medical devices or have access and functional needs, additional support may be available. For more
information, visit pge.com/disabilityandaging. If this is not the correct phone number for [ADDRESS],
press 2. Press # to repeat this message. Thank you. Goodbye.

PHONE/VOICE (MULTI PREM)
This is PG&E calling with a PSPS outage alert. On [DATE], your power may be shut off for safety. To
continue in English press 1. To replay this message at any time, press #. Due to current weather forecasts,
[NUMBER of SPIDs FOR MULTI PREM] of your meters are currently under a Watch for a Public Safety
Power Shutoff. Current weather forecasts, including high winds and dry conditions, may require us to turn
off your power to help prevent a wildfire. The estimated shutoff time for [ADDRESS #1] is [DAY] [DATE]
between [TIME] and [ESTIMATED SHUTOFF END TIME]. The estimated restoration time is [DAY], [DATE]
by [TIME]. The estimated shutoff time for [ADDRESS #2] is [DAY] [DATE] between [TIME] and [TIME].
The estimated restoration time is [DAY], [DATE] by [TIME]. Changes in weather can affect shutoff times.
Restoration times may change depending on weather conditions and equipment damage. Please get ready
to write down the following information. Details for all [NUMBER of SPIDs FOR MULTI PREM] of your
affected meters can be found online at pge.com/myaddresses. On the website you will be asked to enter
your phone number [XXX-XXX-XXXX] plus a 4-digit PIN. Your PIN number is: [ZZZZ]. To repeat how to get
details for all of your affected meters, press *. We recommend all customers have a plan for an extended
outage. We will provide daily updates until the weather risk has passed or power has been restored. This
will include a Warning notification if we have determined it is necessary to turn off your power. If you
rely on power to operate life-sustaining medical devices or have access and functional needs, additional
support may be available. For more information, visit pge.com/disabilityandaging. If this is not the correct
phone number for the addresses provided, press 2. Press # to repeat this message. To repeat how to get
details for all of your affected meters, press *. Thank you. Goodbye.

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-33
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 104 of 156



     General Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: Due to weather PG&E may turn off power for safety at [ADDRESS] on
[DATE]. Estimated shutoff: [TIME]-[TIME]. Estimated restoration: [DATE] by [TIME]. Weather can affect
shutoff & restoration. Info&Other languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.

TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: PG&E may turn off power for safety to [NUMBER of SPIDs FOR MULTI
PREM] of your meters. Est shutoff as early as: [DATE] [TIME]-[TIME]. Est restoration: [DATE] by [TIME].
Weather can affect shutoff & restoration times. Meter list: [pge.bz/12345]. Info&Other languages:
pge.com/pspsupdates Reply w/ “1” to verify receipt.

EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: On [DATE] power shutoffs may be required for safety
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                           русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
Shutoff times may be delayed if winds arrive later than forecast.
We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect
equipment before restoring power.
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we have
determined it is necessary to turn off your power. Weather forecasts change frequently. Shutoff forecasts
will be most accurate the day of the potential outage.


CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-34
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 105 of 156



     General Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
If this is not the correct email address for [ADDRESS], please call 1-800-743-5000.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report immediately
  by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-35
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 106 of 156



     General Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: On [START DATE] power shutoffs may be required for safety
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Watch
Due to current weather forecasts, your area is currently under a Watch for a Public Safety Power Shutoff.
Current weather forecasts, including high winds and dry conditions, may require us to turn off your
power to help prevent a wildfire.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
 1.         ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
 2.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [ETOR DAY], [ETOR DATE] by [ETOR TIME]
            Restoration time may change depending on weather and equipment damage.
(Repeat for first 50 premises that would be affected)
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. This will include a Warning notification if we have
determined it is necessary to turn off your power. Weather forecasts change frequently. Shutoff forecasts
will be most accurate the day of the potential outage.
If this is not the correct email address for the addresses provided, please call 1-800-743-5000.
CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-36
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 107 of 156



     General Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.

For more information visit [pge.com/pspsupdates] or call 1-800-743-5002.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-37
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 108 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


IVR LIVE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert for Medical Baseline customers. Shutoffs start between
[TIME] and [TIME] for safety. To continue in English press 1. To replay this message at any time, press #.
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning. Weather
forecasts including high winds and dry conditions, will require us to turn off your power at [ADDRESS] to
help prevent a wildfire. SHUTOFF TIME: [DAY] [DATE] between [TIME] and [TIME]. Shutoff times may be
delayed if winds arrive later than forecast. We expect weather to improve by [TIME] on [DAY], [DATE]. After
weather has improved, we will inspect equipment before restoring power. ESTIMATED RESTORATION
TIME: [DAY], [DATE] by [TIME]. This restoration time may change depending on weather conditions and
equipment damage. We recommend all customers have a plan for an extended outage. We will provide
daily updates until the weather risk has passed or power has been restored. For planning resources or
more information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate
life-sustaining medical devices or have access and functional needs, additional support may be available.
For more information, visit pge.com/disabilityandaging. Press # to repeat this message. Thank you.
Goodbye.


IVR LIVE (MULTI PREM)
This is PG&E calling with a PSPS outage alert for Medical Baseline customers. Shutoffs start between
[TIME] and [TIME] for safety. To continue in English press 1. To replay this message at any time, press
#. To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning.
Weather forecasts including high winds and dry conditions, will require us to turn off the power
for [NUMBER of SPIDs FOR MULTI PREM] of your meters to help prevent a wildfire. The estimated
shutoff time for [PREMISE ADDRESS #1] is [ESTIMATED SHUTOFF START DAY] [DATE] between
[TIME] and [TIME]. The estimated restoration time is [DAY], [DATE] by [TIME]. The estimated shutoff
time for [ADDRESS #2] is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time is
[DAY], [DATE] by [TIME]. Changes in weather can affect shutoff times. Restoration times may change
depending on weather conditions and equipment damage. Please get ready to write down the following
information. Details for all [NUMBER of SPIDs FOR MULTI PREM] of your affected meters can be
found online at [pge.com/myaddresses]. On the website you will be asked to enter your phone number
[XXX-XXX-XXXX] plus a 4-digit PIN. Your PIN number is: [ZZZZ]. To repeat how to get details for all of
your affected meters, press *. We recommend all customers have a plan for an extended outage. We
will provide daily updates until the weather risk has passed or power has been restored. For planning
resources or more information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power
to operate life-sustaining medical devices or have access and functional needs, additional support may
be available. For more information, visit pge.com/disabilityandaging. Press # to repeat this message. To
repeat how to get details for all of your affected meters, press *. Thank you. Goodbye.



Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-38
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 109 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


IVR VOICE MESSAGE (SINGLE PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert for Medical Baseline Customers.
Shutoffs start between [TIME] and [TIME] for safety. Your response is required. To hear this message in
another language call [1-800-XXX-XXXX]. To protect public safety, PG&E has upgraded the Public Safety
Power Shutoff Watch to a Warning. Weather forecasts including high winds and dry conditions, will
require us to turn off your power at [ADDRESS] to help prevent a wildfire. SHUTOFF TIME: [DAY] [DATE]
between [TIME]-[TIME]. Shutoff times may be delayed if winds arrive later than forecast. We expect
weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect equipment
before restoring power. ESTIMATED RESTORATION TIME: [DAY], [DATE] by [TIME] This restoration time
may change depending on weather conditions and equipment damage. Please call [XXX-XXX-XXXX] to
confirm you have received this message. We will continue to attempt to reach you and may visit your
home if you do not respond. We recommend all customers have a plan for an extended outage. We
will provide daily updates until the weather risk has passed or power has been restored. For planning
resources or more information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power
to operate life-sustaining medical devices or have access and functional needs, additional support may
be available. For more information, visit pge.com/disabilityandaging. Thank you. Goodbye.


IVR VOICE MESSAGE (MULTI PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert for Medical Baseline customers.
Shutoffs start between [TIME] and [TIME] for safety. Your response is required. To hear this message in
another language call [1-800-XXX-XXXX]. To protect public safety, PG&E has upgraded the Public Safety
Power Shutoff Watch to a Warning. Weather forecasts including high winds and dry conditions, will
require us to turn off the power for [NUMBER of SPIDs FOR MULTI PREM] of your meters to help prevent
a wildfire. The estimated shutoff time for [ADDRESS #1] is [DAY] [DATE] between [TIME] and [TIME].
The estimated restoration time is [DAY], [DATE] by [TIME]. The estimated shutoff time for [ADDRESS #2]
is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time is [DAY], [DATE] by [TIME].
Changes in weather can affect shutoff times. Restoration times may change depending on weather
conditions and equipment damage. Details for all [NUMBER of SPIDs FOR MULTI PREM] of your affected
meters can be found online at pge.com/myaddresses. On the website you will be asked to enter your
phone number [XXX-XXX-XXXX] plus a 4-digit PIN. Your PIN number is: [ZZZZ]. Please call
[XXX-XXX-XXXX] to confirm you have received this message. We will continue to attempt to reach
you and may visit your home if you do not respond. We recommend all customers have a plan for
an extended outage. We will provide daily updates until the weather risk has passed or power has been
restored. For planning resources or more information visit pge.com/pspsupdates or call
1-800-743-5002. If you rely on power to operate life-sustaining medical devices or have access and
functional needs, additional support may be available. For more information, visit
pge.com/disabilityandaging. Thank you. Goodbye.

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-39
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 110 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert - Medical Baseline Customers [DATE]: PG&E will turn off power for safety at
[ADDRESS]. Est shutoff: [DATE] [TIME]-[TIME] Est restoration: [DATE] by [TIME] depending on weather &
damage. More info & other languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.

TEXT (MULTI PREM)
PG&E PSPS Outage Alert – Medical Baseline Customers [DATE]: PG&E will turn off power for safety to
[NUMBER of SPIDs FOR MULTI PREM] of your meters. Est shutoff as early as: [DATE]
[TIME]-[TIME]. Est restoration: [DATE] by [TIME] depending on weather & damage. Meters:
[pge.bz/12345]. Info&Languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Shutoffs start between [TIME]-[TIME] for safety
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Warning
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning.
Current weather forecasts, including high winds and dry conditions, will require us to turn off your
power to help prevent a wildfire.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
Shutoff times may be delayed if winds arrive later than forecast.
We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect
equipment before restoring power.
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-40
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 111 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-41
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 112 of 156



     Medical Baseline Program Participants


             1                            2                                 3                         4                             5                          6           7
   Advanced                           PSPS                           PSPS                  Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                         Warning                Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Shutoffs start between [TIME]-[TIME] for safety
HEADER LINKS:
español                中文  tiếng việt Tagalog 한국어 русский язык
 ‫ىبرع‬                 ‫ یسراف‬Hmoob ្ម រ 日本語 ਪੰਜਾਬੀ
                                                                ខ
                                                                        ែ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Warning
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning.
Current weather forecasts, including high winds and dry conditions will require us to turn off your power
to help prevent a wildfire.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
  1.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
  2.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.

 Repeat for first 50 premises that would be affected)
We recommend all customers plan for an extended outage. We will provide daily updates until the weather
risk has passed or power has been restored. Weather forecasts change frequently.


CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-42
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 113 of 156



     Medical Baseline Program Participants


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery.
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-43
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 114 of 156



     General Customer


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. Shutoffs start between [TIME] and [TIME] for safety. To
continue in English press 1.To replay this message at any time, press #. To protect public safety, PG&E has
upgraded the Public Safety Power Shutoff Watch to a Warning. Weather forecasts including high winds and
dry conditions, will require us to turn off your power at [ADDRESS] to help prevent a wildfire. SHUTOFF
TIME: [DAY] [DATE] between [TIME] and [TIME]. Shutoff times may be delayed if winds arrive later than
forecast. We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will
inspect equipment before restoring power. ESTIMATED RESTORATION TIME: [DAY], [DATE] by [TIME]. This
restoration time may change depending on weather conditions and equipment damage. We recommend
all customers have a plan for an extended outage. We will provide daily updates until the weather risk has
passed or power has been restored. For planning resources or more information visit pge.com/pspsupdates
or call 1-800-743-5002. If you rely on power to operate life-sustaining medical devices or have access and
functional needs, additional support may be available. For more information, visit pge.com/disabilityandaging.
Press # to repeat this message. Thank you. Goodbye.



PHONE/VOICE (MULTI PREM)
This PG&E calling with a PSPS outage alert. Shutoffs start between [TIME] and [TIME] for safety. To
continue in English press 1.To replay this message at any time, press #. To protect public safety, PG&E
has upgraded the Public Safety Power Shutoff Watch to a Warning. Weather forecasts including high
winds and dry conditions, will require us to turn off the power for [NUMBER of SPIDs FOR MULTI PREM]
of your meters to help prevent a wildfire. The estimated shutoff time for [ADDRESS #1] is [DAY] [DATE]
between [TIME] and [TIME]. The estimated restoration time is [DAY], [DATE] by [TIME]. The estimated
shutoff time for [ADDRESS #2] is [DAY] [DATE] between [TIME] and [TIME]. The estimated restoration time
is [DAY],[DATE] by [TIME]. Changes in weather can affect shutoff times. Restoration times may change
depending on weather conditions and equipment damage. Please get ready to write down the following
information. Details for all [NUMBER of SPIDs FOR MULTI PREM] of your affected meters can be found
online at pge.com/myaddresses. On the website you will be asked to enter your phone number
[XXX-XXX-XXXX] plus a 4-digit PIN. Your PIN number is: [ZZZZ]. To repeat how to get details for all of
your affected meters, press *. We recommend all customers have a plan for an extended outage. We will
provide daily updates until the weather risk has passed or power has been restored. For planning resources
or more information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate
life-sustaining medical devices or have access and functional needs, additional support may be available.
For more information, visit pge.com/disabilityandaging. Press # to repeat this message. To repeat how to
get details for all of your affected meters, press *. Thank you. Goodbye.



Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-44
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 115 of 156



     General Customer


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: PG&E will turn off power for safety at [ADDRESS] on [DATE]. Est.
shutoff: [TIME]-[TIME] Est. restoration: [DATE] by [TIME] depending on weather & equipment damage.
More info & other languages: pge.com/pspsupdates Reply w/ “1” to verify receipt.

TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: PG&E will turn off power for safety to [NUMBER of SPIDs FOR MULTI
PREM] of your meters. Est. shutoff as early as: [DATE] [TIME]-[TIME]. Est. restoration: [DATE] by [TIME]
depending on weather & equipment damage. Meter list: [pge.bz/12345] Info & other languages:
pge.com/pspsupdates Reply w/ “1” to verify receipt.


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Shutoffs start between [TIME]-[TIME] for safety
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Warning
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning.
Current weather forecasts, including high winds and dry conditions, will require us to turn off your
power to help prevent a wildfire.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
Shutoff times may be delayed if winds arrive later than forecast.
We expect weather to improve by [TIME] on [DAY], [DATE]. After weather has improved, we will inspect
equipment before restoring power.
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.

CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-45
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 116 of 156



     General Customer


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report immediately
  by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-46
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 117 of 156



     General Customer


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Shutoffs start between [TIME]-[TIME] for safety
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                           русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Warning
To protect public safety, PG&E has upgraded the Public Safety Power Shutoff Watch to a Warning.
Current weather forecasts, including high winds and dry conditions will require us to turn off your power
to help prevent a wildfire.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
 1.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
 2.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
(Repeat for first 50 premises that would be affected)
We recommend all customers plan for an extended outage. We will provide daily updates until the
weather risk has passed or power has been restored. Weather forecasts change frequently.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.


CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-47
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 118 of 156



     General Customer


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
RESOURCES TO HELP YOU PREPARE
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices, visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips, visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast, visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report immediately
  by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-48
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 119 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. Forecasted weather
conditions have improved and we are not planning to turn off power for public safety at [ADDRESS]
on [DAY] [DATE]. For more information visit pge.com/pspsupdates or call 1-800-743-5002. Press # to
repeat this message. Thank you. Goodbye.

PHONE/VOICE (MULTI PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. Forecasted weather
conditions have improved and we are not planning to turn off power for public safety to [NUMBER
OF SPIDs FOR MULTI PREM] of your meters. The meters at the following addresses: [ADDRESS #1],
[ADDRESS #2], [ADDRESS #3] will not be turned off. Please get ready to write down the following
information. To view details for all [NUMBER of SPIDs FOR MULTI PREM] of your canceled meters, visit
pge.com/myaddresses and enter this phone number [XXX-XXX-XXXX] plus the following 4-digit PIN
[ZZZZ] when prompted. To repeat how to get details for all of your affected meters, press *. For more
information visit pge.com/pspsupdates or call 1-800-743-5002. Press # to repeat this message. To
repeat how to get details for all of your affected meters, press *. Thank you. Goodbye.

TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: Forecasted weather conditions have improved & we are not turning off
safety at [ADDRESS] on [DATE]. More info & other languages: pge.com/pspsupdates

TEXT (MULTI PREM)
PG&E PSPS Outage Alert [SYSTEM DATE]: Forecasted weather conditions have improved & we are not
turning off power for safety to [NUMBER of SPIDs FOR MULTI PREM] of your meters. Meter list:
[pge.bz/12345]. More info & other languages: pge.com/pspsupdates




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-49
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 120 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Your power shutoff is canceled
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Cancellation
Forecasted weather conditions have improved and we are NOT planning to turn off power for public
safety at: [ADDRESS, CITY, STATE, COUNTY] on [DAY], [DATE]
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.



EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Your power shutoff is canceled
HEADER LINKS:
español               中文             tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Cancellation
Forecasted weather conditions have improved and we are NOT planning to turn off power for public
safety at the following locations:
NUMBER OF METERS CANCELED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL CANCELED LOCATIONS/DOWNLOAD A LIST OF ALL CANCELED LOCATIONS]

CONTINUED ON NEXT PAGE

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-50
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 121 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
 1.         ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
 2.         ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
 (Repeat for first 50 premises that would be affected)
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-51
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 122 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. Power remains off at your
location at [ADDRESS] to help prevent a wildfire. Crews will restore power as soon as it is safe to do so.
ESTIMATED RESTORATION TIME: [DAY] [DATE] by [TIME]. This restoration time may change depending
on weather conditions and equipment damage. We recommend all customers have a plan for an
extended outage. We will provide daily updates until your power has been restored. For more information
visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate life-sustaining medical
devices or have access and functional needs, additional support may be available. For more information,
visit pge.com/disabilityandaging. We apologize for the disruption and we appreciate your patience. To opt
out of call notifications to this number for the remainder of this outage, press 2. Press # to repeat this
message. Thank you. Goodbye.


PHONE/VOICE (MULTI PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. To replay this message
at any time, press #. Power remains off for [NUMBER of SPIDs FOR MULTI PREM] of your meters to
help prevent a wildfire. Crews will restore power as soon as it is safe to do so. The estimated restoration
time for [ADDRESS #1] is [DAY], [DATE] by [TIME]. The estimated restoration time for [ADDRESS
#2] is [DAY], [DATE] by [TIME]. Restoration times may change depending on weather conditions and
equipment damage. Please get ready to write down the following information. To view details for all
[NUMBER of SPIDs FOR MULTI PREM] of your affected meters, visit pge.com/myaddresses and enter
this phone number [XXX-XXX-XXXX] plus the following 4-digit PIN [ZZZZ] when prompted. To repeat
how to get details for all of your affected meters, press *. We recommend all customers have a plan
for an extended outage. We will provide daily updates until your power has been restored. For more
information visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate
life-sustaining medical devices or have access and functional needs, additional support may be
available. For more information, visit pge.com/disabilityandaging. We apologize for the disruption and
we appreciate your patience. To opt out of call notifications to this number for the remainder of this
outage, press 2. Press # to repeat this message. To repeat how to get details for all of your affected
meters, press *. Thank you. Goodbye.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-52
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 123 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: Power remains off at [ADDRESS] to help prevent a wildfire. Estimated
restoration: [DATE] by [TIME] depending on weather & equipment damage. More info & other languages:
pge.com/pspsupdates. Reply STOP to STOP text alerts for this outage.

TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: Power remains off at [NUMBER of SPIDs FOR MULTI PREM] of your
meters to help prevent a wildfire. Estimated restoration: [DATE] by [TIME] depending on weather &
equipment damage. Meter list: [pge.bz/12345]. More info & other languages: pge.com/pspsupdates.
Reply STOP to STOP text alerts for this outage.


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Estimated restoration time
HEADER LINKS:
español 中文                           tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬           Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Update
Power remains off at your location to help prevent a wildfire. We apologize for the disruption and we
appreciate your patience. Crews will restore power as soon as it is safe to do so.
ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
Restoration time may change depending on weather and equipment damage.
We recommend all customers plan for an extended outage. We will provide daily updates until your
power has been restored. Weather forecasts change frequently.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
ADDITIONAL RESOURCES
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices visit pge.com/pspsupdates.

CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-53
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 124 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-54
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 125 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Estimated restoration time
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Outage Update
Power remains off at the locations below to help prevent a wildfire. We apologize for the disruption
and we appreciate your patience. Crews will restore power as soon as it is safe to do so. Get the latest
restoration information for each of your locations below.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
  1.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY],[DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
  2.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
(Repeat for first 50 premises that would be affected)
We recommend all customers plan for an extended outage. We will provide daily updates until your
power has been restored. Weather forecasts change frequently.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.

CONTINUED ON NEXT PAGE

Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-55
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 126 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
ADDITIONAL RESOURCES
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-56
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 127 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. Weather conditions have
improved, and crews are inspecting equipment to determine how quickly we can safely restore power
at your location [ADDRESS]. ESTIMATED RESTORATION TIME: [DAY] [DATE] by [TIME]. This restoration
time may change depending on equipment damage. We recommend all customers have a plan for an
extended outage. We will provide daily updates until your power has been restored. For more information
visit pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate life-sustaining medical
devices or have access and functional needs, additional support may be available. For more information,
visit pge.com/disabilityandaging. We apologize for the disruption and we appreciate your patience To opt
out of call notifications to this number for the remainder of this outage, press 2. Press # to repeat this
message. Thank you. Goodbye.



PHONE/VOICE (MULTI PREM)
This is PG&E calling with a PSPS outage alert. To continue in English press 1. To replay this message at
any time, press #. Weather conditions have improved, and crews are inspecting equipment to determine
how quickly we can safely restore power to [NUMBER of SPIDs FOR MULTI PREM] of your meters. The
estimated restoration time for [ADDRESS #1] is [DAY], [DATE] by [TIME]. The estimated restoration
time for [ADDRESS #2] is [DAY], [DATE] by [TIME]. These restoration times may change depending on
equipment damage. Please get ready to write down the following information. To view details for all
[NUMBER of SPIDs FOR MULTI PREM] of your affected meters, visit pge.com/myaddresses and enter this
phone number [XXX-XXX-XXXX] plus the following 4-digit PIN [ZZZZ] when prompted. To repeat how to get
details for all of your affected meters, press *. We recommend all customers have a plan for an extended
outage. We will provide daily updates until your power has been restored. For more information visit
pge.com/pspsupdates or call 1-800-743-5002. If you rely on power to operate life-sustaining medical
devices or have access and functional needs, additional support may be available. For more information,
visit pge.com/disabilityandaging. We apologize for the disruption and we appreciate your patience. To opt
out of call notifications to this number for the remainder of this outage, press 2. Press # to repeat this
message. To repeat how to get details for all of your affected meters, press *. Thank you. Goodbye.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-57
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 128 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: Weather conditions have improved, and crews are inspecting
equipment to safely restore power at [ADDRESS]. Estimated restoration: [Date] by [TIME] depending on
equipment damage. More info & other languages: pge.com/pspsupdates Reply STOP to STOP text alerts
for this outage.

TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: Weather has improved, and crews are inspecting equipment to safely
restore power to [NUMBER of SPIDs FOR MULTI PREM] of your meters. Estimated restoration: [DATE]
by [TIME] depending on equipment damage. Meter list: [pge.bz/12345]. Info & Languages:
pge.com/pspsupdates. Reply STOP to STOP text alerts for this outage.


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Crews are inspecting equipment
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Equipment Inspections
Weather conditions have improved, and crews are inspecting equipment to determine how quickly we
can safely restore power. We apologize for the disruption and we appreciate your patience.
We expect your service at: [ADDRESS, CITY, STATE, COUNTY] to be fully restored by [DAY], [DATE] by
[TIME] depending on if any repairs are needed.
We will provide daily updates until your power has been restored.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
ADDITIONAL RESOURCES
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
• To view city/county level information, including Community Resource Centers where you can charge
  devices visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-58
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 129 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM) CONT.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips visit pge.com/generatorsafety.
• For generator safety tips visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report immediately
  by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-59
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 130 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Crews are inspecting equipment
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: PSPS Equipment Inspections
Weather conditions have improved, and crews are inspecting equipment to determine how quickly we
can safely restore power. We apologize for the disruption and we appreciate your patience.
NUMBER OF METERS AFFECTED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL AFFECTED LOCATIONS/DOWNLOAD A LIST OF ALL AFFECTED LOCATIONS]
  1.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
  2.        ADDRESS: [PREMISE ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
            ESTIMATED SHUTOFF: [DAY], [DATE] [TIME]-[TIME]
            Shutoff times may be delayed if winds arrive later than forecast.
            ESTIMATED RESTORATION: [DAY], [DATE] by [TIME]
            Restoration time may change depending on weather and equipment damage.
(Repeat for first 50 premises that would be affected)
We will provide daily updates until your power has been restored.
For more information visit pge.com/pspsupdates or call 1-800-743-5002.
ADDITIONAL RESOURCES
• If you rely on power to operate life-sustaining medical devices or have access and functional needs,
  additional support may be available. For more information, visit pge.com/disabilityandaging.
CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-60
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 131 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
• To view city/county level information, including Community Resource Centers where you can charge
  devices visit pge.com/pspsupdates.
• To look up additional addresses that may be affected, visit pge.com/addresslookup.
• To view a general area map of the potential outage area, visit pge.com/pspsmaps.
• Get outage tips and a sample emergency plan at pge.com/outageprep.
• For generator safety tips visit pge.com/generatorsafety.
• To learn more about Public Safety Power Shutoffs including the criteria used to turn off power, visit
  pge.com/psps.
• For a 7-day Public Safety Power Shutoff forecast visit pge.com/pspsweather.
• If you see a downed power line, assume it is energized and extremely dangerous. Report
  immediately by calling 911.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-61
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 132 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


PHONE/VOICE (SINGLE PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert. To continue in English press 1.
Crews have successfully restored power at [ADDRESS]. If your power is still out in this location, please
visit pge.com/outages or call 1-800-743-5002. We apologize for the disruption and we appreciate your
patience. Press # to repeat this message. Thank you. Goodbye.


PHONE (MULTI PREM)
This is PG&E calling on [DAY, DATE] at [TIME] with a PSPS outage alert. To continue in English press 1.
Crews have successfully restored power to [NUMBER of SPIDs FOR MULTI PREM] of your meters. The
meters at the following addresses: [ADDRESS #1], [ADDRESS #2], [ADDRESS #3] have been restored.
Please get ready to write down the following information. To view details for all [NUMBER of SPIDs FOR
MULTI PREM] of your affected meters, visit pge.com/myaddresses and enter this phone number
[XXX-XXX-XXXX] plus the following 4-digit PIN [ZZZZ] when prompted. To repeat how to get details for all
of your affected meters, press *. If your power is still out at any of these locations, please visit pge.com/outages
or call 1-800-743-5002. We apologize for the disruption and we appreciate your patience. Press # to
repeat this message. To repeat how to get details for all of your affected meters, press *. Thank you.
Goodbye.


TEXT (SINGLE PREM)
PG&E PSPS Outage Alert [DATE]: Crews have successfully restored power at your location, [PREMISE
ADDRESS]. If your power is still out in this location, please visit pge.com/outages or call 1-800-743-5002.
For other languages: pge.com/pspsupdates



TEXT (MULTI PREM)
PG&E PSPS Outage Alert [DATE]: Crews have successfully restored power to [NUMBER of SPIDs FOR
MULTI PREM] of your meters. Meter list: [pge.bz/12345]. For other languages: pge.com/pspsupdates




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-62
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 133 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (SINGLE PREM)
SUBJECT: PSPS Outage Alert: Power restored
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: Power Restored
Crews have successfully restored power at: [ADDRESS, CITY, STATE, COUNTY]. We apologize for the
disruption and we appreciate your patience. If your power is still out in this location, please visit
pge.com/outages or call 1-800-743-5002.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery


EMAIL (MULTI PREM)
SUBJECT: PSPS Outage Alert: Power restored
HEADER LINKS:
español 中文                            tiếng việt Tagalog 한국어                                            русский язык
 ‫فارسی‬                ‫عربى‬            Hmoob ខ្មែរ 日本語 ਪੰਜਾਬੀ
HEADLINE: Public Safety Power Shutoff
SUBHEAD: Power Restored
Crews have successfully restored power at the following locations:
NUMBER OF METERS RESTORED: [NUMBER of SPIDs FOR MULTI PREM]
**Due to email size limits a maximum of 50 meter locations is shown**
[VIEW ALL RESTORED LOCATIONS/DOWNLOAD A LIST OF ALL RESTORED LOCATIONS]




CONTINUED ON NEXT PAGE
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-63
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 134 of 156



     All Customers


             1                            2                             3                             4                             5                          6           7
   Advanced                           PSPS                        PSPS                     Cancellation                        PSPS                       Weather       Power
  Notification                        Watch                      Warning                   Notification                       Update                      All Clear   Restoration


EMAIL (MULTI PREM) CONT.
 1.         ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
 2.         ADDRESS: [ADDRESS, CITY, STATE, COUNTY]
            METER ID: [METER ID]
            SERVICE AGREEMENT: [SERVICE AGREEMENT ID]
(Repeat for first 50 premises that would be affected)
We apologize for the disruption and we appreciate your patience.
If your power is still out, please visit pge.com/outages or call 1-800-743-5002.
Thank you,
PG&E Customer Service
Message sent at [DATE, TIME]
NOTE: To protect against spam, some email providers may delay delivery
Some of the measures included in this email are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.




Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                        App-64
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 135 of 156



     All Customers: Microgrid Update Notification***

PHONE/VOICE
This is PG&E calling with a PSPS outage alert. For information in another language call 1-800-743-5002.
Weather conditions have improved and crews are inspecting equipment to determine how quickly we
can safely restore power to the electric grid. As we work to transition you from backup power to the
electric grid, you will experience a power outage of up to four hours. For updates and information in
more languages, visit pge.com/backuprestoration or call 1-800-743-5002. Thank you. Goodbye.




*** As-needed only.
Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                               App-65
“PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 09/17/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 136 of 156




  Transmission and Wholesale
  Customer Notifications
   PG&E will make every effort to provide notifications to Transmission-level and Wholesale
   Customers through:
   • Automated/Live Calls
   • Text Messages

   • Emails
   PG&E will continue to support these customers through two PG&E contacts:
   • Critical Infrastructure Lead (CIL) automated notification and/or Customer Relationship
     Manager leading up to the de-energization
   • Grid Control Center (GCC) operators during de-energization and re-energization

   The following outlines the various notifications PG&E will send prior to, during and after a PSPS event:

                1                                             2                                           3                                         4                     5
PSPS Watch 2-Days                            PSPS Watch 1-Day                                PSPS Warning                            Fault Duty Event            Power Restoration
 (Automated Notification                      (Automated Notification
                                                                                            (Live Call - No Script)                  (Live Call - As Needed)          (Live Call)
    Approx. Two Days                             Approx. One Day
      Before Event)                                Before Event)




  Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                      App-66
  “PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 137 of 156



       Transmission and Wholesale Customers

              1                                              2                                           3                                         4                      5
PSPS Watch 2-Days                           PSPS Watch 1-Day                                PSPS Warning                            Fault Duty Event             Power Restoration
 (Automated Notification                     (Automated Notification
                                                                                           (Live Call - No Script)                  (Live Call - As Needed)           (Live Call)
    Approx. Two Days                            Approx. One Day
      Before Event)                               Before Event)

  PHONE (RECORDING)
  This is an important safety alert from Pacific Gas and Electric Company, calling on [DATE]. Gusty winds
  and dry conditions, combined with a heightened fire risk, are forecasted in the next [NUMBER OF HOURS]
  hours and may impact transmission-level electric service. If these conditions persist, PG&E may need
  to turn off power for safety. Please have your emergency plan ready in case we need to turn off power
  for public safety. Outages could last for multiple days. We will continue to monitor conditions and will
  contact you with further updates. If you have any specific questions or concerns, please contact the
  PG&E Transmission Grid Control Center at [PHONE NUMBER]. For more information, including regular
  updates, please visit pge.com/psps. Thank you.




              1                                              2                                           3                                         4                      5
PSPS Watch 2-Days                           PSPS Watch 1-Day                                PSPS Warning                            Fault Duty Event             Power Restoration
 (Automated Notification                     (Automated Notification
                                                                                           (Live Call - No Script)                  (Live Call - As Needed)           (Live Call)
    Approx. Two Days                            Approx. One Day
      Before Event)                               Before Event)

  PHONE (RECORDING)
  This is an important safety alert from Pacific Gas and Electric Company, calling on [DATE]. Gusty winds
  and dry conditions, combined with a heightened fire risk, are forecasted in the next [NUMBER OF HOURS]
  hours and may impact transmission-level electric service. If these conditions persist, PG&E may need
  to turn off power for safety. Please have your emergency plan ready in case we need to turn off power
  for public safety. Outages could last for multiple days. We will continue to monitor conditions and will
  contact you with further updates. If you have any specific questions or concerns, please contact the
  PG&E Transmission Grid Control Center at [PHONE NUMBER]. For more information, including regular
  updates, please visit pge.com/psps. Thank you.




  Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                       App-67
  “PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
                       Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 138 of 156



       Transmission and Wholesale Customers

              1                                              2                                           3                                         4                      5
PSPS Watch 2-Days                           PSPS Watch 1-Day                                PSPS Warning                            Fault Duty Event             Power Restoration
 (Automated Notification                     (Automated Notification
                                                                                           (Live Call - No Script)                  (Live Call - As Needed)           (Live Call)
    Approx. Two Days                            Approx. One Day
      Before Event)                               Before Event)

  PHONE (LIVE CALL)
  This is [NAME] at PG&E calling regarding grid conditions expected to commence [TIME, DATE] due to
  Public Safety Power Shutoff events. These events will cause significant power flow deviations that may
  have a significant impact on the fault duty at your point of interconnection. We do not expect your facility
  to lose power during the current event, but we do anticipate a fault duty drop that should be evaluated
  in order for your protective equipment to continue to operate as designed. Please have your facility’s
  Protection Engineer or 3rd party protection contractor contact PG&E System Protection Engineering
  at [PHONE NUMBER] as soon as possible. PG&E’s Protection Engineering will give your protection
  specialist the anticipated fault duty needed for protection settings during this event. Thank you.

              1                                              2                                           3                                         4                      5
PSPS Watch 2-Days                           PSPS Watch 1-Day                                PSPS Warning                            Fault Duty Event             Power Restoration
 (Automated Notification                     (Automated Notification
                                                                                           (Live Call - No Script)                  (Live Call - As Needed)           (Live Call)
    Approx. Two Days                            Approx. One Day
      Before Event)                               Before Event)


  PHONE (LIVE CALL)
  This is [NAME] at PG&E calling regarding grid conditions. PG&E has restored all services back to
  normal operations for this Public Safety Shutoff event. If you have made any changes to your fault duty
  settings for this event, do reset it to normal operations. Should you have any questions, please have
  your facility’s Protection Engineer or 3rd party protection contractor contact PG&E System Protection
  Engineering at [PHONE NUMBER] for support.




  Some of the measures included in this document are contemplated as additional precautionary measures intended to further reduce the risk of wildfires.
                                                                                                                                                                       App-68
  “PG&E” refers to Pacific Gas and Electric Company, a subsidiary of PG&E Corporation. ©2020 Pacific Gas and Electric Company. All rights reserved. 10/05/2020
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 139 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                             APPENDIX D
      SECTION 7 – LOCAL COMMUNITY REPRESENTATIVES CONTACTED




                                                                    App-69
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 140 of 156



Table D-1. Local Community Representatives Contacted

     Dates marked with an asterisk (*) are representatives who received multiple notifications during the event.

                                                                                            Classification
                Organization/Jurisdiction                                  Title                                  Date
                                                                                          (Tier 2/3, Zone 1)

Alpine County                                 Undersheriff (24-hour)                           Tier 2/3         9/25/2020*

Alpine County                                 OES Director (24-hour)                           Tier 2/3         9/25/2020*

Alpine County                                 City Hall, Designated POC                        Tier 2/3         9/25/2020*

Alpine County - Bear Valley Fire Department   General (24-hour)                                Tier 2/3         9/25/2020*

Alpine County - Fire Department               General (24-hour)                                Tier 2/3         9/25/2020*

Alpine County - OES                           Emergency                                        Tier 2/3         9/25/2020*

Alpine County - Sheriff's Office              Dispatch (24-hour)                               Tier 2/3         9/25/2020*

Alpine County - Sheriff's Office              ASO                                              Tier 2/3         9/25/2020

Alturas Rancheria of Pit River                Chairperson                                        N/A            9/24/2020

Amador County                                 Sheriff (24-hour)                                Tier 2/3         9/25/2020*

Amador County                                 County Administrative Officer                    Tier 2/3         9/25/2020*

Amador County                                 OES Director                                     Tier 2/3         9/25/2020*

Amador County                                 Chair of the Board                               Tier 2/3         9/25/2020*

Amador County                                 OES Coordinator (24-hour), Designated POC        Tier 2/3         9/25/2020*

Amador County                                 Fire Chief                                       Tier 2/3         9/25/2020*

Amador County - CAL FIRE                      Unit Chief                                       Tier 2/3         9/25/2020*

Amador County - Sheriff's Office              DS1                                              Tier 2/3         9/25/2020

Amador-El Dorado CAL FIRE                     Duty Captain                                     Tier 2/3         9/25/2020

Amador-El Dorado CAL FIRE                     Duty Captain                                     Tier 2/3         9/25/2020

AMR/Redcom                                    Comm. Supervisor                                   N/A            9/25/2020

Arvin - Police Department                     Dispatcher                                         N/A            9/23/2020

Auburn                                        Mayor                                       Tier 2/3 and Zone 1   9/23/2020*

Auburn                                        Local CAL FIRE                              Tier 2/3 and Zone 1   9/23/2020*

Auburn                                        City Manager; Designated POC                Tier 2/3 and Zone 1   9/23/2020

Auburn                                        Fire Chief                                  Tier 2/3 and Zone 1   9/23/2020*

Auburn                                        Police Chief                                Tier 2/3 and Zone 1   9/23/2020*

Auburn - Police Department                    Dispatcher                                  Tier 2/3 and Zone 1   9/23/2020

Bakersfield - Police Department               Dispatch Supervisor                              Tier 2/3         9/23/2020

Beale Air Force Security Forces               Sergeant                                           N/A            9/23/2020

Big Valley Rancheria                          Chairman                                           N/A            9/25/2020

Buena Vista Rancheria of Me-Wuk Indians       Chairperson                                      Tier 2/3         9/25/2020

Butte County                                  Probation Officer                                Tier 2/3         9/23/2020*

Butte County                                  General CAL FIRE (24-hour)                       Tier 2/3         9/23/2020*

Butte County                                  Emergency Services Officer                       Tier 2/3         9/24/2020*

Butte County                                  Sheriff                                          Tier 2/3         9/23/2020*

Butte County                                  General Services Director                        Tier 2/3         9/23/2020*

Butte County                                  Public Health Director                           Tier 2/3         9/23/2020*




                                                                                                                     App-70
        Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 141 of 156




                                                                                                       Classification
               Organization/Jurisdiction                                         Title                                       Date
                                                                                                     (Tier 2/3, Zone 1)

Butte County - CAL FIRE                               Assistant Chief                                     Tier 2/3         9/24/2020*

Butte County - CAL FIRE                               Com Operator                                        Tier 2/3         9/23/2020

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  Chief Administrative Officer; Designated POC        Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Administration                  General                                             Tier 2/3         9/23/2020*

Butte County - County Dev. Services                   General                                             Tier 2/3         9/23/2020*

Butte County - Dept. of Employment and Social Services General                                            Tier 2/3         9/23/2020*

Butte County - Dept. of Employment and Social Services General                                            Tier 2/3         9/23/2020*

Butte County - Public Health                          General                                             Tier 2/3         9/23/2020*

Butte County - Public Health                          General                                             Tier 2/3         9/23/2020*

Butte County - Public Works                           General                                             Tier 2/3         9/23/2020*

Butte County - Public Works                           Assistant Director                                  Tier 2/3         9/23/2020*

Butte County - Public Works                           Director                                            Tier 2/3         9/23/2020*

Butte County - RDMHS                                  General                                             Tier 2/3         9/23/2020*

Butte County - Sheriff's Department                   General                                             Tier 2/3         9/23/2020*

Butte County - Sheriff's Office                       Dispatcher                                          Tier 2/3         9/25/2020

Butte Tribal Council                                  General                                             Tier 2/3         9/23/2020*

CAL FIRE - Shasta/Trinity                             Deputy Chief                                        Tier 2/3         9/23/2020

CAL FIRE - Sonoma/Lake/Napa                           Dispatch Captain                                    Tier 2/3         9/25/2020

CAL FIRE - Sonoma/Lake/Napa                           Dispatch Captain                                    Tier 2/3         9/25/2020

CAL FIRE - Sonoma/Lake/Napa                           ECC Duty                                            Tier 2/3         9/25/2020

Calaveras County                                      County Executive Officer                       Tier 2/3 and Zone 1   9/25/2020*

Calaveras County                                      Local Cal Fire (24-hour)                       Tier 2/3 and Zone 1   9/25/2020*

Calaveras County                                      Fire Chief                                     Tier 2/3 and Zone 1   9/25/2020*

Calaveras County                                      Chair of the Board                             Tier 2/3 and Zone 1   9/25/2020*

Calaveras County                                      OES Director (24-hour), Designated POC         Tier 2/3 and Zone 1   9/25/2020*

Calaveras County - OES                                General                                        Tier 2/3 and Zone 1   9/25/2020*

Calaveras County - Sheriff's Office                   Non-Emergency (24-hour)                        Tier 2/3 and Zone 1   9/25/2020*

Calaveras County Sheriff's Office                     Dispatcher                                     Tier 2/3 and Zone 1   9/23/2020

Calistoga - Police Department                         Dispatcher                                     Tier 2/3 and Zone 1   9/25/2020

Chico                                                 Police Chief                                        Tier 2/3         9/23/2020*

Chico                                                 City Manager; Designated POC                        Tier 2/3         9/23/2020

Chico                                                 Mayor                                               Tier 2/3         9/23/2020*

Chico                                                 Fire Chief                                          Tier 2/3         9/23/2020*

Chico - Fire Department                               General                                             Tier 2/3         9/23/2020




                                                                                                                                App-71
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 142 of 156




                                                                                      Classification
               Organization/Jurisdiction                               Title                               Date
                                                                                    (Tier 2/3, Zone 1)

Chico - Police Department                  General                                       Tier 2/3        9/23/2020

Chico - Police Department                  Dispatcher                                    Tier 2/3        9/23/2020

Chico State University                     Dispatcher                                    Tier 2/3        9/23/2020

Clearlake - Police Department              Police Chief                                  Tier 2/3        9/26/2020

Cloverdale - Police Department             Operator                                      Tier 2/3        9/25/2020

Cloverdale Rancheria                       Vice Chairperson                              Tier 2/3        9/25/2020

Colfax                                     City Manager; Designated POC (24-hour)        Tier 2/3        9/23/2020*

Colfax                                     Mayor                                         Tier 2/3        9/23/2020*

Colfax - Fire Department                   General                                       Tier 2/3        9/23/2020*

Colfax - Sheriff's Office                  Substation (24-hour)                          Tier 2/3        9/23/2020*

Corning City                               Dispatcher                                     N/A            9/25/2020

Cotati - Police Department                 Dispatcher                                    Tier 2/3        9/25/2020

Delano - Police Department                 Dispatch Supervisor                            N/A            9/26/2020

Dry Creek Rancheria Band of Pomo Indians   Chairman                                      Tier 2/3        9/25/2020

El Dorado County                           Chief Administrative Officer                  Tier 2/3        9/23/2020*

El Dorado County                           OES Director                                  Tier 2/3        9/23/2020*

El Dorado County                           General (24-hour)                             Tier 2/3        9/23/2020*

El Dorado County                           Sheriff                                       Tier 2/3        9/23/2020*

El Dorado County                           Chair of the Board                            Tier 2/3        9/23/2020*

El Dorado County                           Health and Human Services                     Tier 2/3        9/23/2020*

El Dorado County                           Local CAL FIRE                                Tier 2/3        9/23/2020*

El Dorado County                           Fire Chief                                    Tier 2/3        9/23/2020*

El Dorado County - OES                     General                                       Tier 2/3        9/23/2020

El Dorado County- OES                      General (24-hour)                             Tier 2/3        9/23/2020*

El Dorado County Sheriff's Office          Dispatch Supervisor                           Tier 2/3        9/25/2020

Elem Indian Colony                         Chairperson                                   Tier 2/3        9/25/2020

Enterprise Rancheria of Maidu Indians      Chairwoman                                    Tier 2/3        9/23/2020*

Enterprise Rancheria of Maidu Indians      Casino Director of Security (24-hour)         Tier 2/3        9/23/2020*

Enterprise Rancheria of Maidu Indians      Tribal Administration                         Tier 2/3        9/24/2020*

Federated Indians of Graton Rancheria      Chairman                                      Tier 2/3        9/25/2020

Grass Valley                               Fire Chief (24-hour)                          Tier 2/3        9/23/2020*

Grass Valley                               Police Chief                                  Tier 2/3        9/23/2020*

Grass Valley                               City Manager; Designated POC                  Tier 2/3        9/23/2020*

Grass Valley                               Mayor                                         Tier 2/3        9/23/2020*

Greenville Rancheria                       Vice Chairperson                              Tier 2/3        9/23/2020

Greenville Rancheria                       Chairman                                      Tier 2/3        9/24/2020*

Gridley - Police Department                Dispatcher                                     N/A            9/23/2020

Healdsburg                                 Dispatcher                                    Tier 2/3        9/25/2020

Ione Band of Miwok Indians                 Chairperson                                   Tier 2/3        9/25/2020

Jackson Rancheria                          Chairperson                                   Tier 2/3        9/25/2020




                                                                                                              App-72
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 143 of 156




                                                                                                  Classification
                 Organization/Jurisdiction                               Title                                         Date
                                                                                                (Tier 2/3, Zone 1)

Kawaiisu Tribe                               Chairperson                                             Tier 2/3        9/25/2020

Kern County                                  CAO; Designated POC                                     Tier 2/3        9/25/2020

Kern County                                  Manager; Designated POC                                 Tier 2/3        9/25/2020*

Kern County - ECC                            Dispatcher                                              Tier 2/3        9/26/2020

Kern County - Fire Department                Emergency (24-hour)                                     Tier 2/3        9/25/2020*

Kern County - OES                            Emergency Supervisor (24-hour)                          Tier 2/3        9/25/2020

Kern County - OES                            Emergency (24-hour)                                     Tier 2/3        9/25/2020

Kern County - Sheriff's Office               Emergency (24-hour)                                     Tier 2/3        9/25/2020

Kern County - Sheriff's Office               General (24-hour)                                       Tier 2/3        9/25/2020*

Kern County - Sheriff's Office               Dispatch Supervisor                                     Tier 2/3        9/26/2020

Kern Valley Indian Council                   Historic Preservation Officer                           Tier 2/3        9/25/2020

Lake County                                  OES Emergency Director; Designated POC (24-hour)        Tier 2/3        9/25/2020*

Lake County                                  Administrator                                           Tier 2/3        9/25/2020*

Lake County                                  County Administrative Officer                           Tier 2/3        9/25/2020*

Lake County                                  CAL FIRE (24-hour)                                      Tier 2/3        9/25/2020*

Lake County                                  Undersheriff                                            Tier 2/3        9/25/2020*

Lake County                                  Sheriff                                                 Tier 2/3        9/25/2020*

Lake County                                  Chair of the Board                                      Tier 2/3        9/25/2020*

Lake County                                  Lieutenant                                              Tier 2/3        9/25/2020*

Lake County                                  Dispatch; Designated POC (24-hour)                      Tier 2/3        9/25/2020*

Lake County - Sheriff's Office               Dispatch Supervisor                                     Tier 2/3        9/26/2020

Lassen County                                Assistant Director of Emergency Services                Tier 2/3        9/25/2020

Lassen County - Sheriff's Office             Dispatcher                                              Tier 2/3        9/25/2020

Lincoln                                      Interim City Manager; Designated POC                    Tier 2/3        9/23/2020*

Lincoln - Police Department                  Emergency (24-hour)                                     Tier 2/3        9/23/2020

Lincoln - Police Department                  Sergeant                                                Tier 2/3        9/25/2020

Loomis                                       Mayor                                                   Tier 2/3        9/23/2020*

Loomis                                       Town Manager; Designated POC                            Tier 2/3        9/23/2020*

Loomis                                       Fire Chief                                              Tier 2/3        9/23/2020*

Loomis - Sheriff's Office                    Substation (24-hour)                                    Tier 2/3        9/23/2020

Lower Lake Rancheria                         Chairman                                                Tier 2/3        9/25/2020

Lytton Rancheria                             Chairwoman                                              Tier 2/3        9/25/2020

Marysville                                   City Manager; Designated POC                             N/A            9/23/2020*

Marysville                                   Mayor                                                    N/A            9/23/2020*

Marysville                                   Fire Chief                                               N/A            9/23/2020

Marysville - Police Department               Supervisor Dispatch                                      N/A            9/23/2020

McFarland - Police Department                Dispatcher                                               N/A            9/26/2020

Mechoopda Indian Tribe                       Chairman                                                Tier 2/3        9/24/2020

Middletown Rancheria                         Chairman                                                Tier 2/3        9/25/2020

Mooretown Rancheria                          Chairman                                                Tier 2/3        9/24/2020*




                                                                                                                          App-73
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 144 of 156




                                                                                   Classification
               Organization/Jurisdiction                                Title                            Date
                                                                                 (Tier 2/3, Zone 1)

Mooretown Rancheria                        Casino Operations                          Tier 2/3         9/23/2020*

Napa - Central Dispatch                    Supervisor                                 Tier 2/3         9/25/2020

Napa - State Hospital                      Dispatcher                                 Tier 2/3         9/25/2020

Napa County                                Emergency Coordinator (24-hour)            Tier 2/3         9/25/2020*

Napa County                                OES General                                Tier 2/3         9/25/2020*

Napa County                                Local CAL FIRE                             Tier 2/3         9/25/2020*

Napa County                                Info Systems Specialist                    Tier 2/3         9/25/2020*

Napa County                                Sheriff                                    Tier 2/3         9/25/2020*

Napa County                                County Executive Officer                   Tier 2/3         9/25/2020*

Napa County                                OES Coordinator                            Tier 2/3         9/25/2020*

Napa County                                Chair of the Board                         Tier 2/3         9/25/2020*

Napa County                                Risk and Emergency Services Manager        Tier 2/3         9/25/2020*

Napa County                                Emergency Services Manager                 Tier 2/3         9/25/2020*

Napa County - CCA                          Chief Operating Officer                    Tier 2/3         9/25/2020*

Napa County - CCA                          Director of Public Affairs                 Tier 2/3         9/25/2020*

Napa County - CCA                          CEO                                        Tier 2/3         9/25/2020*

Napa County - Fire Department              Non-Emergency (24-hour)                    Tier 2/3         9/25/2020*

Napa County - OES                          General                                    Tier 2/3         9/25/2020*

Nevada City                                Police Chief                          Tier 2/3 and Zone 1   9/23/2020*

Nevada City                                City Manager; Designated POC          Tier 2/3 and Zone 1   9/23/2020*

Nevada City                                Mayor                                 Tier 2/3 and Zone 1   9/23/2020*

Nevada City - OES                          General                               Tier 2/3 and Zone 1   9/23/2020*

Nevada County                              OES Manager; Designated POC                Tier 2/3         9/25/2020*

Nevada County                              OES Director                               Tier 2/3         9/23/2020*

Nevada County - CAL FIRE                   Chief                                      Tier 2/3         9/23/2020*

Nevada County - Fire Department            Division Chief (24-hour)                   Tier 2/3         9/23/2020*

Nevada County - Fire Department            General                                    Tier 2/3         9/23/2020*

Nevada County - OES                        General                                    Tier 2/3         9/23/2020*

Nevada County - Sheriff's Office           General (24-hour)                          Tier 2/3         9/23/2020*

Nevada County - Sheriff's Office           Sergeant                                   Tier 2/3         9/25/2020

Nevada/Placer/Yuba CAL FIRE                ECC Duty                                   Tier 2/3         9/23/2020

Nevada/Placer/Yuba CAL FIRE                ECC Duty                                   Tier 2/3         9/23/2020

Oroville                                   City Manager; Designated POC               Tier 2/3         9/23/2020*

Oroville                                   City Administrator                         Tier 2/3         9/23/2020*

Oroville                                   Mayor                                      Tier 2/3         9/23/2020*

Oroville                                   Dispatcher                                 Tier 2/3         9/23/2020

Oroville - Fire Department                 General (24-hour)                          Tier 2/3         9/23/2020*

Paradise                                   Town Manager; Designated POC          Tier 2/3 and Zone 1   9/23/2020*

Paradise                                   Mayor                                 Tier 2/3 and Zone 1   9/23/2020*

Paradise                                   General CAL FIRE (24-hour)            Tier 2/3 and Zone 1   9/23/2020*




                                                                                                            App-74
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 145 of 156




                                                                                            Classification
                Organization/Jurisdiction                                Title                                    Date
                                                                                          (Tier 2/3, Zone 1)

Paradise                                    Dispatcher                                    Tier 2/3 and Zone 1   9/23/2020

Paradise - City Administration              General                                       Tier 2/3 and Zone 1   9/23/2020*

Paradise - City Administration              General                                       Tier 2/3 and Zone 1   9/23/2020*

Paradise - Police Department                General                                       Tier 2/3 and Zone 1   9/23/2020*

Paskenta Rancheria                          Chairman                                           Tier 2/3         9/24/2020

Petaluma                                    Dispatcher                                         Tier 2/3         9/25/2020

Pit River Tribes                            General                                            Tier 2/3         9/24/2020

Placer County                               Envir. Utilities Manager                           Tier 2/3         9/23/2020*

Placer County                               Lieutenant - PCSO                                  Tier 2/3         9/23/2020*

Placer County                               Deputy Director                                    Tier 2/3         9/23/2020*

Placer County                               IT Supervisor                                      Tier 2/3         9/23/2020*

Placer County                               Sergeant - PCSO                                    Tier 2/3         9/23/2020*

Placer County                               Deputy Director                                    Tier 2/3         9/23/2020*

Placer County                               Deputy Director                                    Tier 2/3         9/23/2020*

Placer County                               Sergeant - PCSO                                    Tier 2/3         9/23/2020*

Placer County                               Assistant Chief                                    Tier 2/3         9/23/2020*

Placer County                               Building Maintenance Superintendent                Tier 2/3         9/23/2020*

Placer County                               Assistant Director                                 Tier 2/3         9/23/2020*

Placer County                               County Executive Officer                           Tier 2/3         9/23/2020*

Placer County                               IT Manager                                         Tier 2/3         9/23/2020*

Placer County                               Lieutenant - PCSO                                  Tier 2/3         9/23/2020*

Placer County                               Placer Facilities Mgt Emergency Line               Tier 2/3         9/23/2020*

Placer County                               Health Officer                                     Tier 2/3         9/23/2020*

Placer County                               IT Supervisor                                      Tier 2/3         9/23/2020*

Placer County                               Sergeant - PCSO                                    Tier 2/3         9/23/2020*

Placer County                               Sergeant - PCSO                                    Tier 2/3         9/23/2020*

Placer County                               OES Asst Director; Designated POC (24-hour)        Tier 2/3         9/23/2020*

Placer County                               Em Services Specialist                             Tier 2/3         9/23/2020*

Placer County                               Em Services Coord                                  Tier 2/3         9/23/2020*

Placer County                               Emergency Service Coordinator                      Tier 2/3         9/25/2020

Placer County                               Program Manager                                    Tier 2/3         9/23/2020*

Placer County                               Lieutenant - PCSO                                  Tier 2/3         9/23/2020*

Placer County                               Lieutenant - PCSO                                  Tier 2/3         9/23/2020*

Placer County                               Sheriff Dispatch (24-hour)                         Tier 2/3         9/23/2020*

Placer County                               Roads Manager                                      Tier 2/3         9/23/2020*

Placer County                               CIO                                                Tier 2/3         9/23/2020*

Placer County                               Deputy Chief                                       Tier 2/3         9/23/2020*

Placer County                               Director                                           Tier 2/3         9/23/2020*

Placer County                               IT Manager                                         Tier 2/3         9/23/2020*

Placer County                               Lieutenant - PCSO                                  Tier 2/3         9/23/2020*




                                                                                                                     App-75
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 146 of 156




                                                                                         Classification
                Organization/Jurisdiction                            Title                                     Date
                                                                                       (Tier 2/3, Zone 1)

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Emergency Command Center (24-hour)              Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CAL FIRE                    Battalion Chief                                 Tier 2/3         9/23/2020*

Placer County - CCA                         Marketing and Government Affairs Manager        Tier 2/3         9/23/2020*

Placer County - IT                          Main Telecom Number                             Tier 2/3         9/23/2020*

Placer County - OES                         Duty Officer                                    Tier 2/3         9/23/2020*

Placer County - OES                         General                                         Tier 2/3         9/23/2020*

Placer County - Sheriff's Office            Supervisor                                      Tier 2/3         9/23/2020

Placerville                                 City Manager; Designated POC               Tier 2/3 and Zone 1   9/23/2020*

Placerville                                 OES Director                               Tier 2/3 and Zone 1   9/23/2020*

Placerville                                 Police Chief                               Tier 2/3 and Zone 1   9/23/2020*

Placerville                                 Mayor                                      Tier 2/3 and Zone 1   9/23/2020*

Placerville                                 Night Dispatcher                           Tier 2/3 and Zone 1   9/23/2020

Placerville - Fire Department               Station 19 (24-hour)                       Tier 2/3 and Zone 1   9/23/2020*

Plumas County                               CAO; Designated POC                             Tier 2/3         9/23/2020*

Plumas County                               Public Works Director                           Tier 2/3         9/23/2020*

Plumas County                               CAL FIRE (24-hour)                              Tier 2/3         9/23/2020*

Plumas County                               Main Office                                     Tier 2/3         9/23/2020*

Plumas County                               MHOAC (24-hour)                                 Tier 2/3         9/23/2020*

Plumas County                               OES Director (24-hour)                          Tier 2/3         9/24/2020*

Plumas County - Public Health               General                                         Tier 2/3         9/23/2020*

Plumas County - Sheriff's Office            Dispatch                                        Tier 2/3         9/23/2020*

Plumas County - Sheriff's Office            Dispatcher                                      Tier 2/3         9/23/2020

Plumas County - Social Services             Director (24-hour)                              Tier 2/3         9/23/2020*

Red Bluff                                   Dispatcher                                      Tier 2/3         9/25/2020

Redding Rancheria                           Safety Manager                                  Tier 2/3         9/24/2020

Robinson Rancheria                          Tribal Administrator                            Tier 2/3         9/25/2020

Rocklin                                     City Manager; Designated POC                    Tier 2/3         9/23/2020*

Rocklin - Police Department                 Sergeant                                        Tier 2/3         9/23/2020

Rohnert Park Public Safety                  Dispatcher                                      Tier 2/3         9/25/2020

Roseville                                   Dispatcher                                      Tier 2/3         9/25/2020

Santa Rosa City Police                      Sergeant                                        Tier 2/3         9/25/2020

Santa Rosa Jr College - Police Department   Sergeant                                        Tier 2/3         9/25/2020

Scotts Valley Band of Pomo Indians          Chairman                                        Tier 2/3         9/25/2020

Sebastopol Police                           Dispatcher                                        N/A            9/25/2020

Sequoia National Forest                     Dispatch Supervisor                             Tier 2/3         9/26/2020




                                                                                                                  App-76
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 147 of 156




                                                                                 Classification
                Organization/Jurisdiction                              Title                          Date
                                                                               (Tier 2/3, Zone 1)

SHASCOM                                     SCSO Sargeant                            N/A            9/23/2020

Shasta County                               OES Director                            Tier 2/3        9/23/2020*

Shasta County                               Fire Chief                              Tier 2/3        9/23/2020*

Shasta County                               PIO                                     Tier 2/3        9/25/2020*

Shasta County                               Undersheriff                            Tier 2/3        9/23/2020*

Shasta County                               OES                                     Tier 2/3        9/23/2020*

Shasta County                               Chair of the Board                      Tier 2/3        9/23/2020*

Shasta County                               Sergeant                                Tier 2/3        9/23/2020*

Shasta County - American Medical Response   General                                 Tier 2/3        9/23/2020*

Shasta County - CAL FIRE                    ECC                                     Tier 2/3        9/23/2020*

Shasta County - CAL FIRE                    Local Cal Fire                          Tier 2/3        9/23/2020*

Shasta County - County Administration       Designated POC                          Tier 2/3        9/23/2020*

Shasta County - HHS                         General                                 Tier 2/3        9/23/2020*

Shasta County - HHSA                        General                                 Tier 2/3        9/23/2020*

Shasta County - Office of Assemblyman       District Director                       Tier 2/3        9/23/2020*

Shasta County - PHI Air Medical             General                                 Tier 2/3        9/23/2020*

Shasta County - Public Health               General                                 Tier 2/3        9/23/2020*

Shasta County - Public Health               General                                 Tier 2/3        9/23/2020*

Shasta County - Public Health               General                                 Tier 2/3        9/23/2020*

Shasta County - Public Health               General                                 Tier 2/3        9/23/2020*

Shasta County - Public Health               General                                 Tier 2/3        9/23/2020*

Shasta County - Public Works                General                                 Tier 2/3        9/23/2020*

Shasta County - SHASCOM                     Supervisor                              Tier 2/3        9/23/2020*

Shasta County - SHASCOM                     General                                 Tier 2/3        9/23/2020*

Shasta County - SHASCOM                     Supervisor                              Tier 2/3        9/23/2020*

Shasta County - Sheriff's Office            Captain                                 Tier 2/3        9/23/2020*

Shingle Springs Rancheria                   Assistant Police Chief                  Tier 2/3        9/25/2020*

Shingle Springs Rancheria                   Chairwoman                              Tier 2/3        9/24/2020*

Shingle Springs Rancheria                   Housing Director                        Tier 2/3        9/25/2020*

Shingle Springs Rancheria                   Police Chief                            Tier 2/3        9/25/2020*

Sierra County                               Supervisor                              Tier 2/3        9/25/2020*

Sierra County                               OES Director (24-hour)                  Tier 2/3        9/25/2020*

Sierra County                               Chair of the Board                      Tier 2/3        9/25/2020*

Sierra County                               Superintendent                          Tier 2/3        9/25/2020*

Sierra County                               OES Coordinator; Designated POC         Tier 2/3        9/25/2020*

Sierra County                               Fire Chief (24-hour)                    Tier 2/3        9/25/2020*

Sierra County                               Sheriff (24-hour)                       Tier 2/3        9/25/2020*

Sierra County                               Fire Chief (24-hour)                    Tier 2/3        9/25/2020*

Sierra County                               Supervisor                              Tier 2/3        9/25/2020*

Sierra County                               Dispatch Supervisor (24-hour)           Tier 2/3        9/25/2020*




                                                                                                         App-77
      Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 148 of 156




                                                                                             Classification
                 Organization/Jurisdiction                               Title                                     Date
                                                                                           (Tier 2/3, Zone 1)

Sierra County Sheriff's Office               Dispatcher                                         Tier 2/3         9/23/2020

Siskiyou County - OES                        Deputy Director                                    Tier 2/3         9/23/2020

Sonoma County - Sheriff's Office             Dispatcher                                         Tier 2/3         9/25/2020

Sonoma/Lake/Napa CAL FIRE                    Dispatch Captain                                   Tier 2/3         9/25/2020

South Lake Tahoe                             Night Dispatcher                                   Tier 2/3         9/23/2020

St Helena - Police Department                Dispatcher                                         Tier 2/3         9/25/2020

Stanislaus National Forest                   ECC Supervisor                                     Tier 2/3         9/25/2020

Stewarts Point Rancheria (Kashaya Pomo)      Chairman                                           Tier 2/3         9/25/2020

Strawberry Valley Rancheria                  Chairperson                                        Tier 2/3         9/23/2020*

Taft - Police Department                     Dispatcher                                           N/A            9/26/2020

Tahoe National Forest                        Dispatcher                                         Tier 2/3         9/23/2020

Tahoe National Forest                        Dispatcher                                         Tier 2/3         9/23/2020

Tahoe National Forest                        Dispatcher                                         Tier 2/3         9/23/2020

Tehama County                                CAO; Designated POC                                Tier 2/3         9/23/2020*

Tehama County                                OES Director (24-hour)                             Tier 2/3         9/23/2020*

Tehama County                                OES Deputy Director (24-hour)                      Tier 2/3         9/23/2020*

Tehama County                                Administrative Analyst (24-hour)                   Tier 2/3         9/23/2020*

Tehama County - CAL FIRE                     CAL FIRE (24-hour)                                 Tier 2/3         9/23/2020*

Tehama County - Sheriff's Department         Communications Supervisor                          Tier 2/3         9/23/2020*

Tehama County - Sheriff's Office             Dispatcher                                         Tier 2/3         9/23/2020*

Trinity County                               Emergency Operations Manager                       Tier 2/3         9/23/2020

Tsungwe Council                              Chairman                                           Tier 2/3         9/23/2020*

Tubatulabal Tribe                            Chairman                                           Tier 2/3         9/25/2020

Tuolumne-Calaveras CAL FIRE                  TCU ECC Dispatcher                            Tier 2/3 and Zone 1   9/23/2020

United Auburn Indian Community               Councilmember                                      Tier 2/3         9/24/2020*

United Auburn Indian Community               Councilmember                                      Tier 2/3         9/23/2020*

United Auburn Indian Community               Chairman                                           Tier 2/3         9/23/2020

Upper Lake Rancheria                         Chairperson                                        Tier 2/3         9/25/2020

USFS Plumas                                  Dispatcher                                         Tier 2/3         9/23/2020

USFS Shasta-Trinity                          ECCO Dispatch                                      Tier 2/3         9/23/2020

Wailaki Tribe                                Chairperson                                        Tier 2/3         9/25/2020*

Washoe Tribe                                 Councilmember                                      Tier 2/3         9/25/2020

Winnemem Wintu Tribe                         Spiritual Leader                                   Tier 2/3         9/23/2020*

Wintu Tribe of Northern California           Chairman                                           Tier 2/3         9/23/2020*

Yuba County                                  County Executive Officer                           Tier 2/3         9/23/2020*

Yuba County                                  Emergency Manager (24-hour); Designated POC        Tier 2/3         9/23/2020*

Yuba County                                  Local Cal Fire                                     Tier 2/3         9/23/2020*

Yuba County                                  Health Administrator                               Tier 2/3         9/23/2020*

Yuba County                                  Board Supervisor                                   Tier 2/3         9/23/2020*

Yuba County                                  Director                                           Tier 2/3         9/23/2020*




                                                                                                                      App-78
     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 149 of 156




                                                                Classification
               Organization/Jurisdiction              Title                          Date
                                                              (Tier 2/3, Zone 1)

Yuba County - OES                          General                 Tier 2/3        9/24/2020*

Yuba County - OES                          General                 Tier 2/3        9/23/2020*

Yuba County - Sheriff's Office             Dispatch                Tier 2/3        9/23/2020




                                                                                        App-79
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 150 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                             APPENDIX E
                  SECTION 10 – FIRE INDEX AREAS MAP




                                                                    App-80
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 151 of 156



Appendix E: Fire Index Areas Map


Figure E-1. Fire Index Areas Map




                                                                        App-81
Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 152 of 156




                 PACIFIC GAS AND ELECTRIC COMPANY
                             APPENDIX F
        SECTION 11 – COMMUNITY ASSISTANCE CENTER LOCATIONS




                                                                    App-82
                     Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 153 of 156



                Appendix F: List of PG&E Community Resource Centers


                The table below provided details of the 29 CRCs that PG&E mobilized during the September 27, 2020 PSPS event,
                   including specific locations, dates and times opened and closed, and total attendance for each location, and
                                                                amenities provided.

                Table F-1. Community Resource Centers Provided by PG&E

                                                                                                                     Site Type
                                                                             Day 1       Day 2             Total
                                                                                                                      (Indoor,       Amenities
#   County        Site Name                        Address                  Operating   Operating       Attendance
                                                                                                                       Micro,        Provided
                                                                             Hours       Hours            (4,135)
                                                                                                                      Mobile)
                                                                                                                                  Wi-Fi, Restrooms,
                  Bear Valley                                               9/27/2020   9/28/2020                                 Water and Snacks,
                                   132 Bear                                                                           Outdoor:
1   Alpine        Transportation                     Bear Valley    95223   8:00 AM –   8:00 AM –          102                    Device Charging,
                                   Valley Rd                                                                           Micro
                  Center                                                    10:00 PM    3:30 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                                                                            9/27/2020   9/28/2020                                 Water and Snacks,
                  Faith Lutheran                                                                                      Outdoor:
2   Amador                         22601 CA-88       Pioneer        95666   8:00 AM –   8:00 AM –          107                    Device Charging,
                  Church                                                                                               Micro
                                                                            10:00 PM    3:30 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                  Mace                                                                                                            Water and Snacks,
                                                                            9/27/2020   9/28/2020
                  Meadows -        26510 Fairway                                                                       Indoor:    Device Charging,
3   Amador                                           Pioneer        95666   8:00 AM –   8:00 AM –          144
                  The Mountain     Dr                                                                                 Hardened    Medical Device
                                                                            10:00 PM    3:30 PM
                  Grille                                                                                                          Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                  Bangor           7500 Oro                                 9/27/2020   9/28/2020
                                                                                                                       Indoor:    Device Charging,
4   Butte         Community        Bangor            Bangor         95914   8:00 AM –   8:00 AM –          101
                                                                                                                      Hardened    Medical Device
                  Center           Highway                                  10:00 PM    7:30 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                                                                            9/27/2020   9/28/2020                                 Water and Snacks,
                  American         15474 Forest                                                                       Outdoor:
5   Butte                                            Forest Ranch   95942   8:00 AM –   8:00 AM –          186                    Device Charging,
                  Veterans Store   Ranch Way                                                                           Micro
                                                                            10:00 PM    7:30 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                  Magalia Pines                                             9/27/2020                                             Water and Snacks,
                                   14098 Skyway                                         Evacuated due                 Outdoor:
6   Butte         Baptist                            Magalia        95954   8:00 AM –                      119                    Device Charging,
                                   Rd                                                   to fire                        Micro
                  Church                                                    9:30 PM                                               Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                  Southside                                                                                                       Water and Snacks,
                                                                            9/27/2020   9/28/2020
                  Oroville         2959 Lower                                                                          Indoor:    Device Charging,
7   Butte                                            Oroville       95966   8:00 AM –   8:00 AM –           31
                  Community        Wyandotte Rd                                                                       Hardened    Medical Device
                                                                            10:00 PM    7:30 PM
                  Center                                                                                                          Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                  Craig
                                                                            9/27/2020                                             Water and Snacks,
                  Memorial         5665                                                 Evacuated due                 Outdoor:
8   Butte                                            Paradise       95969   8:00 AM –                       83                    Device Charging,
                  Congregationa    Scottwood Rd                                         to fire                        Micro
                                                                            9:30 PM                                               Medical Device
                  l Church
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                                                                            9/27/2020   9/28/2020                                 Water and Snacks,
                  Chapel in the                                                                                       Outdoor:
9   Calaveras                      2286 Cedar Ln     Arnold         95223   8:00 AM –   08:00 AM –         244                    Device Charging,
                  Pines                                                                                                Micro
                                                                            10:00 PM    5:15 PM                                   Medical Device
                                                                                                                                  Charging




                                                                                                                                 App-83
                    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 154 of 156



                                                                                                                     Site Type
                                                                             Day 1       Day 2             Total
                                                                                                                      (Indoor,       Amenities
#    County      Site Name                         Address                  Operating   Operating       Attendance
                                                                                                                       Micro,        Provided
                                                                             Hours       Hours            (4,135)
                                                                                                                      Mobile)
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                                                                            9/27/2020   9/28/2020
                 Murphys Fire                                                                                          Indoor:    Device Charging,
10   Calaveras                   58 Jones St         Murphys        95247   8:00 AM –   08:00 AM –          18
                 Department                                                                                           Hardened    Medical Device
                                                                            10:00 PM    5:15 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                 Veterans of                                                9/27/2020   9/28/2020                                 Water and Snacks,
                                                                                                                      Outdoor:
11   Calaveras   Foreign Wars    202 Spink Rd        West Point     95255   8:00 AM –   8:00 AM –          166                    Device Charging,
                                                                                                                       Micro
                 post 3322                                                  10:00 PM    5:15 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                 Cool                                                       9/27/2020   9/28/2020                                 Water and Snacks,
     El                          5020                                                                                 Outdoor:
12               Shopping                            Cool           95614   8:00 AM –   8:00 AM –           75                    Device Charging,
     Dorado                      Ellinghouse Dr                                                                       Mobile
                 Center                                                     10:00 PM    7:45 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                                                                            9/27/2020   9/28/2020                                 Water and Snacks,
     El          Buffalo Hill    6023 Front                                                                           Outdoor:
13                                                   Georgetown     95634   8:00 AM –   8:00 AM –          282                    Device Charging,
     Dorado      Center          Street                                                                               Mobile
                                                                            10:00 PM    7:45 PM                                   Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                                                                            9/27/2020   9/28/2020                                 Water and Snacks,
     El          El Dorado       100 Placerville                                                                      Outdoor:
14                                                   Placerville    95667   8:00 AM –   8:00 AM –          400                    Device Charging,
     Dorado      Fairgrounds     Dr                                                                                   Mobile
                                                                            10:00 PM    7:45 PM`                                  Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                 Pleasant                                                                                                         Water and Snacks,
                                 4765 Pleasant                              9/27/2020   9/28/2020
     El          Valley                                                                                                Indoor:    Device Charging,
15                               Valley Grange       Placerville    95667   8:00 AM –   8:00 AM –           69
     Dorado      Community                                                                                            Hardened    Medical Device
                                 Rd                                         10:00 PM    7:45 PM
                 Hall                                                                                                             Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                 Pollock Pines                                              9/27/2020   9/28/2020
     El                          2675 Sanders        Pollock                                                           Indoor:    Device Charging,
16               Community                                          95726   8:00 AM –   8:00 AM –          299
     Dorado                      Dr                  Pines                                                            Hardened    Medical Device
                 Center                                                     10:00 PM    7:45 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                                                                            9/27/2020   9/28/2020
     El                          6740 Fairplay                                                                         Indoor:    Device Charging,
17               Pioneer Park                        Somerset       95684   8:00 AM –   8:00 AM –          264
     Dorado                      Rd                                                                                   Hardened    Medical Device
                                                                            10:00 PM    10:00 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                 Twin Pine                                                  9/27/2020   9/28/2020
                                                                                                                       Indoor:    Device Charging,
18   Lake        Casino and      22223 CA-29         Middletown     95461   8:00 AM –   8:00 AM –           18
                                                                                                                      Hardened    Medical Device
                 Hotel                                                      10:00 PM    3:30 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice
                                                                                                                                  Wi-Fi, Restrooms,
                 Highlands                                                  9/27/2020                                             Water and Snacks,
                                 970 Petrified                                          Evacuated due                 Outdoor:
19   Napa        Christian                           Calistoga      94515   3:00 PM –                       76                    Device Charging,
                                 Forest Rd                                              to fire                       Mobile
                 Fellowship                                                 9:30 PM                                               Medical Device
                                                                                                                                  Charging
                                                                                                                                  Wi-Fi, Restrooms,
                                                                                                                                  Water and Snacks,
                                                                            9/27/2020   9/28/2020
                 Foothills       400 Idaho                                                                             Indoor:    Device Charging,
20   Nevada                                          Grass Valley   95945   8:00 AM –   8:00 AM –           37
                 Event Center    Maryland Rd                                                                          Hardened    Medical Device
                                                                            10:00 PM    6:30 PM
                                                                                                                                  Charging, Cooling &
                                                                                                                                  Heating, Seating, Ice




                                                                                                                                 App-84
                 Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 155 of 156



                                                                                                            Site Type
                                                                        Day 1       Day 2         Total
                                                                                                             (Indoor,       Amenities
#    County   Site Name                        Address                 Operating   Operating   Attendance
                                                                                                              Micro,        Provided
                                                                        Hours       Hours        (4,135)
                                                                                                             Mobile)
                                                                                                                         Wi-Fi, Restrooms,
                                                                       9/27/2020   9/28/2020                             Water and Snacks,
              Nevada City     518 State                                                                      Outdoor:
21   Nevada                                      Nevada City   95959   8:00 AM –   8:00 AM –       43                    Device Charging,
              Elks Lodge      Highway 49                                                                      Micro
                                                                       10:00 PM    6:30 PM                               Medical Device
                                                                                                                         Charging
              Alta Fire                                                                                                  Wi-Fi, Restrooms,
              Protection                                               9/27/2020   9/28/2020                             Water and Snacks,
                              33950 Alta                                                                     Outdoor:
22   Placer   District                           Alta          95701   8:00 AM –   8:00 AM –       39                    Device Charging,
                              Bonnynook Rd                                                                   Mobile
              Community                                                10:00 PM    5:30 PM                               Medical Device
              Hall                                                                                                       Charging
                                                                                                                         Wi-Fi, Restrooms,
                                                                       9/27/2020   9/28/2020                             Water and Snacks,
              Freight Depot                                                                                  Outdoor:
23   Placer                   7 N Main St        Colfax        95713   8:00 AM –   8:00 AM –      190                    Device Charging,
              Parking Lot                                                                                    Mobile
                                                                       10:00 PM    5:30 PM                               Medical Device
                                                                                                                         Charging
                                                                                                                         Wi-Fi, Restrooms,
              Canyon View                                              9/27/2020   9/28/2020                             Water and Snacks,
                              23221                                                                          Outdoor:
24   Placer   Assembly                           Foresthill    95631   8:00 AM –   8:00 AM –      312                    Device Charging,
                              Foresthill Rd                                                                  Mobile
              Church                                                   10:00 PM    5:30 PM                               Medical Device
                                                                                                                         Charging
                                                                                                                         Wi-Fi, Restrooms,
              Plumas                                                   9/27/2020   9/28/2020                             Water and Snacks,
                              1446 E. Main                                                                   Outdoor:
25   Plumas   County Parole                      Quincy        95971   8:00 AM –   8:00 AM –      223                    Device Charging,
                              St                                                                              Micro
              Office                                                   10:00 PM    10:00 PM                              Medical Device
                                                                                                                         Charging
                                                                                                                         Wi-Fi, Restrooms,
                                                                       9/27/2020   9/28/2020                             Water and Snacks,
              Lassen          7355 Black                                                                     Outdoor:
26   Shasta                                      Shingletown   96008   8:00 AM –   8:00 AM –      288                    Device Charging,
              Landing         Butte Rd                                                                        Micro
                                                                       10:00 PM    2:00 PM                               Medical Device
                                                                                                                         Charging
                                                                                                                         Wi-Fi, Restrooms,
              Arthur Joe
                                                                       9/27/2020   9/28/2020                             Water and Snacks,
              Hauck                                                                                          Outdoor:
27   Sierra                   515 Miners St.     Alleghany     95910   8:00 AM –   8:00 AM –       7                     Device Charging,
              Memorial                                                                                        Micro
                                                                       10:00 PM    6:00 PM                               Medical Device
              Park
                                                                                                                         Charging
                                                                                                                         Wi-Fi, Restrooms,
                                                                                                                         Water and Snacks,
              Downieville                                              9/27/2020   9/28/2020
                                                                                                              Indoor:    Device Charging,
28   Sierra   Community       322 Main St        Downieville   95936   8:00 AM –   8:00 AM –      143
                                                                                                             Hardened    Medical Device
              Hall                                                     10:00 PM    6:00 PM
                                                                                                                         Charging, Cooling &
                                                                                                                         Heating, Seating, Ice
                                                                                                                         Wi-Fi, Restrooms,
                                                                       9/27/2020   9/28/2020                             Water and Snacks,
              Alcouffe        9185               Oregon                                                      Outdoor:
29   Yuba                                                      95962   8:00 AM –   8:00 AM –       69                    Device Charging,
              Center          Marysville Rd      House                                                        Micro
                                                                       10:00 PM    6:30 PM                               Medical Device
                                                                                                                         Charging




                                                                                                                        App-85
    Case 3:14-cr-00175-WHA Document 1250-5 Filed 10/26/20 Page 156 of 156




                                            VERIFICATION


        I, undersigned, say:

        I am an officer of PACIFIC GAS AND ELECTRIC COMPANY, a corporation, and am

authorized to make this verification for that reason.

        I have read the foregoing “PG&E Public Safety Power Shutoff Report to the CPUC” for

the events of September 27-29, 2020, and I am informed and believe the matters stated therein

are true.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed at San Francisco, California this 12 th day of October, 2020.




                                            MICHAEL LEWIS
                                            Interim President
                                            PACIFIC GAS AND ELECTRIC COMPANY
